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                                                   
                                          Income by Customer Summary
                                                             


                                                                       INCOME           EXPENSES               NET INCOME
Dean (deleted)                                                       36,500.00                                   $36,500.00
Henry Ramirez                                                       506,424.29             -6,500.00            $499,924.29
Jan Hronek                                                             6,487.30                                   $6,487.30
JC                                                                        0.00                                        $0.00
Keith Meadows                                                      1,221,695.85                                $1,221,695.85
LPS                                                                  18,550.00                                   $18,550.00
Pro Sales Manage Joel Chevrette                                      13,050.00                                   $13,050.00
Sample Customer                                                            5.00                                       $5.00
Staci Backer                                                           7,325.00                                   $7,325.00
TOTAL                                                           $1,810,037.44           $ -6,500.00            $1,803,537.44




                                                                                                   EXHIBIT 1


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                             Accrual Basis Friday, September 15, 2023 11:27 AM GMT-05:00
                                                                                                                                     JWSC LLC.
                                                                                                                                    General Ledger
                                                                                                                                            All Dates

                                                  Transaction
                                       Date          Type       Num                     Name                                                                Memo/Description                              Account   Debit           Credit          Balance
                             Cash
                                    10/24/2021   Deposit              Sample Customer                   System-recorded deposit for QuickBooks Payments                                            Cash                     5.00                          5.00
                                    10/24/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                      0.05         4.95
                                    10/28/2021   Deposit              Dean (deleted)                    System-recorded deposit for QuickBooks Payments                                            Cash               5,500.00                        5,504.95




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                                    10/28/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 159.75        5,345.20
                                    11/03/2021   Deposit              Staci Backer                      System-recorded deposit for QuickBooks Payments                                            Cash               7,325.00                       12,670.20
                                    11/03/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 212.68       12,457.52
                                    11/05/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 232.50       12,225.02
                                    11/18/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  72.75       12,152.27
                                    11/18/2021   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash               2,500.00                       14,652.27
                                    11/19/2021   Deposit              Dean (deleted)                    System-recorded deposit for QuickBooks Payments                                            Cash               8,500.00                       23,152.27
                                    11/19/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 246.75       22,905.52
                                    12/01/2021   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              14,751.00                       37,656.52
                                    12/01/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 428.53       37,227.99
                                    12/06/2021   Deposit              Dean (deleted)                    System-recorded deposit for QuickBooks Payments                                            Cash               8,000.00                       45,227.99
                                    12/06/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 233.00       44,994.99
                                    12/07/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 130.75       44,864.24
                                    12/07/2021   Deposit              Dean (deleted)                    System-recorded deposit for QuickBooks Payments                                            Cash               4,500.00                       49,364.24




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                                    12/09/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  58.25       49,305.99
                                    12/09/2021   Deposit              Dean (deleted)                    System-recorded deposit for QuickBooks Payments                                            Cash               2,000.00                       51,305.99
                                    12/16/2021   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              10,000.00                       61,305.99
                                    12/16/2021   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 290.50       61,015.49
                                    03/31/2022   Deposit              Henry Ramirez                     System-recorded deposit for QuickBooks Payments                                            Cash               1,200.00                       62,215.49
                                    03/31/2022   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  10.00       62,205.49
                                    04/04/2022   Payment              Henry Ramirez                                                                                                                Cash              74,872.17                      137,077.66
                                    04/08/2022   Deposit              Henry Ramirez                     System-recorded deposit for QuickBooks Payments                                            Cash              30,336.00                      167,413.66
                                    04/08/2022   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  10.00      167,403.66
                                    04/12/2022   Deposit              Henry Ramirez                     System-recorded deposit for QuickBooks Payments                                            Cash              10,219.35                      177,623.01
                                    04/12/2022   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  10.00      177,613.01
                                    04/25/2022   Deposit                                                System-recorded deposit for QuickBooks Payments                                            Cash               6,487.30                      184,100.31
                                    04/25/2022   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  18.44      184,081.87
                                    05/03/2022   Payment              LPS                                                                                                                          Cash               2,500.00                      186,581.87




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                                    07/18/2022   Payment              LPS                                                                                                                          Cash               7,550.00                      194,131.87
                                    07/18/2022   Payment              Pro Sales Manage Joel Chevrette                                                                                              Cash               2,750.00                      196,881.87
                                    07/18/2022   Payment              Pro Sales Manage Joel Chevrette                                                                                              Cash               5,800.00                      202,681.87
                                    07/18/2022   Payment              LPS                                                                                                                          Cash               8,500.00                      211,181.87
                                    07/18/2022   Payment              Pro Sales Manage Joel Chevrette                                                                                              Cash               4,500.00                      215,681.87
                                    10/19/2022   Payment              Henry Ramirez                                                                                                                Cash              43,467.53                      259,149.40
                                    12/21/2022   Payment              Henry Ramirez                                                                                                                Cash              44,650.00                      303,799.40
                                    01/08/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                1,305.25     302,494.15
                                    01/08/2023   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              45,000.00                      347,494.15
                                    01/10/2023   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              45,000.00                      392,494.15
                                    01/10/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                1,305.25     391,188.90
                                    01/11/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 580.25      390,608.65
                                    01/11/2023   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              20,000.00                      410,608.65
                                    02/10/2023   Deposit              Keith Meadows                     System-recorded deposit for QuickBooks Payments                                            Cash              57,000.00                      467,608.65
                                    02/10/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                1,653.50     465,955.15
                                    02/12/2023   Deposit              Henry Ramirez                     System-recorded deposit for QuickBooks Payments                                            Cash               1,137.60                      467,092.75
                                    02/12/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                  10.00      467,082.75
                                    03/12/2023   Expense              QuickBooks Payments               System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                 580.25      466,502.50




                                                                                                                                                                                                                                   EXHIBIT 2




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                                                   03/12/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       20,000.00                    486,502.50
                                                   03/15/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       53,000.00                    539,502.50
                                                   03/15/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,537.25    537,965.25
                                                   04/23/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,358.98    536,606.27
                                                   04/23/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       46,843.85                    583,450.12
                                                   05/18/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       30,453.00                    613,903.12
                                                   05/18/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                         883.39     613,019.73
                                                   06/07/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       30,000.00                    643,019.73
                                                   06/07/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                         870.25     642,149.48
                                                   06/19/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       76,236.00                    718,385.48




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                                                   06/19/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        2,211.09    716,174.39
                                                   06/29/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       45,000.00                    761,174.39
                                                   06/29/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,305.25    759,869.14
                                                   07/14/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,160.25    758,708.89
                                                   07/14/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       40,000.00                    798,708.89
                                                   07/28/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,450.25    797,258.64
                                                   07/28/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       50,000.00                    847,258.64
                                                   08/09/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       50,000.00                    897,258.64
                                                   08/09/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,450.25    895,808.39
                                                   08/27/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,450.25    894,358.14
                                                   08/27/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       50,000.00                    944,358.14
                                                   09/14/2023   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Cash                                        1,794.00    942,564.14
                                                   09/14/2023   Deposit           Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Cash                       60,000.00                   ##########
                             Total for Cash                                                                                                                                                                              $ 1,025,583.80   $   23,019.66




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                             Checking - 7945 - 3
                                                   02/08/2022   Check                                   Opening Balance from Bank                                                                  Checking - 7945 - 3                            23.82        -23.82
                                                   02/10/2022   Transfer                                ATM ONUS WITHDRAWAL Card Ending: 5189 VOLUNTEER STA 2112 MEMORIAL SPRINGFIELD TN           Checking - 7945 - 3           500.00                        476.18
                                                   02/10/2022   Transfer                                Mobile Banking Transfer Deposit 3701                                                       Checking - 7945 - 3         4,500.00                      4,976.18
                                                   02/11/2022   Expense                                 Electronic Withdrawal Deluxe Bus Sys.                                                      Checking - 7945 - 3                          198.73       4,777.45
                                                   02/14/2022   Transfer                                Mobile Banking Transfer Deposit 3701                                                       Checking - 7945 - 3        14,000.00                     18,777.45
                                                   02/17/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                            11.29     18,766.16
                                                   02/17/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                            43.92     18,722.24
                                                   02/18/2022   Expense                                 Debit Purchase -visa Card 8483buc-ee's #52 Calhoun Ga                                      Checking - 7945 - 3                            39.51     18,682.73
                                                   02/18/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                                 Checking - 7945 - 3                             9.98     18,672.75
                                                   02/18/2022   Expense                                 Debit Purchase -visa Card 8483qt 774 Duluth Ga                                             Checking - 7945 - 3                            26.61     18,646.14
                                                   02/22/2022   Expense                                 Debit Purchase -visa Card 8483jose's Greenbrier Tn                                         Checking - 7945 - 3                            44.79     18,601.35
                                                   02/22/2022   Transfer                                Mobile Banking Transfer Withdrawal 3701                                                    Checking - 7945 - 3                         5,000.00     13,601.35
                                                   02/22/2022   Expense                                 Debit Purchase -visa Card 8483olive Garden 002madison Tn                                   Checking - 7945 - 3                            10.59     13,590.76




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                                                   02/22/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                            18.30     13,572.46
                                                   02/22/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                            52.91     13,519.55
                                                   02/22/2022   Transfer                                Mobile Banking Transfer Withdrawal 0559                                                    Checking - 7945 - 3                         2,000.00     11,519.55
                                                   02/22/2022   Transfer                                Mobile Banking Transfer Withdrawal 3701                                                    Checking - 7945 - 3                         2,000.00      9,519.55
                                                   02/24/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                                 Checking - 7945 - 3                             9.98      9,509.57
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 127515greenbrier Tn                                Checking - 7945 - 3                            56.67      9,452.90
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                                Checking - 7945 - 3                             3.50      9,449.40
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                                Checking - 7945 - 3                             5.70      9,443.70
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483optishotgolf Optishotgolfmi                                  Checking - 7945 - 3                         1,332.88      8,110.82
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483hardees 1501845 Springfield Tn                               Checking - 7945 - 3                            17.20      8,093.62
                                                   02/28/2022   Expense                                 Debit Purchase -visa Card 8483walgreens #7316 Nashville Tn                                 Checking - 7945 - 3                            31.00      8,062.62
                                                   03/01/2022   Deposit                                 Deposit                                                                                    Checking - 7945 - 3        27,225.00                     35,287.62
                                                   03/03/2022   Check      1001                         Check 1001                                                                                 Checking - 7945 - 3                         8,167.50     27,120.12
                                                   03/03/2022   Expense                                 Debit Purchase -visa Card 8483chick-fil-a #012franklin Tn                                  Checking - 7945 - 3                            10.74     27,109.38
                                                   03/03/2022   Expense                                 Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                                Checking - 7945 - 3                             6.79     27,102.59
                                                   03/04/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                            39.40     27,063.19
                                                   03/04/2022   Transfer                                Mobile Banking Transfer Deposit 0559                                                       Checking - 7945 - 3         2,000.00                     29,063.19
                                                   03/07/2022   Expense                                 Debit Purchase Card 8483best Buy #172 Madison Tn                                           Checking - 7945 - 3                          146.88      28,916.31




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                             03/07/2022   Deposit                    Debit Purchase Ret - Visa Card 8483best Buy 00madison Tn       Checking - 7945 - 3     142.01               29,058.32
                             03/07/2022   Expense                    Debit Purchase -visa Card 8483optishotgolf.comwww.optishotmi   Checking - 7945 - 3                   9.99   29,048.33
                             03/07/2022   Deposit                    Mobile Check Deposit                                           Checking - 7945 - 3    7,000.00              36,048.33
                             03/07/2022   Expense                    Debit Purchase -visa Card 8483bakers Market Goodlettsviltn     Checking - 7945 - 3                 20.79    36,027.54
                             03/07/2022   Expense                    Debit Purchase -visa Card 8483staples 00hendersonviltn         Checking - 7945 - 3                 73.18    35,954.36
                             03/08/2022   Expense                    Zelle Instant Pmt To Dean Bingham Usbo1lq9szm8                 Checking - 7945 - 3               2,100.00   33,854.36
                             03/10/2022   Check      1002            Check 1002                                                     Checking - 7945 - 3               1,000.00   32,854.36
                             03/10/2022   Expense                    Debit Purchase -visa Card 8483bakers Market Goodlettsviltn     Checking - 7945 - 3                 38.19    32,816.17
                             03/11/2022   Deposit                    Mobile Check Deposit                                           Checking - 7945 - 3    6,500.00              39,316.17
                             03/11/2022   Expense                    Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn   Checking - 7945 - 3                 11.61    39,304.56




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                             03/11/2022   Transfer                   Mobile Banking Payment To Credit Card Card 7219                Checking - 7945 - 3                500.00    38,804.56
                             03/11/2022   Expense                    Debit Purchase -visa Card 8483harbor Freight Tspringfield Tn   Checking - 7945 - 3                 13.89    38,790.67
                             03/11/2022   Expense                    Debit Purchase -visa Card 8483shell Oil 575458spring Hill Tn   Checking - 7945 - 3                 15.16    38,775.51
                             03/11/2022   Expense           Lowe's   Debit Purchase Card 8483lowe's #1747 Springfield Tn            Checking - 7945 - 3                 34.48    38,741.03
                             03/11/2022   Expense                    Debit Purchase Card 8483kroger #5 2020 Mfranklin Tn            Checking - 7945 - 3                 20.77    38,720.26
                             03/14/2022   Expense                    Debit Purchase -visa Card 8491american Air0012fort Worth Tx    Checking - 7945 - 3               1,343.47   37,376.79
                             03/14/2022   Expense                    Zelle Instant Pmt To Dean Bingham Usbtdxi9u8kk                 Checking - 7945 - 3               7,000.00   30,376.79
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483bakers Market Goodlettsviltn     Checking - 7945 - 3                 12.58    30,364.21
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483jose's Greenbrier Tn             Checking - 7945 - 3                 47.81    30,316.40
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483twice Daily 6606brentwood Tn     Checking - 7945 - 3                 19.86    30,296.54
                             03/14/2022   Expense                    Debit Purchase -visa Card 8491american Air0012fort Worth Tx    Checking - 7945 - 3               1,343.47   28,953.07
                             03/14/2022   Transfer                   Mobile Banking Payment To Credit Card Card 7219                Checking - 7945 - 3               2,000.00   26,953.07
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483shell Oil 575429springfield Tn   Checking - 7945 - 3                 32.36    26,920.71
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn      Checking - 7945 - 3                 82.43    26,838.28




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                             03/14/2022   Expense                    Debit Purchase -visa Card 8483h G Hill #54 Springfield Tn      Checking - 7945 - 3                 16.62    26,821.66
                             03/14/2022   Expense                    Zelle Standard Pmt To Dean Bingham Usb3r569uojb                Checking - 7945 - 3               3,000.00   23,821.66
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483star Wine And Spspringfield Tn   Checking - 7945 - 3                 30.78    23,790.88
                             03/14/2022   Deposit                    Deposit                                                        Checking - 7945 - 3   43,500.00              67,290.88
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn      Checking - 7945 - 3                 11.00    67,279.88
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn     Checking - 7945 - 3                 11.94    67,267.94
                             03/14/2022   Expense                    Debit Purchase -visa Card 8483shapertools Httpsshapertca       Checking - 7945 - 3               3,526.28   63,741.66
                             03/14/2022   Expense                    Debit Purchase Card 8483kroger #5 2600 Mspringfield Tn         Checking - 7945 - 3                 48.18    63,693.48
                             03/15/2022   Expense                    Debit Purchase Card 8483racetrac2557 Spring Hill Tn            Checking - 7945 - 3                   6.89   63,686.59
                             03/15/2022   Transfer                   Mobile Banking Transfer Withdrawal 3701                        Checking - 7945 - 3               4,000.00   59,686.59
                             03/15/2022   Transfer                   Mobile Banking Payment To Credit Card Card 7219                Checking - 7945 - 3               3,816.20   55,870.39
                             03/15/2022   Expense           Lowe's   Debit Purchase Card 8483lowe's #1747 Springfield Tn            Checking - 7945 - 3                566.55    55,303.84
                             03/15/2022   Transfer                   Mobile Banking Transfer Withdrawal 0559                        Checking - 7945 - 3               5,000.00   50,303.84
                             03/16/2022   Expense                    Debit Purchase -visa Card 8483exxonmobil 48nashville Tn        Checking - 7945 - 3                   5.15   50,298.69




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                             03/16/2022   Deposit                    Deposit                                                        Checking - 7945 - 3   25,175.00              75,473.69
                             03/16/2022   Expense                    Debit Purchase -visa Card 8483payne Chevrolet 615--38-4-55tn   Checking - 7945 - 3               1,262.46   74,211.23
                             03/16/2022   Expense                    Debit Purchase -visa Card 8483sportsmans Lodgebrentwood Tn     Checking - 7945 - 3                 51.21    74,160.02
                             03/16/2022   Expense                    Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn      Checking - 7945 - 3                 20.97    74,139.05
                             03/16/2022   Expense                    Debit Purchase -visa Card 8483bakers Market Goodlettsviltn     Checking - 7945 - 3                 12.27    74,126.78
                             03/16/2022   Expense                    Zelle Instant Pmt To Dean Bingham Usbieo29vec6                 Checking - 7945 - 3               3,050.00   71,076.78
                             03/17/2022   Expense           Lowe's   Debit Purchase Card 8483lowe's #1747 Springfield Tn            Checking - 7945 - 3                260.27    70,816.51
                             03/17/2022   Expense                    Debit Purchase -visa Card 8483sonic Drive In #springfield Tn   Checking - 7945 - 3                   9.10   70,807.41
                             03/17/2022   Transfer                   Mobile Banking Transfer Withdrawal 3701                        Checking - 7945 - 3               2,000.00   68,807.41
                             03/18/2022   Expense                    Debit Purchase -visa Card 8483bakers Market Goodlettsviltn     Checking - 7945 - 3                 46.89    68,760.52
                             03/18/2022   Expense           Lowe's   Debit Purchase Card 8483lowe's #2851 Nashville Tn              Checking - 7945 - 3                513.19    68,247.33
                             03/18/2022   Expense                    Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn     Checking - 7945 - 3                 11.61    68,235.72
                             03/18/2022   Transfer                   Mobile Banking Transfer Withdrawal 3701                        Checking - 7945 - 3               2,500.00   65,735.72
                             03/18/2022   Expense                    Debit Purchase -visa Card 8483kroger Fuel #957springfield Tn   Checking - 7945 - 3                 85.77    65,649.95
                             03/18/2022   Expense                    Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn    Checking - 7945 - 3                 36.18    65,613.77
                             03/21/2022   Expense                    Debit Purchase -visa Card 8483mcdonald's F2081franklin Tn      Checking - 7945 - 3                 11.72    65,602.05
                             03/21/2022   Expense                    Debit Purchase -visa Card 8483bestbuycom806626888bestbuy Mn    Checking - 7945 - 3                252.41    65,349.64
                             03/21/2022   Expense                    Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn    Checking - 7945 - 3                   5.70   65,343.94




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                             03/21/2022   Expense                Recurring Debit Purchase Card 8483constructconnect877-4228665 Oh   Checking - 7945 - 3                1,987.38   63,356.56
                             03/21/2022   Expense                Debit Purchase Card 8483walgreens Store Goodlettsviltn             Checking - 7945 - 3                  78.05    63,278.51
                             03/21/2022   Expense                Debit Purchase -visa Card 8483isenhour Door Nashville Tn           Checking - 7945 - 3                 306.06    62,972.45
                             03/21/2022   Expense                Debit Purchase -visa Card 8483great White Exprspring Hill Tn       Checking - 7945 - 3                  23.00    62,949.45
                             03/21/2022   Expense                Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn       Checking - 7945 - 3                  15.00    62,934.45
                             03/21/2022   Expense                Debit Purchase -visa Card 8483the Chop House Hhendersonviltn       Checking - 7945 - 3                 343.63    62,590.82
                             03/21/2022   Expense                Debit Purchase -visa Card 8491bf Myers Furnitu615-8591301 Tn       Checking - 7945 - 3                2,254.72   60,336.10
                             03/21/2022   Expense                Check Printing Charge 220318check/acc.8410216800 Ppd               Checking - 7945 - 3                  18.00    60,318.10
                             03/21/2022   Expense                Check Printing Charge 220318check/acc.8410216800 Ppd               Checking - 7945 - 3                  18.00    60,300.10
                             03/21/2022   Expense                Debit Purchase -visa Card 8483bestbuycom806626888bestbuy Mn        Checking - 7945 - 3                  82.28    60,217.82




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                             03/21/2022   Expense                Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn         Checking - 7945 - 3                  20.84    60,196.98
                             03/22/2022   Expense                Debit Purchase -visa Card 8483chili's Cool Sprfranklin Tn          Checking - 7945 - 3                  31.38    60,165.60
                             03/22/2022   Expense                Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn         Checking - 7945 - 3                  11.94    60,153.66
                             03/22/2022   Expense                Zelle Instant Pmt To Frank Perez Usbfipu9wwkq                      Checking - 7945 - 3                1,200.00   58,953.66
                             03/22/2022   Expense                Debit Purchase -visa Card 8483grannys Brier Pagreenbrier Tn        Checking - 7945 - 3                  40.56    58,913.10
                             03/22/2022   Expense                Debit Purchase -visa Card 8483golf Galaxy # 40brentwood Tn         Checking - 7945 - 3                 307.25    58,605.85
                             03/23/2022   Expense                Zelle Instant Pmt To Dean Bingham Usbx46a9xdsh                     Checking - 7945 - 3                5,000.00   53,605.85
                             03/23/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  66.47    53,539.38
                             03/23/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  26.17    53,513.21
                             03/24/2022   Expense                Debit Purchase Card 8483sanford Trailer Greenbrier Tn              Checking - 7945 - 3                4,383.31   49,129.90
                             03/24/2022   Expense                Debit Purchase -visa Card 8483great White Exprspring Hill Tn       Checking - 7945 - 3                  23.00    49,106.90
                             03/24/2022   Transfer               Mobile Banking Transfer Withdrawal 0559                            Checking - 7945 - 3                4,300.00   44,806.90
                             03/25/2022   Deposit                Mobile Check Deposit                                               Checking - 7945 - 3     306.06                45,112.96
                             03/25/2022   Expense                Debit Purchase -visa Card 8483wm Supercenter #spring Hill Tn       Checking - 7945 - 3                  72.83    45,040.13




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                             03/25/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  26.34    45,013.79
                             03/28/2022   Expense                Debit Purchase -visa Card 8483hardees 1501805 Goodlettsvlltn       Checking - 7945 - 3                  12.00    45,001.79
                             03/28/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  21.97    44,979.82
                             03/28/2022   Check      5001        Check 5001                                                         Checking - 7945 - 3                2,500.00   42,479.82
                             03/28/2022   Expense                Zelle Instant Pmt To Dean Bingham Usbc5mx9y5gr                     Checking - 7945 - 3                4,700.00   37,779.82
                             03/28/2022   Expense                Debit Purchase -visa Card 8483glf*thelegacy Springfield Tn         Checking - 7945 - 3                  17.25    37,762.57
                             03/28/2022   Deposit                Mobile Check Deposit                                               Checking - 7945 - 3   15,700.00               53,462.57
                             03/28/2022   Expense                Debit Purchase -visa Card 8483reg Indian Lake Hendersonviltn       Checking - 7945 - 3                  25.31    53,437.26
                             03/29/2022   Check      309159289   Customer Withdrawal                                                Checking - 7945 - 3               15,000.00   38,437.26
                             03/29/2022   Expense                Debit Purchase -visa Card 8483pinnacle Ford Nicholasvillky         Checking - 7945 - 3                 400.00    38,037.26
                             03/29/2022   Expense                Debit Purchase -visa Card 8483pinnacle Ford Nicholasvillky         Checking - 7945 - 3                5,000.00   33,037.26
                             03/29/2022   Expense                Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn         Checking - 7945 - 3                    8.88   33,028.38
                             03/30/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  12.58    33,015.80
                             03/30/2022   Expense                Debit Purchase Card 8483greenbrier Citgogreenbrier Tn              Checking - 7945 - 3                  15.34    33,000.46




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                             03/31/2022   Expense                Debit Purchase -visa Card 8483tst* Ejs White House Tn              Checking - 7945 - 3                  32.11    32,968.35
                             03/31/2022   Expense                Debit Purchase -visa Card 8483bojangles 1304 Springfield Tn        Checking - 7945 - 3                    5.25   32,963.10
                             04/01/2022   Expense                Debit Purchase -visa Card 8483greenbrier Citgogreenbrier Tn        Checking - 7945 - 3                  55.16    32,907.94
                             04/01/2022   Expense                Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn       Checking - 7945 - 3                  15.00    32,892.94
                             04/04/2022   Expense                Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn          Checking - 7945 - 3                  18.51    32,874.43
                             04/04/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  21.97    32,852.46
                             04/04/2022   Expense                Debit Purchase -visa Card 8483shell Oil 575429springfield Tn       Checking - 7945 - 3                  14.63    32,837.83
                             04/04/2022   Deposit                Debit Purchase Ret - Visa Card 8483lowes #01747* Springfield Tn    Checking - 7945 - 3     245.80                33,083.63
                             04/04/2022   Expense                Debit Purchase -visa Card 8483shell Oil 910025goodlettsviltn       Checking - 7945 - 3                  19.01    33,064.62
                             04/04/2022   Expense                Debit Purchase -visa Card 8483burger King #277greenbrier Tn        Checking - 7945 - 3                  13.27    33,051.35
                             04/04/2022   Expense                Debit Purchase -visa Card 8483shell Oil 910025goodlettsviltn       Checking - 7945 - 3                  88.80    32,962.55
                             04/05/2022   Expense                Debit Purchase -visa Card 8483bluebeam Inc 626-7884100 Ca          Checking - 7945 - 3                 383.03    32,579.52
                             04/05/2022   Expense                Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn         Checking - 7945 - 3                    9.98   32,569.54
                             04/05/2022   Expense                Debit Purchase -visa Card 8483ferguson Ent, In844-872-3857tn       Checking - 7945 - 3                7,719.35   24,850.19
                             04/06/2022   Check      1004        Check 1004                                                         Checking - 7945 - 3                 500.00    24,350.19
                             04/07/2022   Expense                Debit Purchase -visa Card 8483mcdonald's F7426goodlettsviltn       Checking - 7945 - 3                  11.12    24,339.07
                             04/07/2022   Expense                Debit Purchase -visa Card 8483bakers Market Goodlettsviltn         Checking - 7945 - 3                  10.25    24,328.82
                             04/07/2022   Expense                Recurring Debit Purchase Card 8483optishotgolf.comwww.optishotmi   Checking - 7945 - 3                    9.99   24,318.83




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                             04/07/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                  19.75    24,299.08
                             04/08/2022   Expense                                 Debit Purchase Card 8483am/pm Citgo Nashville Tn                                           Checking - 7945 - 3                    7.51   24,291.57
                             04/08/2022   Check      1005                         Check 1005                                                                                 Checking - 7945 - 3                2,000.00   22,291.57
                             04/08/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                  15.77    22,275.80
                             04/11/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                  36.78    22,239.02
                             04/11/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                  72.31    22,166.71
                             04/11/2022   Expense                                 Debit Purchase -visa Card 8491paramount Gems 212-2211520 Ny                                Checking - 7945 - 3               10,000.00   12,166.71
                             04/14/2022   Expense                                 Analysis Service Charge                                                                    Checking - 7945 - 3                  15.00    12,151.71
                             04/14/2022   Transfer                                Mobile Banking Payment To Credit Card Card 7219                                            Checking - 7945 - 3                1,000.00   11,151.71
                             04/15/2022   Expense                                 Debit Purchase -visa Card 8483mattress Firm 00madison Tn                                   Checking - 7945 - 3                6,691.52    4,460.19




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                             04/18/2022   Expense                                 Debit Purchase -visa Card 8483greenbrier Citgogreenbrier Tn                                Checking - 7945 - 3                  74.75     4,385.44
                             04/18/2022   Expense                                 Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                                  Checking - 7945 - 3                  42.71     4,342.73
                             04/19/2022   Expense                                 Debit Purchase Card 8483wal-mart Super Cspringfield Tn                                     Checking - 7945 - 3                  23.82     4,318.91
                             04/19/2022   Check      1006                         Check 1006                                                                                 Checking - 7945 - 3                2,365.00    1,953.91
                             04/20/2022   Expense                                 Debit Purchase -visa Card 8483tin Roof 2 Franklin Tn                                       Checking - 7945 - 3                  52.91     1,901.00
                             04/20/2022   Expense                                 Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                                Checking - 7945 - 3                  23.52     1,877.48
                             04/20/2022   Expense                                 Debit Purchase -visa Card 8483the Butcher Blocfranklin Tn                                  Checking - 7945 - 3                  55.45     1,822.03
                             04/21/2022   Expense                                 Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                                Checking - 7945 - 3                  10.03     1,812.00
                             04/22/2022   Transfer                                Mobile Banking Transfer Deposit 3701                                                       Checking - 7945 - 3    4,000.00                5,812.00
                             04/23/2022   Transfer                                Mobile Banking Transfer Withdrawal 3701                                                    Checking - 7945 - 3                4,000.00    1,812.00
                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                  17.15     1,794.85
                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                               Checking - 7945 - 3                    7.94    1,786.91
                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                               Checking - 7945 - 3                    3.82    1,783.09
                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483robertson Countyspringfield Tn                               Checking - 7945 - 3                    8.00    1,775.09




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                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                  56.49     1,718.60
                             04/25/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                               Checking - 7945 - 3                  15.00     1,703.60
                             04/26/2022   Expense           QuickBooks Payments   Electronic Withdrawal Intuit 34309905                                                      Checking - 7945 - 3                  18.44     1,685.16
                             04/26/2022   Deposit           QuickBooks Payments   Electronic Deposit Intuit 70824505                                                         Checking - 7945 - 3    6,487.30                8,172.46
                             04/27/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                  40.71     8,131.75
                             04/28/2022   Deposit                                 Deposit                                                                                    Checking - 7945 - 3   34,650.00               42,781.75
                             04/29/2022   Expense                                 Debit Purchase -visa Card 8483j.i. Baldwin & Sspringfield Tn                               Checking - 7945 - 3                  17.70    42,764.05
                             04/29/2022   Expense                                 Debit Purchase -visa Card 8483phillips 66 - Swgoodlettsviltn                               Checking - 7945 - 3                  27.99    42,736.06
                             04/29/2022   Expense                                 Debit Purchase -visa Card 8483mcdonald's F2624springfield Tn                               Checking - 7945 - 3                  17.30    42,718.76
                             04/29/2022   Expense                                 Debit Purchase -visa Card 8483csfranklin Llc Franklin Tn                                   Checking - 7945 - 3                 114.86    42,603.90
                             04/29/2022   Expense                                 Debit Purchase Card 8483sudden Service Cspringfield Tn                                     Checking - 7945 - 3                  14.08    42,589.82
                             04/29/2022   Expense                                 Debit Purchase -visa Card 8483middle Tennessee615-446-3461tn                               Checking - 7945 - 3                1,154.92   41,434.90
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483sudden Service Cspringfield Tn                               Checking - 7945 - 3                  78.18    41,356.72
                             05/02/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usb3rlt9i1gu                                             Checking - 7945 - 3                6,800.00   34,556.72




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                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #springfield Tn                               Checking - 7945 - 3                    8.55   34,548.17
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                                  Checking - 7945 - 3                  47.58    34,500.59
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483the Mower Shop Springfield Tn                                Checking - 7945 - 3                  11.00    34,489.59
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483the Hearth & Grinashville Tn                                 Checking - 7945 - 3                5,857.00   28,632.59
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483walker Hardware Springfield Tn                               Checking - 7945 - 3                  34.65    28,597.94
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                                  Checking - 7945 - 3                    4.37   28,593.57
                             05/02/2022   Expense                                 Debit Purchase -visa Card 8483verizon Wrls 071908-3067000 Tn                               Checking - 7945 - 3                 414.05    28,179.52
                             05/03/2022   Deposit                                 System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   60,109.15               88,288.67
                             05/03/2022   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                  30.00    88,258.67
                             05/03/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                  22.79    88,235.88
                             05/03/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                                Checking - 7945 - 3                2,117.22   86,118.66
                             05/03/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                                Checking - 7945 - 3                2,117.22   84,001.44
                             05/03/2022   Expense                                 Debit Purchase -visa Card 8483mcdonald's F3656spring Hill Tn                               Checking - 7945 - 3                  14.22    83,987.22
                             05/04/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #nashville Tn                                 Checking - 7945 - 3                    8.07   83,979.15
                             05/04/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575274nashville Tn                                 Checking - 7945 - 3                    7.22   83,971.93
                             05/04/2022   Expense           Nathan Holden         Zelle Instant Pmt To Nathan Holden Usbdm06bp5qq                                            Checking - 7945 - 3                 500.00    83,471.93
                             05/04/2022   Check      1007                         Check 1007                                                                                 Checking - 7945 - 3               59,000.00   24,471.93
                             05/05/2022   Expense                                 Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                                  Checking - 7945 - 3                  29.44    24,442.49




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                              05/05/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                 14.99    24,427.50
                              05/05/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 14.50    24,413.00
                              05/06/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 24.19    24,388.81
                              05/06/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                 14.03    24,374.78
                              05/06/2022   Expense                                 Debit Purchase Card 8483guns & Le Guns &greenbrier Tn                                      Checking - 7945 - 3                 32.92    24,341.86
                              05/06/2022   Expense                                 Debit Purchase -visa Card 8483burger King #277greenbrier Tn                                Checking - 7945 - 3                 13.15    24,328.71
                              05/06/2022   Expense                                 Debit Purchase -visa Card 8483arigato. Nashville Tn                                        Checking - 7945 - 3                 25.73    24,302.98
                              05/06/2022   Expense                                 Debit Purchase Card 8483apple Store #r13nashville Tn                                       Checking - 7945 - 3                152.90    24,150.08
                              05/06/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 53.79    24,096.29
                              05/09/2022   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    24,086.29




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                              05/09/2022   Check      1003                         Check 1003                                                                                 Checking - 7945 - 3               3,000.00   21,086.29
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                    Checking - 7945 - 3                   9.62   21,076.67
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483wendys 623 Nashville Tn                                      Checking - 7945 - 3                 11.67    21,065.00
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483terrys Market Cross Plainstn                                 Checking - 7945 - 3                   8.83   21,056.17
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                               Checking - 7945 - 3                 11.61    21,044.56
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483sudden Service Cspringfield Tn                               Checking - 7945 - 3                 50.01    20,994.55
                              05/09/2022   Expense           Lowe's                Debit Purchase Card 8483lowe's #1747 Springfield Tn                                        Checking - 7945 - 3                444.87    20,549.68
                              05/09/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                               Checking - 7945 - 3                 17.37    20,532.31
                              05/09/2022   Expense                                 Recurring Debit Purchase Card 8483optishotgolf.comwww.optishotmi                           Checking - 7945 - 3                   9.99   20,522.32
                              05/09/2022   Expense                                 Debit Purchase Card 8483sudden Service Cspringfield Tn                                     Checking - 7945 - 3                 21.47    20,500.85
                              05/09/2022   Deposit                                 System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   7,809.19               28,310.04
                              05/10/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 17.34    28,292.70
                              05/10/2022   Expense                                 Debit Purchase -visa Card 8483thorntons #0604 Madison Tn                                   Checking - 7945 - 3                 57.86    28,234.84
                              05/11/2022   Expense                                 Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                    Checking - 7945 - 3                   7.03   28,227.81




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                              05/11/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                               Checking - 7945 - 3                   9.98   28,217.83
                              05/11/2022   Expense                                 Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                    Checking - 7945 - 3                 74.41    28,143.42
                              05/11/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 40.50    28,102.92
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483sonic #3576 Greenbrier Tn                                    Checking - 7945 - 3                 11.94    28,090.98
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn                                Checking - 7945 - 3                133.16    27,957.82
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483arby's 8141 Spring Hill Tn                                   Checking - 7945 - 3                 10.74    27,947.08
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483sad Sams Cross Plainstn                                      Checking - 7945 - 3                   6.99   27,940.09
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483great White Exprspring Hill Tn                               Checking - 7945 - 3                 23.00    27,917.09
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483kenny Pipe And S615-2444980 Tn                               Checking - 7945 - 3                932.15    26,984.94
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn                                Checking - 7945 - 3                 28.00    26,956.94
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 14.50    26,942.44
                              05/12/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 100902cross Plainstn                               Checking - 7945 - 3                 31.15    26,911.29
                              05/13/2022   Expense                                 Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                Checking - 7945 - 3                 27.07    26,884.22




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                              05/13/2022   Expense                                 Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                               Checking - 7945 - 3                   9.98   26,874.24
                              05/16/2022   Expense                                 Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                                  Checking - 7945 - 3                 57.79    26,816.45
                              05/16/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                 Checking - 7945 - 3                 17.71    26,798.74
                              05/16/2022   Expense                                 Debit Purchase -visa Card 8483burger King #277greenbrier Tn                                Checking - 7945 - 3                   8.88   26,789.86
                              05/17/2022   Expense                                 Debit Purchase Card 8483huffs Thompsons Sttn                                               Checking - 7945 - 3                   7.11   26,782.75
                              05/18/2022   Expense                                 Debit Purchase -visa Card 8483rocketcert.com Rocketcert.ctn                                Checking - 7945 - 3               1,778.31   25,004.44
                              05/19/2022   Deposit                                 System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   6,500.00               31,504.44
                              05/19/2022   Expense                                 Debit Purchase -visa Card 8483chick-fil-a #042franklin Tn                                  Checking - 7945 - 3                 11.07    31,493.37
                              05/19/2022   Expense           QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    31,483.37
                              05/19/2022   Check      1008                         Check 1008                                                                                 Checking - 7945 - 3               2,000.00   29,483.37
                              05/20/2022   Check      1009                         Check 1009                                                                                 Checking - 7945 - 3              11,728.80   17,754.57
                              05/20/2022   Check      1010                         Check 1010                                                                                 Checking - 7945 - 3               4,945.00   12,809.57
                              05/23/2022   Expense                                 Debit Purchase -visa Card 8483sp Golfdaddy London                                          Checking - 7945 - 3                 39.99    12,769.58
                              05/23/2022   Expense                                 International Processing Fee Card 8483                                                     Checking - 7945 - 3                   1.19   12,768.39
                              05/23/2022   Expense                                 Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                Checking - 7945 - 3                   2.51   12,765.88
                              05/23/2022   Transfer                                Mobile Banking Transfer Deposit 3701                                                       Checking - 7945 - 3   2,000.00               14,765.88
                              05/23/2022   Expense                                 Debit Purchase -visa Card 8483mcdonald's F7426goodlettsviltn                               Checking - 7945 - 3                   6.97   14,758.91
                              05/23/2022   Expense                                 Debit Purchase -visa Card 8483shell Oil 575274nashville Tn                                 Checking - 7945 - 3                 32.88    14,726.03
                              05/24/2022   Deposit                                 Debit Purchase Ret - Visa Card 8483mattress Firm 00madison Tn                              Checking - 7945 - 3    321.00                15,047.03




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                              05/25/2022   Expense                          Debit Purchase -visa Card 8483pilot 00calhoun Ga                                           Checking - 7945 - 3                 11.84     15,035.19
                              05/26/2022   Expense                          Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                                   Checking - 7945 - 3                 52.94     14,982.25
                              05/26/2022   Expense                          Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                                   Checking - 7945 - 3                276.05     14,706.20
                              05/26/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 40.00     14,666.20
                              05/26/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   64,354.03               79,020.23
                              05/26/2022   Expense                          Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                                   Checking - 7945 - 3                303.63     78,716.60
                              05/29/2022   Transfer                         Mobile Banking Transfer Withdrawal 3701                                                    Checking - 7945 - 3               5,000.00    73,716.60
                              05/29/2022   Transfer                         Mobile Banking Transfer Withdrawal 3701                                                    Checking - 7945 - 3               4,000.00    69,716.60
                              06/06/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   43,872.03              113,588.63
                              06/06/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 20.00    113,568.63




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                              06/08/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   10,358.97              123,927.60
                              06/08/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    123,917.60
                              06/10/2022   Expense                          Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                Checking - 7945 - 3                 11.47    123,906.13
                              06/16/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    123,896.13
                              06/16/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    7,728.80              131,624.93
                              06/22/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   10,914.00              142,538.93
                              06/22/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    142,528.93
                              06/28/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 15.41    142,513.52
                              06/29/2022   Expense                          Debit Purchase -visa Card 8483wal-mart #3017 Spring Hill Tn                                Checking - 7945 - 3                 91.54    142,421.98
                              06/29/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 69.56    142,352.42
                              06/30/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                   9.91   142,342.51
                              07/01/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 50.88    142,291.63
                              07/07/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 60.19    142,231.44
                              07/08/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.25    142,217.19




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                              07/08/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 75.00    142,142.19
                              07/13/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 11.74    142,130.45
                              07/14/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 13.61    142,116.84
                              07/14/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 67.87    142,048.97
                              07/20/2022   Deposit                          System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   19,875.00              161,923.97
                              07/20/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    161,913.97
                              07/26/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 60.22    161,853.75
                              07/27/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 10.41    161,843.34
                              07/29/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 61.89    161,781.45
                              08/01/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 22.39    161,759.06
                              08/03/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.68    161,744.38
                              08/04/2022   Expense                          Debit Purchase Card 8483racetrac2557 Spring Hill Tn                                        Checking - 7945 - 3                   5.33   161,739.05
                              08/04/2022   Expense                          Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                    Checking - 7945 - 3                   9.06   161,729.99




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                              08/04/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 20.77    161,709.22
                              08/05/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 20.00    161,689.22
                              08/05/2022   Deposit    Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   14,983.50              176,672.72
                              08/08/2022   Expense                          Debit Purchase -visa Card 8483arby's 8141 Spring Hill Tn                                   Checking - 7945 - 3                 11.18    176,661.54
                              08/08/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 61.89    176,599.65
                              08/08/2022   Expense                          Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                Checking - 7945 - 3                 71.58    176,528.07
                              08/08/2022   Deposit    Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   10,719.00              187,247.07
                              08/08/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    187,237.07
                              08/08/2022   Expense                          Debit Purchase Card 8483wal-mart Super Cnashville Tn                                       Checking - 7945 - 3                 15.03    187,222.04
                              08/09/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    187,212.04
                              08/09/2022   Deposit    Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    5,603.39              192,815.43
                              08/09/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 59.93    192,755.50
                              08/10/2022   Deposit    Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    4,645.80              197,401.30
                              08/10/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 10.41    197,390.89
                              08/10/2022   Expense    QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    197,380.89
                              08/11/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 15.67    197,365.22
                              08/12/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 16.89    197,348.33
                              08/15/2022   Expense                          Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 49.00    197,299.33
                              08/15/2022   Expense                          Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 52.97    197,246.36




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                              08/18/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 30.06    197,216.30
                              08/19/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 18.12    197,198.18
                              08/22/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    8,093.90              205,292.08
                              08/22/2022   Expense                         Debit Purchase -visa Card 8483racetrac 2546 00madison Tn                                   Checking - 7945 - 3                 64.03    205,228.05
                              08/22/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    205,218.05
                              08/22/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 27.32    205,190.73
                              08/23/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 65.75    205,124.98
                              08/24/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.18    205,110.80
                              08/25/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 19.87    205,090.93
                              08/26/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 10.41    205,080.52




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                              08/29/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.58    205,065.94
                              08/30/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 22.39    205,043.55
                              08/31/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 40.58    205,002.97
                              09/01/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 25.67    204,977.30
                              09/01/2022   Expense                         Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 69.06    204,908.24
                              09/06/2022   Expense                         Debit Purchase -visa Card 8483bojangles 1304 Springfield Tn                                Checking - 7945 - 3                 13.46    204,894.78
                              09/06/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.85    204,879.93
                              09/07/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 46.86    204,833.07
                              09/07/2022   Expense                         Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 57.93    204,775.14
                              09/08/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    204,765.14
                              09/08/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    3,895.00              208,660.14
                              09/09/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    4,449.02              213,109.16
                              09/09/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 18.13    213,091.03
                              09/09/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    213,081.03




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                              09/12/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 23.32    213,057.71
                              09/12/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                   7.40   213,050.31
                              09/12/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3     740.44               213,790.75
                              09/13/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 10.58    213,780.17
                              09/14/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 22.75    213,757.42
                              09/15/2022   Expense                         Debit Purchase Card 8483wal-mart #0304 Springfield Tn                                      Checking - 7945 - 3                 33.68    213,723.74
                              09/16/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 22.55    213,701.19
                              09/19/2022   Expense                         Debit Purchase Card 8483greenbrier Citgogreenbrier Tn                                      Checking - 7945 - 3                   5.79   213,695.40
                              09/19/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 66.32    213,629.08
                              09/20/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 14.87    213,614.21
                              09/20/2022   Expense                         Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 51.78    213,562.43
                              09/21/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 11.34    213,551.09
                              09/22/2022   Expense                         Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 46.99    213,504.10




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                              09/26/2022   Deposit   Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   40,000.00              253,504.10
                              09/26/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3               1,161.00   252,343.10
                              09/26/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 11.34    252,331.76
                              09/27/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 20.83    252,310.93
                              09/29/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 10.00    252,300.93
                              09/29/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 11.34    252,289.59
                              09/29/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3    4,700.00              256,989.59
                              09/30/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 34.89    256,954.70
                              10/03/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 13.67    256,941.03
                              10/03/2022   Expense                         Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Checking - 7945 - 3                 60.31    256,880.72
                              10/04/2022   Expense                         Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Checking - 7945 - 3                 13.86    256,866.86
                              10/05/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                 15.00    256,851.86
                              10/05/2022   Deposit   Henry Ramirez         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   14,900.00              271,751.86
                              10/11/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                290.25    271,461.61
                              10/11/2022   Deposit   Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   10,000.00              281,461.61
                              10/24/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3               1,595.50   279,866.11
                              10/24/2022   Deposit   Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   55,000.00              334,866.11
                              11/11/2022   Expense   QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Checking - 7945 - 3                696.25    334,169.86
                              11/11/2022   Deposit   Keith Meadows         System-recorded deposit for QuickBooks Payments                                            Checking - 7945 - 3   24,000.00              358,169.86




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                                                              11/24/2022   Expense          QuickBooks Payments    System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     Checking - 7945 - 3                          1,160.25   357,009.61
                                                              11/24/2022   Deposit          Keith Meadows          System-recorded deposit for QuickBooks Payments                                                              Checking - 7945 - 3        40,000.00                    397,009.61
                                                              12/25/2022   Expense          QuickBooks Payments    System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     Checking - 7945 - 3                            580.25   396,429.36
                                                              12/25/2022   Deposit          Keith Meadows          System-recorded deposit for QuickBooks Payments                                                              Checking - 7945 - 3        20,000.00                    416,429.36
                              Total for Checking - 7945 - 3                                                                                                                                                                                           $   687,503.39   $   271,074.03
                              JWSC LLC
                                                              10/08/2021   Deposit                                 REGULAR DEPOSIT                                                                                              JWSC LLC                      773.13                       773.13
                                                              10/21/2021   Deposit                                 ACH DEPOSIT SEC CODE: PPD Trace Number: 021000028259716 ID: T200414116943 JWSC LLC Square Inc SQ211021       JWSC LLC                    3,300.00                      4,073.13
                                                              10/21/2021   Deposit                                 ACH DEPOSIT SEC CODE: PPD Trace Number: 021000028267744 ID: T200414116565 JWSC LLC Square Inc SDV-VRFY       JWSC LLC                        0.01                      4,073.14
                                                              10/21/2021   Expense                                 ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000028271075 ID: JWSC LLC Square Inc SDV-VRFY                  JWSC LLC                                         0.01     4,073.13




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                                                                                                                   ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000024489607 ID: 524771992569493 JWSC LLC. INTUIT 82226085
                                                              10/25/2021   Expense                                 TRAN FEE                                                                                                     JWSC LLC                                         0.05     4,073.08

                                                              10/25/2021   Deposit                                 ACH DEPOSIT SEC CODE: CCD Trace Number: 021000024389471 ID: 524771992569493 JWSC LLC. INTUIT 38326275 DEPOSIT JWSC LLC                       5.00                      4,078.08
                                                              10/25/2021   Deposit                                 REGULAR DEPOSIT                                                                                              JWSC LLC                    9,675.00                     13,753.08
                                                              10/26/2021   Check            Phantom Services LLC   0641002999 -010322774                                                                                        JWSC LLC                                     1,800.00    11,953.08
                                                              10/26/2021   Check     1001   Phantom Services LLC                                                                                                                JWSC LLC                                     1,800.00    10,153.08
                                                              10/27/2021   Expense                                 WITHDRAWAL / CASHED CHECK #                                                                                  JWSC LLC                                     1,928.00     8,225.08
                                                              10/27/2021   Expense                                 WITHDRAWAL / CASHED CHECK #                                                                                  JWSC LLC                                       160.00     8,065.08
                                                              10/28/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SPEEDWAY 07180 SPRINGF SPRINGFIELD TN                         JWSC LLC                                        70.62     7,994.46
                                                              10/28/2021   Expense   500                           WITHDRAWAL / CASHED CHECK #500                                                                               JWSC LLC                                     2,400.00     5,594.46
                                                                                                                   ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000027819366 ID: 524771992569493 JWSC LLC. INTUIT 04367005
                                                              10/29/2021   Expense                                 TRAN FEE                                                                                                     JWSC LLC                                       159.75     5,434.71
                                                              10/29/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SQ *VTK DUMPSTERS Springfield TN                              JWSC LLC                                       493.52     4,941.19
                                                              10/29/2021   Deposit          Dean (deleted)                                                                                                                      JWSC LLC                    5,500.00                     10,441.19




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                                                              10/29/2021   Check     5                             CHECK #501                                                                                                   JWSC LLC                                     1,200.00     9,241.19
                                                              11/01/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 FLOOR AND DECOR 165 ANTIOCH TN                                JWSC LLC                                       196.43     9,044.76
                                                              11/01/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 RACETRAC2557 00025577 SPRING HILL TN                          JWSC LLC                                        50.68     8,994.08
                                                              11/01/2021   Expense                                 ATM FOREIGN WITHDRAWAL Card Ending: 5155 3519 TOM AUST 3519 TOM AUST SPRINGFIELD TN                          JWSC LLC                                       363.00     8,631.08
                                                              11/01/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                                               JWSC LLC                                        90.20     8,540.88
                                                              11/01/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 ACE HARDWARE SPRINGFIE SPRINGFIELD TN                         JWSC LLC                                         2.60     8,538.28
                                                              11/01/2021   Expense                                 ATM FOREIGN FEE Card Ending: 5155 WDRL FEE 3519 TOM AUST 3519 SPRINGFIELD TN                                 JWSC LLC                                         1.00     8,537.28
                                                              11/02/2021   Check     4                             CHECK #502                                                                                                   JWSC LLC                                     9,000.00      -462.72
                                                              11/02/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 KROGER #5 143 HENSLEE DICKSON TN                                          JWSC LLC                                         6.49      -469.21
                                                              11/03/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                                        17.44      -486.65
                                                              11/03/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PLEASANT VIEW TN                                          JWSC LLC                                        30.48      -517.13
                                                              11/04/2021   Expense                                 ATM FOREIGN WITHDRAWAL Card Ending: 5155 1736 CAROTHER 1736 CAROTHER BRENTWOOD TN                            JWSC LLC                                       503.50    -1,020.63

                                                              11/04/2021   Deposit                                 ACH DEPOSIT SEC CODE: CCD Trace Number: 021000021481126 ID: 524771992569493 JWSC LLC. INTUIT 90183845 DEPOSIT JWSC LLC                   7,325.00                      6,304.37




Filed 03/03/25
                                                                                                                   ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021302252 ID: 524771992569493 JWSC LLC. INTUIT 37387615
                                                              11/04/2021   Expense                                 TRAN FEE                                                                                                     JWSC LLC                                       212.68     6,091.69
                                                              11/04/2021   Expense                                 ATM FOREIGN FEE Card Ending: 5155 WDRL FEE 1736 CAROTHER 1736 BRENTWOOD TN                                   JWSC LLC                                         1.00     6,090.69
                                                              11/05/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 WALKER HARDWARE SPRINGFIELD TN                                JWSC LLC                                        46.68     6,044.01
                                                              11/05/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 MOORE LUMBER COMPANY SPRINGFIELD TN                           JWSC LLC                                        17.83     6,026.18
                                                              11/05/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 MOORE LUMBER COMPANY SPRINGFIELD TN                           JWSC LLC                                        20.70     6,005.48
                                                              11/05/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0006 MADISON TN                                         JWSC LLC                                       579.92     5,425.56
                                                              11/08/2021   Expense                                 ATM FOREIGN FEE Card Ending: 5155 WDRL FEE SPRINGFIELD T SPRI Springfield TN                                 JWSC LLC                                         1.00     5,424.56
                                                              11/08/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 NST THE HOME DEPOT 0026 HENDERSONVILL TN                                  JWSC LLC                                       522.22     4,902.34
                                                              11/08/2021   Check     3                             CHECK #1001                                                                                                  JWSC LLC                                     1,000.00     3,902.34
                                                              11/08/2021   Expense                                 ATM FOREIGN WITHDRAWAL Card Ending: 5155 SPRINGFIELD T SPRINGFIELD T Springfield TN                          JWSC LLC                                       164.00     3,738.34
                                                              11/09/2021   Check     2                             CHECK #1003                                                                                                  JWSC LLC                                     1,900.00     1,838.34
                                                                                                                   ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021199783 ID: 000000156662404 Will Shore MAINTENANCE SUPP
                                                              11/09/2021   Expense                                 BT1108                                                                                                       JWSC LLC                                     2,601.42      -763.08
                                                              11/10/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                                        11.63      -774.71
                                                              11/10/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                                            JWSC LLC                                         9.42      -784.13
                                                              11/12/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 RED LOBSTER 0045 MADISON TN                                   JWSC LLC                                        67.48      -851.61
                                                              11/12/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 910021961QPS SPRING HILL TN                         JWSC LLC                                        50.93      -902.54
                                                                                                                   ACH DEPOSIT SEC CODE: CCD Trace Number: 021000026050829 ID: 524771992569493 JWSC LLC INTUIT PYMT SOLN
                                                              11/12/2021   Deposit                                 INTUITPMTS                                                                                                   JWSC LLC                    7,767.50                      6,864.96




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                              11/12/2021   Expense                   Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                  96.27     6,768.69
                              11/12/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F26248 SPRINGFIELD TN                              JWSC LLC                    9.30    6,759.39
                              11/12/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PORTLAND TN                                               JWSC LLC                  23.11     6,736.28
                              11/12/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                    JWSC LLC                    5.95    6,730.33
                              11/12/2021   Expense                   Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                  96.27     6,634.06
                              11/12/2021   Deposit                   REGULAR DEPOSIT                                                                                              JWSC LLC    3,473.00               10,107.06
                              11/15/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F20810 FRANKLIN TN                                 JWSC LLC                    7.65   10,099.41
                              11/15/2021   Check     1005            CHECK #1005                                                                                                  JWSC LLC                2,500.00    7,599.41
                              11/15/2021   Check                     CHECK #500                                                                                                   JWSC LLC                3,610.00    3,989.41
                              11/15/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 BOJANGLES 1304 SPRINGFIELD TN                                 JWSC LLC                    4.81    3,984.60




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                              11/15/2021   Deposit                   ATM/POS RETURN Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                                  JWSC LLC      96.27                 4,080.87
                              11/16/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 SQ *VTK DUMPSTERS Springfield TN                              JWSC LLC                 415.60     3,665.27
                              11/16/2021   Check     1006            CHECK #1006                                                                                                  JWSC LLC                1,550.00    2,115.27
                              11/16/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                  38.45     2,076.82
                              11/17/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                JWSC LLC                  31.20     2,045.62
                              11/18/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                JWSC LLC                  51.12     1,994.50
                              11/18/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 KROGER #5 2600 MEMORIA SPRINGFIELD TN                                     JWSC LLC                  78.91     1,915.59
                              01/06/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                JWSC LLC                  61.48     1,854.11
                              01/06/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 KROGER #5575 615-871-2400 TN                                  JWSC LLC                  63.56     1,790.55
                              01/07/2022   Expense          Lowe's   ATM/POS PURCHASE Card Ending: 5155 LOWE'S #2851 NASHVILLE TN                                                 JWSC LLC                 174.56     1,615.99
                              01/07/2022   Expense                   Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                  14.95     1,601.04
                              01/07/2022   Expense          Lowe's   ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                                               JWSC LLC                  47.24     1,553.80
                              01/10/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 ARCHITECTURAL DESIGNS, 2037618500 CT                          JWSC LLC                2,060.00     -506.20
                              01/10/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 57542931902 SPRINGFIELD TN                          JWSC LLC                  45.45      -551.65




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                              01/10/2022   Check     1015            CHECK #1015                                                                                                  JWSC LLC                 163.28      -714.93
                              01/11/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             JWSC LLC                    8.77     -723.70
                              01/11/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 CSFRANKLIN LLC FRANKLIN TN                                    JWSC LLC                  48.26      -771.96
                              01/11/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 ARBY'S 8141 SPRING HILL TN                                    JWSC LLC                  21.05      -793.01
                              01/13/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 CHILIS SPRING HILL SPRING HILL TN                             JWSC LLC                  53.00      -846.01
                              01/13/2022   Deposit                   MOBILE DEPOSIT                                                                                               JWSC LLC     955.36                  109.35
                              01/14/2022   Check     501             CHECK #501                                                                                                   JWSC LLC                 700.00      -590.65
                              01/14/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                                            JWSC LLC                  19.76      -610.41
                              01/14/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                  29.94      -640.35
                              01/18/2022   Expense                   Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                    1.95     -642.30
                              01/18/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 57542931902 SPRINGFIELD TN                          JWSC LLC                  58.81      -701.11
                              01/18/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 910021961QPS SPRING HILL TN                         JWSC LLC                  33.92      -735.03
                              01/18/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             JWSC LLC                    7.78     -742.81




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                              01/18/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 KROGER #5575 615-871-2400 TN                                  JWSC LLC                  86.09      -828.90
                              01/18/2022   Expense          Lowe's   ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                                               JWSC LLC                 107.02      -935.92
                                                                     ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021343016 ID: 000000164060169 Will Shore MAINTENANCE SUPP
                              01/20/2022   Expense                   BT0119                                                                                                       JWSC LLC                3,724.63   -4,660.55
                              01/20/2022   Check     1014            CHECK #1014                                                                                                  JWSC LLC                 500.00    -5,160.55
                              01/20/2022   Expense                   Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400H7F04 MSBILL.INFO WA                             JWSC LLC                  13.66    -5,174.21
                              01/24/2022   Deposit                   REGULAR DEPOSIT                                                                                              JWSC LLC   49,414.34               44,240.13
                              01/24/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA                              JWSC LLC                  13.17    44,226.96
                                                                     ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000025136390 ID: 000000164530003 Will Shore MAINTENANCE SUPP
                              01/25/2022   Expense                   BT0124                                                                                                       JWSC LLC               12,324.78   31,902.18
                              01/27/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BOOT BARN #106 / RCC GOODLETTSVILL TN                                     JWSC LLC                 202.10    31,700.08
                              01/28/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 EXXONMOBIL 48242077 NASHVILLE TN                              JWSC LLC                  68.34    31,631.74
                              01/28/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 DULUTH TRADING FRNKLN FRANKLIN TN                             JWSC LLC                 372.56    31,259.18
                              01/28/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 VZWRLSS*IVR VB 800-922-0204 FL                                JWSC LLC                  86.51    31,172.67
                              01/31/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                                              JWSC LLC                    7.40   31,165.27
                              01/31/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                  35.09    31,130.18
                              01/31/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 MARATHON PETRO95265 WHITE HOUSE TN                            JWSC LLC                  17.04    31,113.14
                              01/31/2022   Expense                   NET SERVICE CHARGE                                                                                           JWSC LLC                  12.00    31,101.14
                              01/31/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 EDWIN WATT S GOLF #111 NASHVILLE TN                           JWSC LLC                 860.86    30,240.28
                              01/31/2022   Check     1017            CHECK #1017                                                                                                  JWSC LLC               14,091.00   16,149.28




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                              01/31/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 THE LEGACY GOLF COURSE SPRINGFIELD TN     JWSC LLC                 265.14    15,884.14
                              02/01/2022   Deposit                    REGULAR DEPOSIT                                                                          JWSC LLC   45,050.00               60,934.14
                              02/02/2022   Check      1021            CHECK #1021                                                                              JWSC LLC                4,515.00   56,419.14
                              02/02/2022   Check      1020            CHECK #1020                                                                              JWSC LLC                9,000.00   47,419.14
                              02/03/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 KROGER FUEL #957 SPRINGFIELD TN           JWSC LLC                  59.90    47,359.24
                              02/03/2022   Expense                    WITHDRAWAL / CASHED CHECK #                                                              JWSC LLC                6,500.00   40,859.24
                              02/04/2022   Expense                    Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL               JWSC LLC                  14.95    40,844.29
                              02/07/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 SPORTSMANS LODGE BRENTWOOD TN             JWSC LLC                  68.32    40,775.97
                              02/07/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 H G HILL #54 SPRINGFIELD TN               JWSC LLC                  18.00    40,757.97
                              02/07/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN            JWSC LLC                    8.53   40,749.44




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                              02/07/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 PHILLIPS 66 - PURE MAR GREENBRIER TN      JWSC LLC                  33.15    40,716.29
                              02/07/2022   Deposit                    REGULAR DEPOSIT                                                                          JWSC LLC   29,700.00               70,416.29
                              02/07/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10089696008 PORTLAND TN         JWSC LLC                  43.73    70,372.56
                              02/07/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PORTLAND TN                           JWSC LLC                  31.12    70,341.44
                              02/07/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        JWSC LLC                  15.92    70,325.52
                              02/07/2022   Check      1025            CHECK #1025                                                                              JWSC LLC               11,000.00   59,325.52
                              02/08/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #272303 GREENBRIER TN     JWSC LLC                  15.34    59,310.18
                              02/08/2022   Check      1022            CHECK #1022                                                                              JWSC LLC                8,910.00   50,400.18
                              02/08/2022   Check      1024            CHECK #1024                                                                              JWSC LLC                1,250.00   49,150.18
                              02/08/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 CHRIS MORE INC NASHVI 901-3328120 TN      JWSC LLC                1,382.06   47,768.12
                              02/09/2022   Check      1023            CHECK #1023                                                                              JWSC LLC                3,500.00   44,268.12
                              02/09/2022   Check      1018            CHECK #1018                                                                              JWSC LLC               20,000.00   24,268.12
                              02/09/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 JOSE S GREENBRIER TN                      JWSC LLC                  53.49    24,214.63
                              02/10/2022   Transfer                   Mobile Banking Transfer Deposit 3701                                                     JWSC LLC                4,500.00   19,714.63




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                              02/10/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 CHICK-FIL-A #01220 FRANKLIN TN            JWSC LLC                  11.14    19,703.49
                              02/10/2022   Transfer                   ATM ONUS WITHDRAWAL Card Ending: 5189 VOLUNTEER STA 2112 MEMORIAL SPRINGFIELD TN         JWSC LLC                 500.00    19,203.49
                              02/11/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0000 MADISON TN                     JWSC LLC                1,967.49   17,236.00
                              02/11/2022   Check      1027            CHECK #1027                                                                              JWSC LLC                1,200.00   16,036.00
                              02/14/2022   Transfer                   Mobile Banking Transfer Deposit 3701                                                     JWSC LLC               14,000.00    2,036.00
                              02/14/2022   Expense                    Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL               JWSC LLC                    1.95    2,034.05
                              02/17/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                          JWSC LLC                  25.01     2,009.04
                              02/18/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        JWSC LLC                  37.73     1,971.31
                              02/22/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        JWSC LLC                  24.21     1,947.10
                              02/22/2022   Transfer                   Mobile Banking Transfer Withdrawal 0559                                                  JWSC LLC    2,000.00                3,947.10
                              02/22/2022   Expense                    Signed POS Recurring purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA         JWSC LLC                  13.17     3,933.93
                              02/22/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 GRANNYS BRIER PATCH GREENBRIER TN         JWSC LLC                  27.77     3,906.16
                              02/22/2022   Expense           Lowe's   ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                           JWSC LLC                  20.06     3,886.10




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                              02/22/2022   Transfer                   Mobile Banking Transfer Withdrawal 3701                                                  JWSC LLC    5,000.00                8,886.10
                              02/22/2022   Transfer                   Mobile Banking Transfer Withdrawal 3701                                                  JWSC LLC    2,000.00               10,886.10
                              02/22/2022   Expense                    Signed POS Recurring purchase Card Ending: 5155 NNT MSFT *<E0400HK10818 MSBILL.INFO WA   JWSC LLC                  13.66    10,872.44
                              02/22/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 BED BATH & BEYOND #533 MADISON TN         JWSC LLC                  60.49    10,811.95
                              02/22/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 MAPCO 3066 GOODLETTSVILL TN               JWSC LLC                    7.09   10,804.86
                              02/22/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 DILLARDS 422 RIVERGATE GOODLETTSVILL TN   JWSC LLC                 155.68    10,649.18
                              02/23/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN       JWSC LLC                  35.25    10,613.93
                              02/23/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        JWSC LLC                  34.78    10,579.15
                              02/28/2022   Check      1026            CHECK #1026                                                                              JWSC LLC                1,100.00    9,479.15
                              02/28/2022   Expense                    ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        JWSC LLC                  36.41     9,442.74
                              03/01/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 PHILLIPS 66 - SWIFT ST GOODLETTSVILL TN   JWSC LLC                    9.24    9,433.50
                              03/01/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 POPEYES 13017 COLUMBIA TN                 JWSC LLC                    8.11    9,425.39
                              03/01/2022   Check      1028            CHECK #1028                                                                              JWSC LLC                1,500.00    7,925.39
                              03/01/2022   Check      502             CHECK #502                                                                               JWSC LLC                4,291.66    3,633.73
                              03/01/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            JWSC LLC                   39.09    3,594.64
                              03/02/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 OCHARLEYS388SPRGFLD SPRINGFIELD TN        JWSC LLC                   47.40    3,547.24
                              03/02/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 MAPCO EXPRESS #3408 FRANKLIN TN           JWSC LLC                    7.03    3,540.21
                              03/03/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN         JWSC LLC                    9.98    3,530.23
                              03/04/2022   Expense                    Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            JWSC LLC                   42.47    3,487.76




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                              03/04/2022   Check      1030   CHECK #1030                                                                                                  JWSC LLC                  350.00     3,137.76
                              03/04/2022   Transfer          Mobile Banking Transfer Deposit 0559                                                                         JWSC LLC                 2,000.00    1,137.76
                              03/04/2022   Deposit           REGULAR DEPOSIT                                                                                              JWSC LLC    35,524.00               36,661.76
                              03/04/2022   Expense           Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                   14.95    36,646.81
                              03/07/2022   Expense           Signed POS One Time Purchase Card Ending: 5189 BF MYERS FURNITURE GOODLETTSVILL TN                           JWSC LLC                 1,949.00   34,697.81
                              03/07/2022   Check      1029   CHECK #1029                                                                                                  JWSC LLC                30,955.00    3,742.81
                              03/07/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   39.40     3,703.41
                              03/07/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #687309 SPRINGFIELD TN                        JWSC LLC                   19.94     3,683.47
                              03/07/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 NikePOS_US Nashville TN                                       JWSC LLC                  246.84     3,436.63
                              03/07/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 BESTBUYCOM806620559736 888BESTBUY MN                          JWSC LLC                  360.51     3,076.12




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                              03/07/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN                                  JWSC LLC                   54.78     3,021.34
                              03/08/2022   Check      1031   CHECK #1031                                                                                                  JWSC LLC                 4,831.37   -1,810.03
                              03/08/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S RIDGETOP TN                                               JWSC LLC                   16.05    -1,826.08
                              03/09/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 SHERWIN WILLIAMS 70263 SPRINGFIELD TN                         JWSC LLC                  159.35    -1,985.43
                              03/09/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             JWSC LLC                   12.16    -1,997.59
                              03/10/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10012683008 RIDGETOP TN                             JWSC LLC                   54.87    -2,052.46
                              03/14/2022   Expense           Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                     1.95   -2,054.41
                              03/15/2022   Transfer          Mobile Banking Transfer Withdrawal 3701                                                                      JWSC LLC     4,000.00                1,945.59
                              03/15/2022   Transfer          Mobile Banking Transfer Withdrawal 0559                                                                      JWSC LLC     5,000.00                6,945.59
                              03/15/2022   Check      1032   CHECK #1032                                                                                                  JWSC LLC                  500.00     6,445.59
                              03/17/2022   Transfer          Mobile Banking Transfer Withdrawal 3701                                                                      JWSC LLC     2,000.00                8,445.59
                              03/18/2022   Transfer          Mobile Banking Transfer Withdrawal 3701                                                                      JWSC LLC     2,500.00               10,945.59
                              03/21/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 WWW.MICROSOFT.COM REDMOND WA                                  JWSC LLC                   13.66    10,931.93
                              03/21/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F26248 SPRINGFIELD TN                              JWSC LLC                   10.40    10,921.53




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                              03/22/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                                            JWSC LLC                   11.33    10,910.20
                              03/22/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA                              JWSC LLC                   13.17    10,897.03
                              03/23/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                                              JWSC LLC                   23.57    10,873.46
                              03/24/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 Edwin Wat Edwin Watt's Nashville TN                                       JWSC LLC                 1,495.00    9,378.46
                              03/24/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F11612 NASHVILLE TN                                JWSC LLC                   11.45     9,367.01
                              03/24/2022   Transfer          Mobile Banking Transfer Withdrawal 0559                                                                      JWSC LLC     4,300.00               13,667.01
                              03/24/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             JWSC LLC                   11.61    13,655.40
                              03/24/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 3471-LOGAN S ROADHOUSE SPRING HILL TN                         JWSC LLC                   51.29    13,604.11
                              03/25/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                JWSC LLC                   70.65    13,533.46
                              03/29/2022   Deposit           REGULAR DEPOSIT                                                                                              JWSC LLC    74,872.17               88,405.63

                              04/01/2022   Deposit           ACH DEPOSIT SEC CODE: CCD Trace Number: 021000029402325 ID: 524771992569493 JWSC LLC. INTUIT 23711145 DEPOSIT JWSC LLC    1,200.00               89,605.63
                              04/01/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 SY8 GOLF GALAXY # 40011 BRENTWOOD TN                                      JWSC LLC                  323.25    89,282.38
                                                             ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000029572883 ID: 524771992569493 JWSC LLC. INTUIT 84093465




Filed 03/03/25
                              04/01/2022   Expense           TRAN FEE                                                                                                     JWSC LLC                   10.00    89,272.38
                              04/01/2022   Expense           Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                   14.95    89,257.43
                                                             ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000027396843 ID: 000000171858260 Will Shore MAINTENANCE SUPP
                              04/01/2022   Expense           BT0331                                                                                                       JWSC LLC                22,082.73   67,174.70
                              04/04/2022   Expense           WITHDRAWAL / CASHED CHECK #                                                                                  JWSC LLC                10,000.00   57,174.70
                              04/04/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 12751598009 GREENBRIER TN                           JWSC LLC                   53.87    57,120.83
                              04/04/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 GAYLORD SPRINGS GOLF NASHVILLE TN                             JWSC LLC                   36.32    57,084.51
                              04/04/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                                              JWSC LLC                     2.29   57,082.22
                              04/04/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 GAYLORD SPRINGS GOLF NASHVILLE TN                             JWSC LLC                  201.02    56,881.20
                              04/05/2022   Expense           Signed POS One Time Purchase Card Ending: 5155 FERGUSON ENT, INC 20 6153161800 TN                            JWSC LLC                 2,500.00   54,381.20
                              04/06/2022   Expense           ATM FOREIGN FEE Card Ending: 5155 WDRL FEE Twice Daily 6 1732 BRENTWOOD TN                                   JWSC LLC                     1.00   54,380.20
                              04/06/2022   Expense           ATM FOREIGN WITHDRAWAL Card Ending: 5155 Twice Daily 6 1732 N CAROTH BRENTWOOD TN                            JWSC LLC                  203.50    54,176.70
                              04/07/2022   Expense           ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000028225641 ID: NATHAN HOLDEN 18004INTUIT CHECKS / F          JWSC LLC                   40.95    54,135.75
                              04/07/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0019 MADISON TN                                         JWSC LLC                  294.96    53,840.79
                              04/08/2022   Expense           ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000024130287 ID: NATHAN HOLDEN 18004INTUIT CHECKS / F          JWSC LLC                   88.52    53,752.27
                              04/08/2022   Expense           ATM ONUS WITHDRAWAL Card Ending: 5155 VOLUNTEER STA 101 INTERNATI FRANKLIN TN                                JWSC LLC                  300.00    53,452.27
                                                             ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026854533 ID: 524771992569493 JWSC LLC. INTUIT 51460615
                              04/11/2022   Expense           TRAN FEE                                                                                                     JWSC LLC                   10.00    53,442.27
                              04/11/2022   Expense           Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                     1.95   53,440.32
                              04/11/2022   Expense           ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   28.66    53,411.66




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                              04/11/2022   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000027029767 ID: 524771992569493 JWSC LLC. INTUIT 88608985 DEPOSIT JWSC LLC   30,336.00               83,747.66
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000024627480 ID: 000000172952920 Will Shore MAINTENANCE SUPP
                              04/11/2022   Expense                                  BT0408                                                                                                       JWSC LLC                17,015.25   66,732.41
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000029444120 ID: 524771992569493 JWSC LLC. INTUIT 63428015
                              04/13/2022   Expense                                  TRAN FEE                                                                                                     JWSC LLC                   10.00    66,722.41

                              04/13/2022   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000029282880 ID: 524771992569493 JWSC LLC. INTUIT 00520645 DEPOSIT JWSC LLC   10,219.35               76,941.76
                              04/13/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 WENDYS 644 FRANKLIN TN                                        JWSC LLC                   15.23    76,926.53
                              04/14/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                                              JWSC LLC                   15.62    76,910.91
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026614969 ID: 000000173620376 Will Shore MAINTENANCE SUPP
                              04/15/2022   Expense                                  BT0414                                                                                                       JWSC LLC                17,348.78   59,562.13




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                              04/15/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 FLYING J #632 RESACA GA                                                   JWSC LLC                   12.08    59,550.05
                              04/15/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN                           JWSC LLC                   85.35    59,464.70
                              04/18/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 CROSSROADS IGA #759 GREENBRIER TN                             JWSC LLC                     6.32   59,458.38
                              04/18/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 SAD SAMS CROSS PLAINS TN                                      JWSC LLC                     8.33   59,450.05
                              04/18/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 LOVE S TRAVE S00007641 MANCHESTER TN                          JWSC LLC                   20.66    59,429.39
                              04/18/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10090279000 CROSS PLAINS TN                         JWSC LLC                   41.63    59,387.76
                              04/18/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 PILOT 00006320 RESACA GA                                      JWSC LLC                   59.40    59,328.36
                              04/20/2022   Check      1037                          CHECK #1037                                                                                                  JWSC LLC                20,000.00   39,328.36
                              04/20/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 SY8 GOLF GALAXY # 40009 BRENTWOOD TN                                      JWSC LLC                  300.62    39,027.74
                              04/20/2022   Expense                                  Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400IAIUO MSBILL.INFO WA                             JWSC LLC                   13.66    39,014.08
                              04/20/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 12751598009 GREENBRIER TN                           JWSC LLC                   40.06    38,974.02
                              04/20/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F13418 FRANKLIN TN                                 JWSC LLC                   11.38    38,962.64
                              04/21/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   16.84    38,945.80
                              04/22/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN                           JWSC LLC                   11.72    38,934.08




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                              04/22/2022   Transfer                                 Mobile Banking Transfer Deposit 3701                                                                         JWSC LLC                 4,000.00   34,934.08
                              04/25/2022   Expense           Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                                               JWSC LLC                  177.67    34,756.41
                              04/25/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   25.55    34,730.86
                              04/25/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA                              JWSC LLC                   13.17    34,717.69
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026395993 ID: 000000174475132 Will Shore MAINTENANCE SUPP
                              04/25/2022   Expense                                  BT0422                                                                                                       JWSC LLC                   57.20    34,660.49
                              04/25/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN                                  JWSC LLC                   27.66    34,632.83
                              04/27/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 JOSE S GREENBRIER TN                                          JWSC LLC                   57.24    34,575.59
                              04/27/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   18.24    34,557.35
                              04/27/2022   Check      2000   Legacy Concrete, LLC                                                                                                                JWSC LLC                30,336.00    4,221.35
                              04/29/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 Speedway 1200 Memoria Springfield TN                                      JWSC LLC                     6.27    4,215.08
                              04/29/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 MASTER MART GOODLETTSVILL TN                                              JWSC LLC                   11.23     4,203.85
                              04/29/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 ADVANCE AUTO PARTS #367 SPRINGFIELD TN                                    JWSC LLC                   39.26     4,164.59
                              04/29/2022   Expense                                  Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                   14.95     4,149.64




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                              04/29/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #684315 SPRINGFIELD TN                        JWSC LLC                     2.40    4,147.24
                              05/02/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 BOJANGLES 1304 SPRINGFIELD TN                                 JWSC LLC                   19.23     4,128.01
                              05/02/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 PAYNE CHEVROLET SPRINGFIELD TN                                JWSC LLC                   55.96     4,072.05
                              05/02/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 H G HILL #54 SPRINGFIELD TN                                   JWSC LLC                   42.09     4,029.96
                              05/03/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                JWSC LLC                   65.17     3,964.79
                              05/03/2022   Check      1040                          CHECK #1040                                                                                                  JWSC LLC                 1,952.19    2,012.60
                              05/04/2022   Deposit                                  REGULAR DEPOSIT                                                                                              JWSC LLC    59,000.00               61,012.60
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000020761957 ID: 000000175729090 Will Shore MAINTENANCE SUPP
                              05/05/2022   Expense                                  BT0504                                                                                                       JWSC LLC                 3,508.26   57,504.34
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000025542914 ID: 000000176110078 Will Shore MAINTENANCE SUPP
                              05/06/2022   Expense           Lowe's                 BT0505                                                                                                       JWSC LLC                  505.24    56,999.10
                              05/06/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 GUNS & LE GUNS & LEATH GREENBRIER TN                                      JWSC LLC                 2,027.20   54,971.90
                              05/09/2022   Expense                                  Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                   JWSC LLC                     1.95   54,969.95
                              05/09/2022   Deposit                                  REGULAR DEPOSIT                                                                                              JWSC LLC     3,000.00               57,969.95
                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021031472 ID: 000000175855196 Will Shore MAINTENANCE SUPP
                              05/10/2022   Expense           Lowe's                 BT0509                                                                                                       JWSC LLC                50,851.06    7,118.89
                              05/12/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 KROGER #5 2600 MEMORIA SPRINGFIELD TN                                     JWSC LLC                  131.66     6,987.23
                                                                                    ACH WITHDRAWAL SEC CODE: WEB Trace Number: 051402370001243 ID: VOLUNTEER BUSINESS CHE Cruzplumbing UNIT
                              05/13/2022   Expense           Cruz Plumbing          INV 182                                                                                                      JWSC LLC                 6,500.00     487.23
                              05/13/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            JWSC LLC                   22.01      465.22
                              05/13/2022   Expense                                  Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #682314 SPRINGFIELD TN                        JWSC LLC                     8.42     456.80




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                                                   05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN     JWSC LLC                                53.16     403.64
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN                        JWSC LLC                               180.86     222.78
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 RACETRAC2557 SPRING HILL TN                         JWSC LLC                                 4.15     218.63
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 MAPCO 1028 CROSS PLAINS TN                          JWSC LLC                                 2.66     215.97
                                                   05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SAD SAMS CROSS PLAINS TN                JWSC LLC                                 4.81     211.16
                                                   05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 Buzz In Auto Wash SPRINGFIELD TN        JWSC LLC                                15.00     196.16
                                                   05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 EL MOLCAJETE MEXICAN R SPRINGFIELD TN   JWSC LLC                                97.35      98.81
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 MAPCO 3066 GOODLETTSVILL TN                         JWSC LLC                                 8.92      89.89
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                       JWSC LLC                                 6.55      83.34
                                                   05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                      JWSC LLC                                47.35      35.99




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                                                   05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN          JWSC LLC                                19.83      16.16
                                                   05/17/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN          JWSC LLC                                20.70       -4.54
                                                   05/17/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 CHILIS SPRING HILL SPRING HILL TN       JWSC LLC                                60.71      -65.25
                                                   05/17/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 HUFFS THOMPSONS STN TN                              JWSC LLC                                73.14    -138.39
                                                   05/17/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                      JWSC LLC                                18.63    -157.02
                                                   05/17/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 GOLF GALAXY # 40 BRENTWOOD TN           JWSC LLC                               724.18    -881.20
                                                   05/18/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN          JWSC LLC                                38.99    -920.19
                                                   05/18/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                       JWSC LLC                                 8.64    -928.83
                                                   05/18/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 RACETRAC2557 00025577 SPRING HILL TN    JWSC LLC                                64.22    -993.05
                                                   05/19/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                      JWSC LLC                                19.69   -1,012.74
                                                   05/20/2022   Expense                                 Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400INO1J MSBILL.INFO WA       JWSC LLC                                13.66   -1,026.40
                                                   05/20/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                        JWSC LLC                                13.36   -1,039.76
                                                   05/20/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 DICK BUNDY REGEN MADISON TN                         JWSC LLC                                54.63   -1,094.39
                                                   05/23/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                       JWSC LLC                                 7.63   -1,102.02




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                                                   05/23/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 NNT TAQUERIA HUATUL0027 SPRINGFIELD TN              JWSC LLC                                45.88   -1,147.90
                                                   05/23/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 GOOGLE*DOMAINS INTERNET CA              JWSC LLC                                13.17   -1,161.07
                                                   05/23/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN          JWSC LLC                                61.51   -1,222.58
                                                   05/23/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN       JWSC LLC                                 9.65   -1,232.23
                                                   05/23/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                      JWSC LLC                                14.09   -1,246.32
                                                   05/23/2022   Transfer                                Mobile Banking Transfer Deposit 3701                                                   JWSC LLC                             2,000.00   -3,246.32
                                                   05/23/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #2969 SPRINGFIELD TN     JWSC LLC                                14.03   -3,260.35
                                                   05/24/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 PILOT # 4558 CALHOUN GA                 JWSC LLC                                67.75   -3,328.10
                                                   05/26/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 BUC-EE'S #46 SAINT AUGUSTI FL           JWSC LLC                                73.44   -3,401.54
                                                   05/26/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 LOVE'S #698 MACON GA                    JWSC LLC                                38.04   -3,439.58
                                                   05/27/2022   Expense                                 Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL             JWSC LLC                                14.95   -3,454.53
                                                   05/31/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                      JWSC LLC                                49.73   -3,504.26
                                                   05/31/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                      JWSC LLC                                13.44   -3,517.70




Filed 03/03/25
                                                   05/31/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRINGFIELD TN                      JWSC LLC                                17.24   -3,534.94
                                                   06/01/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10012695002 SPRINGFIELD TN    JWSC LLC                                21.85   -3,556.79
                                                   06/02/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                        JWSC LLC                                15.48   -3,572.27
                                                   06/02/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                        JWSC LLC                                12.14   -3,584.41
                                                   06/03/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F36566 SPRING HILL TN        JWSC LLC                                13.70   -3,598.11
                                                   06/03/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                        JWSC LLC                                 9.61   -3,607.72
                                                   06/06/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRINGFIELD TN                      JWSC LLC                                15.92   -3,623.64
                                                   06/06/2022   Expense                                 Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL             JWSC LLC                                 1.95   -3,625.59
                                                   06/17/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SHELL SERVICE S BOWLING GREEN KY        JWSC LLC                                64.02   -3,689.61
                                                   06/24/2022   Expense                                 Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL             JWSC LLC                                14.95   -3,704.56
                                                   07/05/2022   Expense                                 Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL             JWSC LLC                                 1.95   -3,706.51
                              Total for JWSC LLC                                                                                                                                                             $   403,986.13   $   407,692.64
                              PayPal Bank
                                                                                                        Transaction ID: 3GV91349VS742222T
                                                   02/11/2021   Expense    3GV91349VS742222T PayPal     https://www.paypal.com/activity/payment/3GV91349VS742222T                              PayPal Bank                             78.20      -78.20
                                                                                                        Transaction ID: 8A72530407761502S
                                                   02/21/2021   Expense    8A72530407761502S   PayPal   https://www.paypal.com/activity/payment/8A72530407761502S                              PayPal Bank                             64.47    -142.67
                                                                                                        Transaction ID: 06M68725XR538162X
                                                   02/25/2021   Expense    06M68725XR538162X PayPal     https://www.paypal.com/activity/payment/06M68725XR538162X                              PayPal Bank                             78.19    -220.86
                                                                                                        Transaction ID: 6YX868403R629611E
                                                   03/07/2021   Expense    6YX868403R629611E PayPal     https://www.paypal.com/activity/payment/6YX868403R629611E                              PayPal Bank                             64.47    -285.33




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                                                                                   Transaction ID: 77U12517FL139423H
                              03/12/2021   Expense    77U12517FL139423H PayPal     https://www.paypal.com/activity/payment/77U12517FL139423H   PayPal Bank               78.19     -363.52
                                                                                   Transaction ID: 0NN592957A148511J
                              03/20/2021   Expense    0NN592957A148511J PayPal     https://www.paypal.com/activity/payment/0NN592957A148511J   PayPal Bank               63.09     -426.61
                                                                                   Transaction ID: 0A055405R70544837
                              03/22/2021   Expense    0A055405R70544837 PayPal     https://www.paypal.com/activity/payment/0A055405R70544837   PayPal Bank                8.24     -434.85
                                                                                   Transaction ID: 1UL314982W254842A
                              03/27/2021   Expense    1UL314982W254842A PayPal     https://www.paypal.com/activity/payment/1UL314982W254842A   PayPal Bank               78.20     -513.05
                                                                                   Transaction ID: 9E183915TX647122L
                              04/03/2021   Expense    9E183915TX647122L PayPal     https://www.paypal.com/activity/payment/9E183915TX647122L   PayPal Bank               63.09     -576.14
                                                                                   Transaction ID: 98M019560T011033R
                              04/18/2021   Expense    98M019560T011033R PayPal     https://www.paypal.com/activity/payment/98M019560T011033R   PayPal Bank               63.09     -639.23
                                                      0KJ58964GW312450             Transaction ID: 0KJ58964GW312450F




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                              05/04/2021   Expense    F                   PayPal   https://www.paypal.com/activity/payment/0KJ58964GW312450F   PayPal Bank               63.10     -702.33
                                                                                   Transaction ID: 26023329LG243290F
                              05/12/2021   Expense    26023329LG243290F PayPal     https://www.paypal.com/activity/payment/26023329LG243290F   PayPal Bank               57.62     -759.95

                              05/17/2021   Expense    3AN27548FK598694X PayPal     https://www.paypal.com/activity/payment/3AN27548FK598694X   PayPal Bank                2.42     -762.37
                                                                                   Transaction ID: 13T50944EJ148742C
                              05/26/2021   Expense    13T50944EJ148742C PayPal     https://www.paypal.com/activity/payment/13T50944EJ148742C   PayPal Bank               57.62     -819.99
                                                      7C983504WV490950             Transaction ID: 7C983504WV490950N
                              06/10/2021   Expense    N                   PayPal   https://www.paypal.com/activity/payment/7C983504WV490950N   PayPal Bank               57.62     -877.61
                                                                                   Transaction ID: 63N678151X4509817
                              06/12/2021   Expense    63N678151X4509817 PayPal     https://www.paypal.com/activity/payment/63N678151X4509817   PayPal Bank               47.14     -924.75
                                                                                   Transaction ID: 0U915049HU4369132
                              06/25/2021   Expense    0U915049HU4369132 PayPal     https://www.paypal.com/activity/payment/0U915049HU4369132   PayPal Bank               57.62     -982.37
                                                                                   Transaction ID: 5KV49060FR790760M
                              06/27/2021   Expense    5KV49060FR790760M PayPal     https://www.paypal.com/activity/payment/5KV49060FR790760M   PayPal Bank               47.13   -1,029.50
                                                                                   Transaction ID: 4M640729XS378883C
                              07/04/2021   Expense    4M640729XS378883C PayPal     https://www.paypal.com/activity/payment/4M640729XS378883C   PayPal Bank               46.43   -1,075.93
                                                      7EP62416BW587902             Transaction ID: 7EP62416BW5879029




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                              07/11/2021   Expense    9                   PayPal   https://www.paypal.com/activity/payment/7EP62416BW5879029   PayPal Bank               47.13   -1,123.06
                                                      7S985268MV252231             Transaction ID: 7S985268MV252231W
                              07/18/2021   Expense    W                   PayPal   https://www.paypal.com/activity/payment/7S985268MV252231W   PayPal Bank               46.43   -1,169.49
                                                                                   Transaction ID: 8XP5528023271832W
                              07/26/2021   Expense    8XP5528023271832W PayPal     https://www.paypal.com/activity/payment/8XP5528023271832W   PayPal Bank               47.14   -1,216.63
                                                                                   Transaction ID: 5364816724691090H
                              08/02/2021   Expense    5364816724691090H   PayPal   https://www.paypal.com/activity/payment/5364816724691090H   PayPal Bank               46.43   -1,263.06
                                                                                   Transaction ID: 63679892242780041
                              08/04/2021   Expense    63679892242780041   PayPal   https://www.paypal.com/activity/payment/63679892242780041   PayPal Bank               35.67   -1,298.73
                                                      5DC86728RV392533             Transaction ID: 5DC86728RV392533G
                              08/08/2021   Expense    G                   PayPal   https://www.paypal.com/activity/payment/5DC86728RV392533G   PayPal Bank               43.90   -1,342.63
                                                                                   Transaction ID: 2HA61417C03433022
                              08/15/2021   Expense    2HA61417C03433022 PayPal     https://www.paypal.com/activity/payment/2HA61417C03433022   PayPal Bank               35.67   -1,378.30
                                                                                   Transaction ID: 55F43948TR9604826
                              08/16/2021   Expense    55F43948TR9604826 PayPal     https://www.paypal.com/activity/payment/55F43948TR9604826   PayPal Bank               46.42   -1,424.72
                                                                                   Transaction ID: 4MF18035K63117242
                              08/19/2021   Expense    4MF18035K63117242 PayPal     https://www.paypal.com/activity/payment/4MF18035K63117242   PayPal Bank               35.66   -1,460.38




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                                                                                   Transaction ID: 57U68543LX141251A
                              08/23/2021   Expense    57U68543LX141251A PayPal     https://www.paypal.com/activity/payment/57U68543LX141251A   PayPal Bank               43.89   -1,504.27
                                                                                   Transaction ID: 17115844SE780834W
                              08/28/2021   Expense    17115844SE780834W PayPal     https://www.paypal.com/activity/payment/17115844SE780834W   PayPal Bank               35.66   -1,539.93
                                                                                   Transaction ID: 3C389212J49758503
                              09/02/2021   Expense    3C389212J49758503   PayPal   https://www.paypal.com/activity/payment/3C389212J49758503   PayPal Bank               35.66   -1,575.59
                                                                                   Transaction ID: 58A20342JX509025M
                              09/06/2021   Expense    58A20342JX509025M PayPal     https://www.paypal.com/activity/payment/58A20342JX509025M   PayPal Bank               43.89   -1,619.48
                                                                                   Transaction ID: 1CB82367HT573520K
                              09/12/2021   Expense    1CB82367HT573520K PayPal     https://www.paypal.com/activity/payment/1CB82367HT573520K   PayPal Bank               35.66   -1,655.14

                              09/13/2021   Expense    9F5454774X736802L   PayPal   https://www.paypal.com/activity/payment/9F5454774X736802L   PayPal Bank               15.00   -1,670.14
                                                      6UH76368VU275563             Transaction ID: 6UH76368VU275563N
                              09/13/2021   Deposit    N                            https://www.paypal.com/activity/payment/6UH76368VU275563N   PayPal Bank   3,618.63             1,948.49
                                                                                   Transaction ID: 65C96125U1335842R
                              09/13/2021   Deposit    65C96125U1335842R            https://www.paypal.com/activity/payment/65C96125U1335842R   PayPal Bank   8,806.05            10,754.54
                                                                                   Transaction ID: 924701879D723350P
                              09/23/2021   Deposit    924701879D723350P            https://www.paypal.com/activity/payment/924701879D723350P   PayPal Bank   5,202.09            15,956.63
                                                                                   Transaction ID: 97476352LB4387800
                              10/09/2021   Expense    97476352LB4387800   PayPal   https://www.paypal.com/activity/payment/97476352LB4387800   PayPal Bank              136.91   15,819.72
                                                                                   Transaction ID: 1RN23985GT3509353
                              10/20/2021   Expense    1RN23985GT3509353 PayPal     https://www.paypal.com/activity/payment/1RN23985GT3509353   PayPal Bank               27.30   15,792.42
                                                                                   Transaction ID: 4TC28131CH178030B
                              10/20/2021   Expense    4TC28131CH178030B PayPal     https://www.paypal.com/activity/payment/4TC28131CH178030B   PayPal Bank               32.91   15,759.51
                              05/21/2022   Transfer                                https://www.paypal.com/activity/payment/6KC95739H6616935W   PayPal Bank    109.50             15,869.01




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                                                                                                                        Subject: MEATER Plus With Bluetooth® Repeater - Honey
                                                                                                                        Transaction ID: 83M814307U716634A
                                                          05/21/2022   Expense    83M814307U716634A PayPal              https://www.paypal.com/activity/payment/83M814307U716634A   PayPal Bank                                      109.50    15,759.51
                                                          05/22/2022   Transfer                                         https://www.paypal.com/activity/payment/50519053UP092202N   PayPal Bank                       924.86                   16,684.37
                                                                                                                        Subject: Orbit
                                                                                                                        Transaction ID: 6NE9129979593260C
                                                          05/22/2022   Expense    6NE9129979593260C PayPal              https://www.paypal.com/activity/payment/6NE9129979593260C   PayPal Bank                                      924.86    15,759.51
                                                          05/24/2022   Transfer                                         https://www.paypal.com/activity/payment/59Y07658MF542020G   PayPal Bank                       231.22                   15,990.73
                                                                                                                        Transaction ID: 6DL31742BC3032318
                                                          05/24/2022   Expense    6DL31742BC3032318 PayPal              https://www.paypal.com/activity/payment/6DL31742BC3032318   PayPal Bank                                      231.22    15,759.51
                                                          05/27/2022   Transfer                                         https://www.paypal.com/activity/payment/96P60191RW0455537   PayPal Bank                          5.48                  15,764.99
                                                                                                                        Transaction ID: 6SG17471PJ4289118




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                                                          05/27/2022   Expense    6SG17471PJ4289118 PayPal              https://www.paypal.com/activity/payment/6SG17471PJ4289118   PayPal Bank                                         5.48   15,759.51
                                                          05/28/2022   Transfer                                         https://www.paypal.com/activity/payment/5MS67479TE685444G   PayPal Bank                         54.25                  15,813.76
                                                                                                                        Transaction ID: 6A362414Y90118228
                                                          05/28/2022   Expense    6A362414Y90118228   PayPal            https://www.paypal.com/activity/payment/6A362414Y90118228   PayPal Bank                                       54.25    15,759.51
                                                                                                                        Transaction ID: 7B44737182589774U
                                                          06/07/2022   Expense    7B44737182589774U PayPal              https://www.paypal.com/activity/payment/7B44737182589774U   PayPal Bank                                      231.21    15,528.30
                                                                                                                        Transaction ID: 94V23213SR0950639
                                                          06/12/2022   Expense    94V23213SR0950639 PayPal              https://www.paypal.com/activity/payment/94V23213SR0950639   PayPal Bank                                       54.25    15,474.05
                                                                                                                        Transaction ID: 07L35890FT963663Y
                                                          06/21/2022   Expense    07L35890FT963663Y   PayPal            https://www.paypal.com/activity/payment/07L35890FT963663Y   PayPal Bank                                      231.21    15,242.84
                                                                                                                        Transaction ID: 4R2309956U5298517
                                                          07/07/2022   Expense    4R2309956U5298517 PayPal              https://www.paypal.com/activity/payment/4R2309956U5298517   PayPal Bank                                      231.22    15,011.62

                                                          11/29/2022   Expense    159792138H5684705   PayPal            https://www.paypal.com/activity/payment/159792138H5684705   PayPal Bank                                       25.00    14,986.62

                                                          03/22/2023   Expense    9R084168P54904939 PayPal              https://www.paypal.com/activity/payment/9R084168P54904939   PayPal Bank                                       16.19    14,970.43
                                                                                  3VM22992HH954871                      Transaction ID: 3VM22992HH954871N
                                                          07/06/2023   Expense    N                   PayPal            https://www.paypal.com/activity/payment/3VM22992HH954871N   PayPal Bank                                      180.89    14,789.54




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                                                                                                                        Transaction ID: 2E665776R2133391X
                                                          07/21/2023   Expense    2E665776R2133391X PayPal              https://www.paypal.com/activity/payment/2E665776R2133391X   PayPal Bank                                      180.89    14,608.65
                                                                                                                        Transaction ID: 60N72060N9071193A
                                                          08/04/2023   Expense    60N72060N9071193A PayPal              https://www.paypal.com/activity/payment/60N72060N9071193A   PayPal Bank                                       50.40    14,558.25
                                                                                                                        Transaction ID: 586659013B600311X
                                                          08/05/2023   Expense    586659013B600311X   PayPal            https://www.paypal.com/activity/payment/586659013B600311X   PayPal Bank                                      180.89    14,377.36
                                                                                                                        Transaction ID: 9EV13122GN4629213
                                                          08/16/2023   Expense    9EV13122GN4629213 PayPal              https://www.paypal.com/activity/payment/9EV13122GN4629213   PayPal Bank                                      239.21    14,138.15
                                                                                                                        Transaction ID: 75N896527R037140X
                                                          08/20/2023   Expense    75N896527R037140X PayPal              https://www.paypal.com/activity/payment/75N896527R037140X   PayPal Bank                                      180.88    13,957.27
                                                                                                                        Transaction ID: 7HU43421GD7601519
                                                          09/02/2023   Expense    7HU43421GD7601519 PayPal              https://www.paypal.com/activity/payment/7HU43421GD7601519   PayPal Bank                                      257.26    13,700.01
                                                                                                                        Transaction ID: 86595952Y3431584G
                                                          09/04/2023   Expense    86595952Y3431584G PayPal              https://www.paypal.com/activity/payment/86595952Y3431584G   PayPal Bank                                       50.40    13,649.61
                              Total for PayPal Bank                                                                                                                                                             $   18,952.08   $   5,302.47
                              Accounts Receivable (A/R)




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                                                          10/23/2021   Invoice    1001                Sample Customer                                                               Accounts Receivable (A/R)            5.00                       5.00
                                                          10/24/2021   Invoice    1105                Dean (deleted)    Voided                                                      Accounts Receivable (A/R)            0.00                       5.00
                                                          10/24/2021   Payment    1                   Staci Backer                                                                  Accounts Receivable (A/R)            0.00                       5.00
                                                          10/24/2021   Payment                        Sample Customer                                                               Accounts Receivable (A/R)                           5.00        0.00
                                                          10/28/2021   Invoice    1107                Staci Backer                                                                  Accounts Receivable (A/R)        7,325.00                   7,325.00
                                                          10/28/2021   Payment                        Dean (deleted)                                                                Accounts Receivable (A/R)                       5,500.00    1,825.00
                                                          10/28/2021   Invoice    1106                Dean (deleted)                                                                Accounts Receivable (A/R)        5,500.00                   7,325.00
                                                          10/29/2021   Invoice    1108                Dean (deleted)    Voided                                                      Accounts Receivable (A/R)            0.00                   7,325.00
                                                          10/29/2021   Invoice    1109                Dean (deleted)    Voided                                                      Accounts Receivable (A/R)            0.00                   7,325.00
                                                          11/01/2021   Invoice    1110                Dean (deleted)                                                                Accounts Receivable (A/R)        5,500.00                  12,825.00
                                                          11/02/2021   Payment                        Staci Backer                                                                  Accounts Receivable (A/R)                       7,325.00    5,500.00
                                                          11/04/2021   Payment                        Dean (deleted)                                                                Accounts Receivable (A/R)                       2,500.00    3,000.00
                                                          11/04/2021   Invoice    1111                Dean (deleted)                                                                Accounts Receivable (A/R)        2,500.00                   5,500.00
                                                          11/04/2021   Payment                        Dean (deleted)                                                                Accounts Receivable (A/R)                       5,500.00        0.00
                                                          11/11/2021   Invoice    1112                Keith Meadows                                                                 Accounts Receivable (A/R)        2,500.00                   2,500.00
                                                          11/17/2021   Payment                        Keith Meadows                                                                 Accounts Receivable (A/R)                       2,500.00        0.00
                                                          11/18/2021   Invoice    1113                Keith Meadows     Voided                                                      Accounts Receivable (A/R)            0.00                       0.00
                                                          11/18/2021   Invoice    1114                Dean (deleted)                                                                Accounts Receivable (A/R)        8,500.00                   8,500.00
                                                          11/19/2021   Payment                        Dean (deleted)                                                                Accounts Receivable (A/R)                       8,500.00        0.00




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                              12/01/2021   Invoice   1117   Dean (deleted)                    Accounts Receivable (A/R)    2,000.00                2,000.00
                              12/01/2021   Invoice   1116   Dean (deleted)                    Accounts Receivable (A/R)    2,000.00                4,000.00
                              12/01/2021   Invoice   1122   Keith Meadows                     Accounts Receivable (A/R)    5,000.00                9,000.00
                              12/01/2021   Payment          Keith Meadows                     Accounts Receivable (A/R)                4,751.00    4,249.00
                              12/01/2021   Payment          Keith Meadows                     Accounts Receivable (A/R)                5,000.00     -751.00
                              12/01/2021   Invoice   1121   Keith Meadows                     Accounts Receivable (A/R)    5,000.00                4,249.00
                              12/01/2021   Invoice   1115   Dean (deleted)                    Accounts Receivable (A/R)    2,000.00                6,249.00
                              12/01/2021   Payment          Keith Meadows                     Accounts Receivable (A/R)                5,000.00    1,249.00
                              12/01/2021   Invoice   1119   Dean (deleted)                    Accounts Receivable (A/R)    2,000.00                3,249.00
                              12/01/2021   Invoice   1118   Dean (deleted)                    Accounts Receivable (A/R)    2,000.00                5,249.00




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                              12/01/2021   Invoice   1123   Keith Meadows                     Accounts Receivable (A/R)    4,751.00               10,000.00
                              12/06/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                2,000.00    8,000.00
                              12/06/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                2,000.00    6,000.00
                              12/06/2021   Invoice   1124   Dean (deleted)                    Accounts Receivable (A/R)    4,500.00               10,500.00
                              12/06/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                2,000.00    8,500.00
                              12/06/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                2,000.00    6,500.00
                              12/07/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                4,500.00    2,000.00
                              12/09/2021   Payment          Dean (deleted)                    Accounts Receivable (A/R)                2,000.00        0.00
                              12/15/2021   Invoice   1126   Keith Meadows                     Accounts Receivable (A/R)    5,000.00                5,000.00
                              12/15/2021   Invoice   1125   Keith Meadows                     Accounts Receivable (A/R)    5,000.00               10,000.00
                              12/16/2021   Payment          Keith Meadows                     Accounts Receivable (A/R)                5,000.00    5,000.00
                              12/16/2021   Payment          Keith Meadows                     Accounts Receivable (A/R)                5,000.00        0.00
                              03/22/2022   Invoice   4003   Henry Ramirez                     Accounts Receivable (A/R)   74,872.17               74,872.17
                              03/24/2022   Invoice   4004   Henry Ramirez                     Accounts Receivable (A/R)    1,200.00               76,072.17




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                              03/24/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)                1,200.00   74,872.17
                              03/25/2022   Invoice   4006   LPS                               Accounts Receivable (A/R)    7,550.00               82,422.17
                              03/25/2022   Invoice   4007   LPS                               Accounts Receivable (A/R)    2,500.00               84,922.17
                              03/25/2022   Invoice   4005   LPS                               Accounts Receivable (A/R)    8,500.00               93,422.17
                              04/04/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               30,336.00   63,086.17
                              04/04/2022   Invoice   4008   Henry Ramirez                     Accounts Receivable (A/R)   30,336.00               93,422.17
                              04/04/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               74,872.17   18,550.00
                              04/04/2022   Invoice   4009   Henry Ramirez                     Accounts Receivable (A/R)   10,219.35               28,769.35
                              04/06/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               10,219.35   18,550.00
                              04/18/2022   Invoice   4012   Jan Hronek                        Accounts Receivable (A/R)    5,643.23               24,193.23
                              04/18/2022   Invoice   4013   Jan Hronek                        Accounts Receivable (A/R)     844.07                25,037.30
                              04/18/2022   Payment          Jan Hronek                        Accounts Receivable (A/R)                 844.07    24,193.23
                              04/18/2022   Payment          Jan Hronek                        Accounts Receivable (A/R)                5,643.23   18,550.00




Filed 03/03/25
                              04/25/2022   Invoice   4015   Henry Ramirez                     Accounts Receivable (A/R)   27,678.86               46,228.86
                              04/25/2022   Invoice   4016   Henry Ramirez                     Accounts Receivable (A/R)    9,990.45               56,219.31
                              04/25/2022   Invoice   4014   Henry Ramirez                     Accounts Receivable (A/R)   22,439.84               78,659.15
                              04/27/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)                9,990.45   68,668.70
                              04/27/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               22,439.84   46,228.86
                              04/27/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               27,678.86   18,550.00
                              04/29/2022   Invoice   4017   Henry Ramirez                     Accounts Receivable (A/R)    7,809.19               26,359.19
                              05/02/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)                7,809.19   18,550.00
                              05/03/2022   Payment          LPS                               Accounts Receivable (A/R)                2,500.00   16,050.00
                              05/08/2022   Invoice   4019   Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)    2,750.00               18,800.00
                              05/08/2022   Invoice   4020   Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)    4,500.00               23,300.00
                              05/08/2022   Invoice   4018   Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)    5,800.00               29,100.00
                              05/13/2022   Invoice   4021   Henry Ramirez                     Accounts Receivable (A/R)    6,500.00               35,600.00
                              05/15/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)                6,500.00   29,100.00
                              05/18/2022   Invoice   4028   Henry Ramirez                     Accounts Receivable (A/R)    4,945.00               34,045.00
                              05/18/2022   Invoice   4027   Henry Ramirez                     Accounts Receivable (A/R)   11,728.80               45,773.80
                              05/18/2022   Invoice   4025   Henry Ramirez                     Accounts Receivable (A/R)   18,729.00               64,502.80
                              05/18/2022   Invoice   4026   Henry Ramirez                     Accounts Receivable (A/R)   26,080.42               90,583.22
                              05/19/2022   Payment          Henry Ramirez                     Accounts Receivable (A/R)               28,951.23   61,631.99




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                              05/19/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               11,728.80   49,903.19
                              05/19/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                4,945.00   44,958.19
                              05/19/2022   Invoice   4029    Henry Ramirez                     Accounts Receivable (A/R)   28,951.23               73,909.42
                              05/20/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               18,729.00   55,180.42
                              05/31/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               23,395.00   31,785.42
                              05/31/2022   Invoice   4030    Henry Ramirez                     Accounts Receivable (A/R)   23,395.00               55,180.42
                              05/31/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               20,477.03   34,703.39
                              06/01/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               10,358.97   24,344.42
                              06/01/2022   Invoice   4031    Henry Ramirez                     Accounts Receivable (A/R)   10,358.97               34,703.39
                              06/09/2022   Invoice   4032    Henry Ramirez                     Accounts Receivable (A/R)    7,728.80               42,432.19




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                              06/10/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                7,728.80   34,703.39
                              06/13/2022   Invoice   4033    Henry Ramirez                     Accounts Receivable (A/R)   10,914.00               45,617.39
                              06/15/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               10,914.00   34,703.39
                              07/14/2022   Invoice   4034    Henry Ramirez                     Accounts Receivable (A/R)   19,875.00               54,578.39
                              07/14/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               19,875.00   34,703.39
                              07/18/2022   Payment           LPS                               Accounts Receivable (A/R)                7,550.00   27,153.39
                              07/18/2022   Payment           Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)                2,750.00   24,403.39
                              07/18/2022   Payment           LPS                               Accounts Receivable (A/R)                8,500.00   15,903.39
                              07/18/2022   Payment           Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)                4,500.00   11,403.39
                              07/18/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)        0.00               11,403.39
                              07/18/2022   Payment           Pro Sales Manage Joel Chevrette   Accounts Receivable (A/R)                5,800.00    5,603.39
                              07/27/2022   Invoice   4035    Henry Ramirez                     Accounts Receivable (A/R)   10,233.50               15,836.89
                              07/27/2022   Invoice   4037    Henry Ramirez                     Accounts Receivable (A/R)   10,719.00               26,555.89
                              07/27/2022   Invoice   4036    Henry Ramirez                     Accounts Receivable (A/R)    4,750.00               31,305.89




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                              07/31/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               10,233.50   21,072.39
                              07/31/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                4,750.00   16,322.39
                              08/02/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               10,719.00    5,603.39
                              08/02/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                5,603.39        0.00
                              08/03/2022   Invoice   4038    Henry Ramirez                     Accounts Receivable (A/R)    4,645.80                4,645.80
                              08/03/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                4,645.80        0.00
                              08/11/2022   Invoice   4039    Henry Ramirez                     Accounts Receivable (A/R)    8,093.90                8,093.90
                              08/16/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                8,093.90        0.00
                              08/30/2022   Invoice   4041    Henry Ramirez                     Accounts Receivable (A/R)    3,895.00                3,895.00
                              08/30/2022   Invoice   4040    Henry Ramirez                     Accounts Receivable (A/R)    4,949.02                8,844.02
                              09/01/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                3,895.00    4,949.02
                              09/01/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                4,449.02     500.00
                              09/05/2022   Invoice   4042    Henry Ramirez                     Accounts Receivable (A/R)     740.44                 1,240.44




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                              09/06/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                 740.44      500.00
                              09/22/2022   Invoice   4046    Keith Meadows                     Accounts Receivable (A/R)   10,000.00               10,500.00
                              09/22/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                4,700.00    5,800.00
                              09/22/2022   Invoice   4048    Henry Ramirez                     Accounts Receivable (A/R)   14,400.00               20,200.00
                              09/22/2022   Invoice   4045    Keith Meadows                     Accounts Receivable (A/R)   10,000.00               30,200.00
                              09/22/2022   Invoice   4043    Keith Meadows                     Accounts Receivable (A/R)   10,000.00               40,200.00
                              09/22/2022   Invoice   4047    Henry Ramirez                     Accounts Receivable (A/R)    4,700.00               44,900.00
                              09/22/2022   Invoice   4044    Keith Meadows                     Accounts Receivable (A/R)   10,000.00               54,900.00
                              09/26/2022   Payment           Keith Meadows                     Accounts Receivable (A/R)               10,000.00   44,900.00
                              09/26/2022   Payment           Keith Meadows                     Accounts Receivable (A/R)               10,000.00   34,900.00
                              09/26/2022   Payment           Keith Meadows                     Accounts Receivable (A/R)               10,000.00   24,900.00
                              09/26/2022   Payment           Keith Meadows                     Accounts Receivable (A/R)               10,000.00   14,900.00
                              09/29/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)                 500.00    14,400.00
                              09/29/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               14,400.00        0.00
                              10/06/2022   Invoice   4049    Henry Ramirez                     Accounts Receivable (A/R)   43,467.53               43,467.53
                              10/11/2022   Payment           Keith Meadows                     Accounts Receivable (A/R)               10,000.00   33,467.53
                              10/11/2022   Invoice   11111   Keith Meadows                     Accounts Receivable (A/R)   10,000.00               43,467.53
                              10/19/2022   Invoice   11112   Keith Meadows                     Accounts Receivable (A/R)   40,000.00               83,467.53
                              10/19/2022   Payment           Henry Ramirez                     Accounts Receivable (A/R)               43,467.53   40,000.00




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                                                                    10/20/2022   Invoice   11113   Keith Meadows            Accounts Receivable (A/R)        15,000.00                     55,000.00
                                                                    10/24/2022   Payment           Keith Meadows            Accounts Receivable (A/R)                         15,000.00    40,000.00
                                                                    10/24/2022   Payment           Keith Meadows            Accounts Receivable (A/R)                         40,000.00         0.00
                                                                    11/11/2022   Invoice   11114   Keith Meadows            Accounts Receivable (A/R)        24,000.00                     24,000.00
                                                                    11/11/2022   Payment           Keith Meadows            Accounts Receivable (A/R)                         24,000.00         0.00
                                                                    11/17/2022   Invoice   11115   Henry Ramirez            Accounts Receivable (A/R)        44,650.00                     44,650.00
                                                                    11/21/2022   Invoice   11116   Keith Meadows            Accounts Receivable (A/R)        40,000.00                     84,650.00
                                                                    11/23/2022   Payment           Keith Meadows            Accounts Receivable (A/R)                         40,000.00    44,650.00
                                                                    12/21/2022   Invoice   11120   Keith Meadows            Accounts Receivable (A/R)        20,000.00                     64,650.00
                                                                    12/21/2022   Payment           Henry Ramirez            Accounts Receivable (A/R)                         44,650.00    20,000.00




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                                                                    12/21/2022   Invoice   11119   Keith Meadows            Accounts Receivable (A/R)        20,000.00                     40,000.00
                                                                    12/21/2022   Invoice   11117   Keith Meadows            Accounts Receivable (A/R)        45,000.00                     85,000.00
                                                                    12/21/2022   Invoice   11118   Keith Meadows            Accounts Receivable (A/R)        45,000.00                    130,000.00
                                                                    12/24/2022   Payment           Keith Meadows            Accounts Receivable (A/R)                         20,000.00   110,000.00
                                                                    01/02/2023   Invoice   11122   Henry Ramirez   Voided   Accounts Receivable (A/R)             0.00                    110,000.00
                                                                    01/02/2023   Invoice   11123   JC              Voided   Accounts Receivable (A/R)             0.00                    110,000.00
                                                                    01/06/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         45,000.00    65,000.00
                                                                    01/07/2023   Invoice   11124   Henry Ramirez   Voided   Accounts Receivable (A/R)             0.00                     65,000.00
                                                                    01/10/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         45,000.00    20,000.00
                                                                    01/11/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         20,000.00         0.00
                                                                    01/31/2023   Invoice   11125   Henry Ramirez   Voided   Accounts Receivable (A/R)             0.00                          0.00
                                                                    02/07/2023   Invoice   11127   Keith Meadows            Accounts Receivable (A/R)        17,500.00                     17,500.00
                                                                    02/07/2023   Invoice   11126   Keith Meadows            Accounts Receivable (A/R)        39,500.00                     57,000.00
                                                                    02/10/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         39,500.00    17,500.00




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                                                                    02/10/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         17,500.00         0.00
                                                                    02/12/2023   Payment           Henry Ramirez            Accounts Receivable (A/R)                          1,137.60    -1,137.60
                                                                    03/11/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         20,000.00   -21,137.60
                                                                    03/11/2023   Invoice   11128   Keith Meadows            Accounts Receivable (A/R)        20,000.00                     -1,137.60
                                                                    03/15/2023   Invoice   11129   Keith Meadows            Accounts Receivable (A/R)        53,000.00                     51,862.40
                                                                    03/15/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         53,000.00    -1,137.60
                                                                    03/31/2023   Invoice   11130   Henry Ramirez   Voided   Accounts Receivable (A/R)             0.00                     -1,137.60
                                                                    04/21/2023   Invoice   11132   Keith Meadows            Accounts Receivable (A/R)        23,718.85                     22,581.25
                                                                    04/21/2023   Invoice   11131   Keith Meadows            Accounts Receivable (A/R)        23,125.00                     45,706.25
                                                                    04/22/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         23,718.85    21,987.40
                                                                    04/22/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         23,125.00    -1,137.60
                                                                    05/18/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         30,453.00   -31,590.60
                                                                    05/18/2023   Invoice   11133   Keith Meadows            Accounts Receivable (A/R)        30,453.00                     -1,137.60




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                                                                    06/07/2023   Invoice   11134   Keith Meadows            Accounts Receivable (A/R)        30,000.00                     28,862.40
                                                                    06/07/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         30,000.00    -1,137.60
                                                                    06/19/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         76,236.00   -77,373.60
                                                                    06/19/2023   Invoice   11135   Keith Meadows            Accounts Receivable (A/R)        76,236.00                     -1,137.60
                                                                    06/21/2023   Invoice   11136   Keith Meadows            Accounts Receivable (A/R)        45,000.00                     43,862.40
                                                                    06/27/2023   Invoice   11137   Keith Meadows            Accounts Receivable (A/R)       326,912.00                    370,774.40
                                                                    06/29/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         45,000.00   325,774.40
                                                                    07/14/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         40,000.00   285,774.40
                                                                    07/28/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         50,000.00   235,774.40
                                                                    07/28/2023   Invoice   11138   Keith Meadows            Accounts Receivable (A/R)        50,000.00                    285,774.40
                                                                    08/09/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         50,000.00   235,774.40
                                                                    08/09/2023   Invoice   11139   Keith Meadows            Accounts Receivable (A/R)        50,000.00                    285,774.40
                                                                    08/25/2023   Invoice   11140   Keith Meadows            Accounts Receivable (A/R)        50,000.00                    335,774.40
                                                                    08/25/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         50,000.00   285,774.40
                                                                    09/12/2023   Invoice   11141   Keith Meadows            Accounts Receivable (A/R)        60,000.00                    345,774.40
                                                                    09/14/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         10,000.00   335,774.40
                                                                    09/14/2023   Payment           Keith Meadows            Accounts Receivable (A/R)                         50,000.00   285,774.40
                              Total for Accounts Receivable (A/R)                                                                                       $ 1,812,609.42   $ 1,526,835.02
                              Payments to deposit




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                                                           6UH76368VU275563                      Transaction ID: 6UH76368VU275563N
                              09/13/2021   Deposit         N                                     https://www.paypal.com/activity/payment/6UH76368VU275563N   Payments to deposit               3,750.00   -3,750.00
                                                                                                 Transaction ID: 65C96125U1335842R
                              09/13/2021   Deposit         65C96125U1335842R                     https://www.paypal.com/activity/payment/65C96125U1335842R   Payments to deposit     318.95               -3,431.05
                                                                                                 Transaction ID: 65C96125U1335842R
                              09/13/2021   Sales Receipt   4024                                  https://www.paypal.com/activity/payment/65C96125U1335842R   Payments to deposit    9,125.00               5,693.95
                                                                                                 Transaction ID: 6UH76368VU275563N
                              09/13/2021   Sales Receipt   4023                                  https://www.paypal.com/activity/payment/6UH76368VU275563N   Payments to deposit    3,750.00               9,443.95
                                                           6UH76368VU275563                      Transaction ID: 6UH76368VU275563N
                              09/13/2021   Deposit         N                                     https://www.paypal.com/activity/payment/6UH76368VU275563N   Payments to deposit     131.37                9,575.32
                                                           6UH76368VU275563                      Transaction ID: 6UH76368VU275563N
                              09/13/2021   Expense         N                   PayPal            https://www.paypal.com/activity/payment/6UH76368VU275563N   Payments to deposit                131.37     9,443.95
                                                                                                 Transaction ID: 65C96125U1335842R




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                              09/13/2021   Deposit         65C96125U1335842R                     https://www.paypal.com/activity/payment/65C96125U1335842R   Payments to deposit               9,125.00     318.95
                                                                                                 Transaction ID: 65C96125U1335842R
                              09/13/2021   Expense         65C96125U1335842R PayPal              https://www.paypal.com/activity/payment/65C96125U1335842R   Payments to deposit                318.95         0.00
                                                                                                 Transaction ID: 924701879D723350P
                              09/23/2021   Deposit         924701879D723350P                     https://www.paypal.com/activity/payment/924701879D723350P   Payments to deposit               5,390.72   -5,390.72
                                                                                                 Transaction ID: 924701879D723350P
                              09/23/2021   Expense         924701879D723350P PayPal              https://www.paypal.com/activity/payment/924701879D723350P   Payments to deposit                188.63    -5,579.35
                                                                                                 Transaction ID: 924701879D723350P
                              09/23/2021   Deposit         924701879D723350P                     https://www.paypal.com/activity/payment/924701879D723350P   Payments to deposit     188.63               -5,390.72
                                                                                                 Transaction ID: 924701879D723350P
                              09/23/2021   Sales Receipt   4022                                  https://www.paypal.com/activity/payment/924701879D723350P   Payments to deposit    5,390.72                   0.00
                              10/24/2021   Payment                             Sample Customer   Paid via QuickBooks Payments: Payment ID 601-511            Payments to deposit        5.00                   5.00
                              10/24/2021   Deposit                             Sample Customer   Paid via QuickBooks Payments: Payment ID 601-511            Payments to deposit                   5.00        0.00
                              10/28/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 095728             Payments to deposit               5,500.00   -5,500.00
                              10/28/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 095728             Payments to deposit    5,500.00                   0.00
                              10/29/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 052841             Payments to deposit               5,500.00   -5,500.00




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                              11/02/2021   Payment                             Staci Backer      Paid via QuickBooks Payments: Payment ID MQ0050480978       Payments to deposit    7,325.00               1,825.00
                              11/03/2021   Deposit                             Staci Backer      Paid via QuickBooks Payments: Payment ID MQ0050480978       Payments to deposit               7,325.00   -5,500.00
                              11/04/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 052841             Payments to deposit    5,500.00                   0.00
                              11/04/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID MU0041784794       Payments to deposit    2,500.00               2,500.00
                              11/17/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 205568             Payments to deposit    2,500.00               5,000.00
                              11/18/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 205568             Payments to deposit               2,500.00    2,500.00
                              11/19/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID MS0053184980       Payments to deposit               8,500.00   -6,000.00
                              11/19/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID MS0053184980       Payments to deposit    8,500.00               2,500.00
                              12/01/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 241850             Payments to deposit               5,000.00   -2,500.00
                              12/01/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 204666             Payments to deposit               4,751.00   -7,251.00
                              12/01/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 205328             Payments to deposit    5,000.00              -2,251.00
                              12/01/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 204666             Payments to deposit    4,751.00               2,500.00
                              12/01/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 205328             Payments to deposit               5,000.00   -2,500.00
                              12/01/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 241850             Payments to deposit    5,000.00               2,500.00




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                              12/06/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 026493             Payments to deposit               2,000.00     500.00
                              12/06/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 002420             Payments to deposit               2,000.00   -1,500.00
                              12/06/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 040676             Payments to deposit               2,000.00   -3,500.00
                              12/06/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 060116             Payments to deposit               2,000.00   -5,500.00
                              12/06/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 026493             Payments to deposit    2,000.00              -3,500.00
                              12/06/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 060116             Payments to deposit    2,000.00              -1,500.00
                              12/06/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 040676             Payments to deposit    2,000.00                500.00
                              12/06/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 002420             Payments to deposit    2,000.00               2,500.00
                              12/07/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 058979             Payments to deposit               4,500.00   -2,000.00
                              12/07/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 058979             Payments to deposit    4,500.00               2,500.00
                              12/09/2021   Payment                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 011140             Payments to deposit    2,000.00               4,500.00
                              12/09/2021   Deposit                             Dean (deleted)    Paid via QuickBooks Payments: Payment ID 011140             Payments to deposit               2,000.00    2,500.00
                              12/16/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 08488G             Payments to deposit               5,000.00   -2,500.00
                              12/16/2021   Deposit                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 01621G             Payments to deposit               5,000.00   -7,500.00
                              12/16/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 08488G             Payments to deposit    5,000.00              -2,500.00
                              12/16/2021   Payment                             Keith Meadows     Paid via QuickBooks Payments: Payment ID 01621G             Payments to deposit    5,000.00               2,500.00
                              03/24/2022   Payment                             Henry Ramirez     Paid via QuickBooks Payments: Payment ID 177-101            Payments to deposit    1,200.00               3,700.00
                              03/31/2022   Deposit                             Henry Ramirez     Paid via QuickBooks Payments: Payment ID 177-101            Payments to deposit               1,200.00    2,500.00
                              04/04/2022   Payment                             Henry Ramirez     Paid via QuickBooks Payments: Payment ID 223-781            Payments to deposit   30,336.00              32,836.00




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                              04/06/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 264-571   Payments to deposit   10,219.35               43,055.35
                              04/08/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 223-781   Payments to deposit               30,336.00   12,719.35
                              04/12/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 264-571   Payments to deposit               10,219.35    2,500.00
                              04/18/2022   Payment   Jan Hronek      Paid via QuickBooks Payments: Payment ID 194-971   Payments to deposit     844.07                 3,344.07
                              04/18/2022   Payment   Jan Hronek      Paid via QuickBooks Payments: Payment ID 170-871   Payments to deposit    5,643.23                8,987.30
                              04/25/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 170-871   Payments to deposit                5,643.23    3,344.07
                              04/25/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 194-971   Payments to deposit                 844.07     2,500.00
                              04/27/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 194-551   Payments to deposit   22,439.84               24,939.84
                              04/27/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 206-641   Payments to deposit    9,990.45               34,930.29
                              04/27/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 200-911   Payments to deposit   27,678.86               62,609.15




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                              05/02/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 446-801   Payments to deposit    7,809.19               70,418.34
                              05/03/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 206-641   Payments to deposit                9,990.45   60,427.89
                              05/03/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 194-551   Payments to deposit               22,439.84   37,988.05
                              05/03/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 200-911   Payments to deposit               27,678.86   10,309.19
                              05/09/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 446-801   Payments to deposit                7,809.19    2,500.00
                              05/15/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 136-631   Payments to deposit    6,500.00                9,000.00
                              05/19/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 136-631   Payments to deposit                6,500.00    2,500.00
                              05/19/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 881-221   Payments to deposit   11,728.80               14,228.80
                              05/19/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 883-621   Payments to deposit    4,945.00               19,173.80
                              05/19/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 886-211   Payments to deposit   28,951.23               48,125.03
                              05/20/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 122-711   Payments to deposit   18,729.00               66,854.03
                              05/26/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 881-221   Payments to deposit               11,728.80   55,125.23
                              05/26/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 886-211   Payments to deposit               28,951.23   26,174.00
                              05/26/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 883-621   Payments to deposit                4,945.00   21,229.00




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                              05/26/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 122-711   Payments to deposit               18,729.00    2,500.00
                              05/31/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 746-371   Payments to deposit   20,477.03               22,977.03
                              05/31/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 940-421   Payments to deposit   23,395.00               46,372.03
                              06/01/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 420-351   Payments to deposit   10,358.97               56,731.00
                              06/06/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 746-371   Payments to deposit               20,477.03   36,253.97
                              06/06/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 940-421   Payments to deposit               23,395.00   12,858.97
                              06/08/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 420-351   Payments to deposit               10,358.97    2,500.00
                              06/10/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 221-171   Payments to deposit    7,728.80               10,228.80
                              06/15/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 637-331   Payments to deposit   10,914.00               21,142.80
                              06/16/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 221-171   Payments to deposit                7,728.80   13,414.00
                              06/22/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 637-331   Payments to deposit               10,914.00    2,500.00
                              07/14/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 613-551   Payments to deposit   19,875.00               22,375.00
                              07/20/2022   Deposit                   Paid via QuickBooks Payments: Payment ID 613-551   Payments to deposit               19,875.00    2,500.00




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                              07/31/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 937-341   Payments to deposit   10,233.50               12,733.50
                              07/31/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 938-241   Payments to deposit    4,750.00               17,483.50
                              08/02/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 319-211   Payments to deposit    5,603.39               23,086.89
                              08/02/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 064-411   Payments to deposit   10,719.00               33,805.89
                              08/03/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 477-471   Payments to deposit    4,645.80               38,451.69
                              08/05/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 937-341   Payments to deposit               10,233.50   28,218.19
                              08/05/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 938-241   Payments to deposit                4,750.00   23,468.19
                              08/08/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 064-411   Payments to deposit               10,719.00   12,749.19
                              08/09/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 319-211   Payments to deposit                5,603.39    7,145.80
                              08/10/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 477-471   Payments to deposit                4,645.80    2,500.00
                              08/16/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 043-041   Payments to deposit    8,093.90               10,593.90
                              08/22/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 043-041   Payments to deposit                8,093.90    2,500.00
                              09/01/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 473-931   Payments to deposit    4,449.02                6,949.02
                              09/01/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 740-331   Payments to deposit    3,895.00               10,844.02
                              09/06/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 355-601   Payments to deposit     740.44                11,584.46
                              09/08/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 740-331   Payments to deposit                3,895.00    7,689.46
                              09/09/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 473-931   Payments to deposit                4,449.02    3,240.44
                              09/12/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 355-601   Payments to deposit                 740.44     2,500.00
                              09/22/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 459-111   Payments to deposit    4,700.00                7,200.00




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                              09/26/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 04691T    Payments to deposit               10,000.00    -2,800.00
                              09/26/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 04691T    Payments to deposit   10,000.00                7,200.00
                              09/26/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06586T    Payments to deposit   10,000.00               17,200.00
                              09/26/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 01978T    Payments to deposit   10,000.00               27,200.00
                              09/26/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 00544T    Payments to deposit   10,000.00               37,200.00
                              09/26/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 01978T    Payments to deposit               10,000.00   27,200.00
                              09/26/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06586T    Payments to deposit               10,000.00   17,200.00
                              09/26/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 00544T    Payments to deposit               10,000.00    7,200.00
                              09/29/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 459-111   Payments to deposit                4,700.00    2,500.00
                              09/29/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 833-731   Payments to deposit   14,400.00               16,900.00




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                              09/29/2022   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 820-161   Payments to deposit     500.00                17,400.00
                              10/05/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 820-161   Payments to deposit                 500.00    16,900.00
                              10/05/2022   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 833-731   Payments to deposit               14,400.00    2,500.00
                              10/11/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06505T    Payments to deposit   10,000.00               12,500.00
                              10/11/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06505T    Payments to deposit               10,000.00    2,500.00
                              10/24/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06265T    Payments to deposit   15,000.00               17,500.00
                              10/24/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 06265T    Payments to deposit               15,000.00    2,500.00
                              10/24/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 298358    Payments to deposit               40,000.00   -37,500.00
                              10/24/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 298358    Payments to deposit   40,000.00                2,500.00
                              11/11/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 07183T    Payments to deposit               24,000.00   -21,500.00
                              11/11/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 07183T    Payments to deposit   24,000.00                2,500.00
                              11/23/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 292115    Payments to deposit   40,000.00               42,500.00
                              11/24/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 292115    Payments to deposit               40,000.00    2,500.00
                              12/24/2022   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 215163    Payments to deposit   20,000.00               22,500.00




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                              12/25/2022   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 215163    Payments to deposit               20,000.00    2,500.00
                              01/06/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 207104    Payments to deposit   45,000.00               47,500.00
                              01/08/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 207104    Payments to deposit               45,000.00    2,500.00
                              01/10/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 05676T    Payments to deposit               45,000.00   -42,500.00
                              01/10/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 05676T    Payments to deposit   45,000.00                2,500.00
                              01/11/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 200526    Payments to deposit               20,000.00   -17,500.00
                              01/11/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 200526    Payments to deposit   20,000.00                2,500.00
                              02/10/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 291677    Payments to deposit               17,500.00   -15,000.00
                              02/10/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 291677    Payments to deposit   17,500.00                2,500.00
                              02/10/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 07258T    Payments to deposit               39,500.00   -37,000.00
                              02/10/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 07258T    Payments to deposit   39,500.00                2,500.00
                              02/12/2023   Deposit   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 919-601   Payments to deposit                1,137.60    1,362.40
                              02/12/2023   Payment   Henry Ramirez   Paid via QuickBooks Payments: Payment ID 919-601   Payments to deposit    1,137.60                2,500.00




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                              03/11/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 282596    Payments to deposit   20,000.00               22,500.00
                              03/12/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 282596    Payments to deposit               20,000.00    2,500.00
                              03/15/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 229652    Payments to deposit               53,000.00   -50,500.00
                              03/15/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 229652    Payments to deposit   53,000.00                2,500.00
                              04/22/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 04162T    Payments to deposit   23,718.85               26,218.85
                              04/22/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 09104T    Payments to deposit   23,125.00               49,343.85
                              04/23/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 04162T    Payments to deposit               23,718.85   25,625.00
                              04/23/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 09104T    Payments to deposit               23,125.00    2,500.00
                              05/18/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 248574    Payments to deposit               30,453.00   -27,953.00
                              05/18/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 248574    Payments to deposit   30,453.00                2,500.00
                              06/07/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 200245    Payments to deposit               30,000.00   -27,500.00
                              06/07/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 200245    Payments to deposit   30,000.00                2,500.00
                              06/19/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 202356    Payments to deposit               76,236.00   -73,736.00
                              06/19/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 202356    Payments to deposit   76,236.00                2,500.00
                              06/29/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 206304    Payments to deposit               45,000.00   -42,500.00
                              06/29/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 206304    Payments to deposit   45,000.00                2,500.00
                              07/14/2023   Deposit   Keith Meadows   Paid via QuickBooks Payments: Payment ID 208889    Payments to deposit               40,000.00   -37,500.00
                              07/14/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 208889    Payments to deposit   40,000.00                2,500.00
                              07/28/2023   Payment   Keith Meadows   Paid via QuickBooks Payments: Payment ID 202405    Payments to deposit   50,000.00               52,500.00




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                                                                        07/28/2023   Deposit                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 202405                                 Payments to deposit                                             50,000.00    2,500.00
                                                                        08/09/2023   Deposit                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 228641                                 Payments to deposit                                             50,000.00   -47,500.00
                                                                        08/09/2023   Payment                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 228641                                 Payments to deposit                            50,000.00                     2,500.00
                                                                        08/25/2023   Payment                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 245954                                 Payments to deposit                            50,000.00                    52,500.00
                                                                        08/27/2023   Deposit                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 245954                                 Payments to deposit                                             50,000.00    2,500.00
                                                                        09/14/2023   Deposit                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 01521D                                 Payments to deposit                                             10,000.00    -7,500.00
                                                                        09/14/2023   Payment                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 01521D                                 Payments to deposit                            10,000.00                     2,500.00
                                                                        09/14/2023   Payment                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 06067G                                 Payments to deposit                            50,000.00                    52,500.00
                                                                        09/14/2023   Deposit                 Keith Meadows                     Paid via QuickBooks Payments: Payment ID 06067G                                 Payments to deposit                                             50,000.00    2,500.00
                              Total for Payments to deposit                                                                                                                                                                                                              $ 1,351,149.99   $ 1,348,649.99




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                              Uncategorized Asset
                                                                        05/21/2022   Transfer                                                  https://www.paypal.com/activity/payment/6KC95739H6616935W                       Uncategorized Asset                                                109.50     -109.50
                                                                        05/22/2022   Transfer                                                  https://www.paypal.com/activity/payment/50519053UP092202N                       Uncategorized Asset                                                924.86    -1,034.36
                                                                        05/24/2022   Transfer                                                  https://www.paypal.com/activity/payment/59Y07658MF542020G                       Uncategorized Asset                                                231.22    -1,265.58
                                                                        05/27/2022   Transfer                                                  https://www.paypal.com/activity/payment/96P60191RW0455537                       Uncategorized Asset                                                  5.48    -1,271.06
                                                                        05/28/2022   Transfer                                                  https://www.paypal.com/activity/payment/5MS67479TE685444G                       Uncategorized Asset                                                 54.25    -1,325.31
                              Total for Uncategorized Asset                                                                                                                                                                                                                               $     1,325.31
                              Long-term office equipment
                               Phones
                                                                        01/28/2022   Expense                                                   Signed POS One Time Purchase Card Ending: 5155 VZWRLSS*IVR VB 800-922-0204 FL   Long-term office equipment:Phones                  86.51                        86.51
                                                                        05/02/2022   Expense                                                   Debit Purchase -visa Card 8483verizon Wrls 071908-3067000 Tn                    Long-term office equipment:Phones                 414.05                       500.56
                               Total for Phones                                                                                                                                                                                                                          $       500.56
                              Total for Long-term office equipment                                                                                                                                                                                                       $       500.56
                              Out Of Scope Agency Payable




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                                                                        09/13/2021   Sales Receipt   4024                                                                                                                      Out Of Scope Agency Payable                         0.00                          0.00
                                                                        09/13/2021   Sales Receipt   4023                                                                                                                      Out Of Scope Agency Payable                         0.00                          0.00
                                                                        09/23/2021   Sales Receipt   4022                                                                                                                      Out Of Scope Agency Payable                         0.00                          0.00
                                                                        10/11/2022   Invoice         11111   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                                                                        02/07/2023   Invoice         11127   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                                                                        02/07/2023   Invoice         11126   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                                                                        03/11/2023   Invoice         11128   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                                                                        07/28/2023   Invoice         11138   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                                                                        08/09/2023   Invoice         11139   Keith Meadows                                                                                                     Out Of Scope Agency Payable                         0.00                          0.00
                              Total for Out Of Scope Agency Payable                                                                                                                                                                                                      $         0.00
                              Tennessee Department of Revenue Payable
                                                                        04/29/2022   Invoice         4017    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        04/29/2022   Invoice         4017    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00




Filed 03/03/25
                                                                        05/08/2022   Invoice         4019    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/08/2022   Invoice         4020    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/08/2022   Invoice         4020    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/08/2022   Invoice         4019    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/08/2022   Invoice         4018    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/08/2022   Invoice         4018    Pro Sales Manage Joel Chevrette                                                                                   Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/13/2022   Invoice         4021    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/13/2022   Invoice         4021    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4027    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4026    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4027    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4025    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4025    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4028    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4028    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/18/2022   Invoice         4026    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                         0.00
                                                                        05/19/2022   Invoice         4029    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable                          1,846.54    1,846.54
                                                                        05/19/2022   Invoice         4029    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable                            725.44    2,571.98
                                                                        05/31/2022   Invoice         4030    Henry Ramirez                                                                                                     Tennessee Department of Revenue Payable             0.00                     2,571.98




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                              05/31/2022   Invoice   4030    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/01/2022   Invoice   4031    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/01/2022   Invoice   4031    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/09/2022   Invoice   4032    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/09/2022   Invoice   4032    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/13/2022   Invoice   4033    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              06/13/2022   Invoice   4033    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/14/2022   Invoice   4034    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/14/2022   Invoice   4034    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/27/2022   Invoice   4036    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98




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                              07/27/2022   Invoice   4036    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/27/2022   Invoice   4035    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/27/2022   Invoice   4035    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/27/2022   Invoice   4037    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              07/27/2022   Invoice   4037    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/03/2022   Invoice   4038    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/03/2022   Invoice   4038    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/11/2022   Invoice   4039    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/11/2022   Invoice   4039    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/30/2022   Invoice   4041    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/30/2022   Invoice   4041    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/30/2022   Invoice   4040    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              08/30/2022   Invoice   4040    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/05/2022   Invoice   4042    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98




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                              09/05/2022   Invoice   4042    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4046    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4046    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4044    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4044    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4043    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4043    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4045    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4045    Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4047    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4048    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4048    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              09/22/2022   Invoice   4047    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98




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                              10/06/2022   Invoice   4049    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              10/06/2022   Invoice   4049    Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              10/19/2022   Invoice   11112   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              10/19/2022   Invoice   11112   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              10/20/2022   Invoice   11113   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              10/20/2022   Invoice   11113   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/11/2022   Invoice   11114   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/11/2022   Invoice   11114   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/17/2022   Invoice   11115   Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/17/2022   Invoice   11115   Henry Ramirez   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/21/2022   Invoice   11116   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              11/21/2022   Invoice   11116   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11118   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11119   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11119   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11120   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11120   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11117   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98
                              12/21/2022   Invoice   11117   Keith Meadows   Tennessee Department of Revenue Payable   0.00   2,571.98




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                                                                                  12/21/2022   Invoice   11118   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/02/2023   Invoice   11122   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/02/2023   Invoice   11123   JC                                                                                                    Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/02/2023   Invoice   11123   JC                                                                                                    Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/02/2023   Invoice   11122   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/07/2023   Invoice   11124   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/07/2023   Invoice   11124   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/31/2023   Invoice   11125   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  01/31/2023   Invoice   11125   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  03/15/2023   Invoice   11129   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98




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                                                                                  03/15/2023   Invoice   11129   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  03/31/2023   Invoice   11130   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  03/31/2023   Invoice   11130   Henry Ramirez                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  04/21/2023   Invoice   11131   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  04/21/2023   Invoice   11131   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  04/21/2023   Invoice   11132   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  04/21/2023   Invoice   11132   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  05/18/2023   Invoice   11133   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  05/18/2023   Invoice   11133   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/07/2023   Invoice   11134   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/07/2023   Invoice   11134   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/19/2023   Invoice   11135   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/19/2023   Invoice   11135   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/21/2023   Invoice   11136   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98




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                                                                                  06/21/2023   Invoice   11136   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/27/2023   Invoice   11137   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  06/27/2023   Invoice   11137   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  08/25/2023   Invoice   11140   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  08/25/2023   Invoice   11140   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  09/12/2023   Invoice   11141   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98
                                                                                  09/12/2023   Invoice   11141   Keith Meadows                                                                                         Tennessee Department of Revenue Payable           0.00                  2,571.98

                              Total for Tennessee Department of Revenue Payable                                                                                                                                                                                  $      0.00    $   2,571.98
                              Opening balance equity
                                                                                  02/08/2022   Check                                                                                                                   Opening balance equity                          23.82                      -23.82
                              Total for Opening balance equity                                                                                                                                                                                                   $     23.82
                              Owner draws
                                                                                  10/29/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 SQ *VTK DUMPSTERS Springfield TN       Owner draws                                    493.52                    -493.52




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                                                                                  11/01/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 FLOOR AND DECOR 165 ANTIOCH TN         Owner draws                                    196.43                    -689.95
                                                                                  11/01/2021   Expense                           ATM FOREIGN WITHDRAWAL Card Ending: 5155 3519 TOM AUST 3519 TOM AUST SPRINGFIELD TN   Owner draws                                    363.00                   -1,052.95
                                                                                  11/04/2021   Expense                           ATM FOREIGN WITHDRAWAL Card Ending: 5155 1736 CAROTHER 1736 CAROTHER BRENTWOOD TN     Owner draws                                    503.50                   -1,556.45
                                                                                  11/05/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 MOORE LUMBER COMPANY SPRINGFIELD TN    Owner draws                                     17.83                   -1,574.28
                                                                                  11/05/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 MOORE LUMBER COMPANY SPRINGFIELD TN    Owner draws                                     20.70                   -1,594.98
                                                                                  11/05/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 WALKER HARDWARE SPRINGFIELD TN         Owner draws                                     46.68                   -1,641.66
                                                                                  11/08/2021   Expense                           ATM FOREIGN WITHDRAWAL Card Ending: 5155 SPRINGFIELD T SPRINGFIELD T Springfield TN   Owner draws                                    164.00                   -1,805.66
                                                                                  11/16/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 SQ *VTK DUMPSTERS Springfield TN       Owner draws                                    415.60                   -2,221.26
                                                                                  11/17/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN         Owner draws                                     31.20                   -2,252.46
                                                                                  11/18/2021   Expense                           Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN         Owner draws                                     51.12                   -2,303.58
                                                                                  01/06/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN         Owner draws                                     61.48                   -2,365.06
                                                                                  01/10/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 ARCHITECTURAL DESIGNS, 2037618500 CT   Owner draws                                   2,060.00                  -4,425.06
                                                                                  01/11/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 CSFRANKLIN LLC FRANKLIN TN             Owner draws                                     48.26                   -4,473.32
                                                                                  01/24/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA       Owner draws                                     13.17                   -4,486.49
                                                                                  01/27/2022   Expense                           ATM/POS PURCHASE Card Ending: 5155 BOOT BARN #106 / RCC GOODLETTSVILL TN              Owner draws                                    202.10                   -4,688.59
                                                                                  01/28/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 DULUTH TRADING FRNKLN FRANKLIN TN      Owner draws                                    372.56                   -5,061.15
                                                                                  02/07/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 SPORTSMANS LODGE BRENTWOOD TN          Owner draws                                     68.32                   -5,129.47
                                                                                  02/07/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 H G HILL #54 SPRINGFIELD TN            Owner draws                                     18.00                   -5,147.47
                                                                                  02/07/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 PHILLIPS 66 - PURE MAR GREENBRIER TN   Owner draws                                     33.15                   -5,180.62




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                                                      02/08/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 CHRIS MORE INC NASHVI 901-3328120 TN      Owner draws              1,382.06    -6,562.68
                                                      02/09/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 JOSE S GREENBRIER TN                      Owner draws                 53.49    -6,616.17
                                                      02/22/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GRANNYS BRIER PATCH GREENBRIER TN         Owner draws                 27.77    -6,643.94
                                                      02/22/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 DILLARDS 422 RIVERGATE GOODLETTSVILL TN   Owner draws               155.68     -6,799.62
                                                      03/01/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 39.09    -6,838.71
                                                      03/02/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 MAPCO EXPRESS #3408 FRANKLIN TN           Owner draws                  7.03    -6,845.74
                                                      03/04/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 42.47    -6,888.21
                                                      03/07/2022   Expense                               Signed POS One Time Purchase Card Ending: 5189 BF MYERS FURNITURE GOODLETTSVILL TN       Owner draws              1,949.00    -8,837.21
                                                      03/07/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN              Owner draws                 54.78    -8,891.99
                                                      03/07/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 NikePOS_US Nashville TN                   Owner draws               246.84     -9,138.83




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                                                      03/11/2022   Transfer                              Mobile Banking Payment To Credit Card Card 7219                                          Owner draws               500.00     -9,638.83
                                                      03/14/2022   Transfer                              Mobile Banking Payment To Credit Card Card 7219                                          Owner draws              2,000.00   -11,638.83
                                                      03/15/2022   Transfer                              Mobile Banking Payment To Credit Card Card 7219                                          Owner draws              3,816.20   -15,455.03
                                                      03/16/2022   Expense                               Debit Purchase -visa Card 8483sportsmans Lodgebrentwood Tn                               Owner draws                 51.21   -15,506.24
                                                      03/22/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA          Owner draws                 13.17   -15,519.41
                                                      03/24/2022   Expense                               Debit Purchase Card 8483sanford Trailer Greenbrier Tn                                    Owner draws              4,383.31   -19,902.72
                                                      03/25/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 70.65   -19,973.37
                                                      03/29/2022   Check      309159289                  Customer Withdrawal                                                                      Owner draws             15,000.00   -34,973.37
                                                      04/01/2022   Expense                               ATM/POS PURCHASE Card Ending: 5155 SY8 GOLF GALAXY # 40011 BRENTWOOD TN                  Owner draws               323.25    -35,296.62
                                                      04/04/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GAYLORD SPRINGS GOLF NASHVILLE TN         Owner draws               201.02    -35,497.64
                                                      04/04/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GAYLORD SPRINGS GOLF NASHVILLE TN         Owner draws                 36.32   -35,533.96
                                                      04/05/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 FERGUSON ENT, INC 20 6153161800 TN        Owner draws              2,500.00   -38,033.96
                                                      04/06/2022   Expense                               ATM FOREIGN WITHDRAWAL Card Ending: 5155 Twice Daily 6 1732 N CAROTH BRENTWOOD TN        Owner draws               203.50    -38,237.46
                                                      04/08/2022   Expense                               ATM ONUS WITHDRAWAL Card Ending: 5155 VOLUNTEER STA 101 INTERNATI FRANKLIN TN            Owner draws               300.00    -38,537.46




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                                                      04/14/2022   Transfer                              Mobile Banking Payment To Credit Card Card 7219                                          Owner draws              1,000.00   -39,537.46
                                                      04/15/2022   Expense                               Debit Purchase -visa Card 8483mattress Firm 00madison Tn                                 Owner draws              6,691.52   -46,228.98
                                                      04/18/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 SAD SAMS CROSS PLAINS TN                  Owner draws                  8.33   -46,237.31
                                                      04/18/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 LOVE S TRAVE S00007641 MANCHESTER TN      Owner draws                 20.66   -46,257.97
                                                      04/20/2022   Expense                               ATM/POS PURCHASE Card Ending: 5155 SY8 GOLF GALAXY # 40009 BRENTWOOD TN                  Owner draws               300.62    -46,558.59
                                                      04/23/2022   Transfer                              Mobile Banking Transfer Withdrawal 3701                                                  Owner draws              4,000.00   -50,558.59
                                                      04/25/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA          Owner draws                 13.17   -50,571.76
                                                      04/25/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN              Owner draws                 27.66   -50,599.42
                                                      04/27/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 JOSE S GREENBRIER TN                      Owner draws                 57.24   -50,656.66
                                                      05/02/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 H G HILL #54 SPRINGFIELD TN               Owner draws                 42.09   -50,698.75
                                                      05/03/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 65.17   -50,763.92
                                                      05/06/2022   Expense                               Debit Purchase Card 8483guns & Le Guns &greenbrier Tn                                    Owner draws                 32.92   -50,796.84
                                                      05/06/2022   Expense                               ATM/POS PURCHASE Card Ending: 5155 GUNS & LE GUNS & LEATH GREENBRIER TN                  Owner draws              2,027.20   -52,824.04




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                                                      05/16/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 SAD SAMS CROSS PLAINS TN                  Owner draws                  4.81   -52,828.85
                                                      05/18/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 38.99   -52,867.84

                                                      05/22/2022   Expense    6NE9129979593260C PayPal   Shipping amount                                                                          Owner draws                 25.86   -52,893.70

                                                      05/22/2022   Expense    6NE9129979593260C PayPal   Orbit - Orbit                                                                            Owner draws               899.00    -53,792.70
                                                      05/23/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN            Owner draws                 61.51   -53,854.21
                                                      05/26/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 LOVE'S #698 MACON GA                      Owner draws                 38.04   -53,892.25
                                                      05/26/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 BUC-EE'S #46 SAINT AUGUSTI FL             Owner draws                 73.44   -53,965.69

                                                      05/27/2022   Expense    6SG17471PJ4289118 PayPal   493A4 PremPlus -                                                                         Owner draws                  5.48   -53,971.17
                                                      05/29/2022   Transfer                              Mobile Banking Transfer Withdrawal 3701                                                  Owner draws              4,000.00   -57,971.17
                                                      05/29/2022   Transfer                              Mobile Banking Transfer Withdrawal 3701                                                  Owner draws              5,000.00   -62,971.17
                              Total for Owner draws                                                                                                                                                                   $   62,971.17
                              Personal expenses
                                                      11/02/2021   Expense                               ATM/POS PURCHASE Card Ending: 5155 KROGER #5 143 HENSLEE DICKSON TN                      Personal expenses            6.49        -6.49
                                                      11/18/2021   Expense                               ATM/POS PURCHASE Card Ending: 5155 KROGER #5 2600 MEMORIA SPRINGFIELD TN                 Personal expenses           78.91       -85.40
                                                      01/06/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 KROGER #5575 615-871-2400 TN              Personal expenses           63.56     -148.96
                                                      01/18/2022   Expense                               Signed POS One Time Purchase Card Ending: 5155 KROGER #5575 615-871-2400 TN              Personal expenses           86.09     -235.05
                                                      03/07/2022   Expense                               Debit Purchase -visa Card 8483optishotgolf.comwww.optishotmi                             Personal expenses            9.99     -245.04
                                                      03/11/2022   Expense                               Debit Purchase Card 8483kroger #5 2020 Mfranklin Tn                                      Personal expenses           20.77     -265.81




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                                                            03/14/2022   Expense                                  Debit Purchase Card 8483kroger #5 2600 Mspringfield Tn                                                        Personal expenses        48.18                       -313.99
                                                            03/14/2022   Expense                                  Debit Purchase -visa Card 8483star Wine And Spspringfield Tn                                                  Personal expenses        30.78                       -344.77
                                                            04/07/2022   Expense                                  Recurring Debit Purchase Card 8483optishotgolf.comwww.optishotmi                                              Personal expenses         9.99                       -354.76
                                                            04/29/2022   Expense                                  Debit Purchase -visa Card 8483csfranklin Llc Franklin Tn                                                      Personal expenses       114.86                       -469.62
                                                            05/09/2022   Expense                                  Recurring Debit Purchase Card 8483optishotgolf.comwww.optishotmi                                              Personal expenses         9.99                       -479.61
                                                            05/12/2022   Expense                                  ATM/POS PURCHASE Card Ending: 5155 KROGER #5 2600 MEMORIA SPRINGFIELD TN                                      Personal expenses       131.66                       -611.27
                                                            05/23/2022   Expense                                  Debit Purchase -visa Card 8483sp Golfdaddy London                                                             Personal expenses        39.99                       -651.26
                              Total for Personal expenses                                                                                                                                                                                           $   651.26
                              PayPal Sales
                                                            09/13/2021   Sales Receipt   4023                     Bathroom sinks - Bathroom sinks                                                                               PayPal Sales                           3,750.00     3,750.00




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                                                            09/13/2021   Sales Receipt   4024                     Lights - 3650 @ $2.50                                                                                         PayPal Sales                           9,125.00    12,875.00
                                                            09/23/2021   Sales Receipt   4022                     Beechcroft clubhouse take off                                                                                 PayPal Sales                           5,390.72    18,265.72
                              Total for PayPal Sales                                                                                                                                                                                                             $    18,265.72
                              Sales
                                                            10/08/2021   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                    773.13      773.13
                                                            10/21/2021   Deposit                                  ACH DEPOSIT SEC CODE: PPD Trace Number: 021000028259716 ID: T200414116943 JWSC LLC Square Inc SQ211021        Sales                                  3,300.00     4,073.13
                                                            10/21/2021   Deposit                                  ACH DEPOSIT SEC CODE: PPD Trace Number: 021000028267744 ID: T200414116565 JWSC LLC Square Inc SDV-VRFY        Sales                                      0.01     4,073.14

                                                            10/25/2021   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000024389471 ID: 524771992569493 JWSC LLC. INTUIT 38326275 DEPOSIT Sales                                      5.00     4,078.14
                                                            10/25/2021   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                  9,675.00    13,753.14

                                                            11/04/2021   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000021481126 ID: 524771992569493 JWSC LLC. INTUIT 90183845 DEPOSIT Sales                                  7,325.00    21,078.14
                                                                                                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000026050829 ID: 524771992569493 JWSC LLC INTUIT PYMT SOLN
                                                            11/12/2021   Deposit                                  INTUITPMTS                                                                                                    Sales                                  7,767.50    28,845.64
                                                            11/12/2021   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                  3,473.00    32,318.64




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                                                            01/13/2022   Deposit                                  MOBILE DEPOSIT                                                                                                Sales                                    955.36    33,274.00
                                                            01/24/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 49,414.34    82,688.34
                                                            02/01/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 45,050.00   127,738.34
                                                            02/07/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 29,700.00   157,438.34
                                                            03/01/2022   Deposit                                  Deposit                                                                                                       Sales                                 27,225.00   184,663.34
                                                            03/04/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 35,524.00   220,187.34
                                                            03/07/2022   Deposit                                  Mobile Check Deposit                                                                                          Sales                                  7,000.00   227,187.34
                                                            03/11/2022   Deposit                                  Mobile Check Deposit                                                                                          Sales                                  6,500.00   233,687.34
                                                            03/14/2022   Deposit                                  Deposit                                                                                                       Sales                                 43,500.00   277,187.34
                                                            03/16/2022   Deposit                                  Deposit                                                                                                       Sales                                 25,175.00   302,362.34
                                                            03/25/2022   Deposit                                  Mobile Check Deposit                                                                                          Sales                                    306.06   302,668.40
                                                            03/28/2022   Deposit                                  Mobile Check Deposit                                                                                          Sales                                 15,700.00   318,368.40
                                                            03/29/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 74,872.17   393,240.57




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                                                            04/01/2022   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000029402325 ID: 524771992569493 JWSC LLC. INTUIT 23711145 DEPOSIT Sales                                  1,200.00   394,440.57

                                                            04/11/2022   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000027029767 ID: 524771992569493 JWSC LLC. INTUIT 88608985 DEPOSIT Sales                                 30,336.00   424,776.57

                                                            04/13/2022   Deposit                                  ACH DEPOSIT SEC CODE: CCD Trace Number: 021000029282880 ID: 524771992569493 JWSC LLC. INTUIT 00520645 DEPOSIT Sales                                 10,219.35   434,995.92
                                                            04/28/2022   Deposit                                  Deposit                                                                                                       Sales                                 34,650.00   469,645.92
                                                            05/04/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                 59,000.00   528,645.92
                                                            05/09/2022   Deposit                                  REGULAR DEPOSIT                                                                                               Sales                                  3,000.00   531,645.92
                              Total for Sales                                                                                                                                                                                                                    $   531,645.92
                              Services
                                                            10/23/2021   Invoice         1001   Sample Customer   Description of the item                                                                                       Services                                   5.00         5.00
                                                            10/24/2021   Invoice         1105   Dean (deleted)                                                                                                                  Services                  0.00                          5.00
                                                            10/28/2021   Invoice         1107   Staci Backer      Cabinets                                                                                                      Services                               2,450.00     2,455.00
                                                            10/28/2021   Invoice         1106   Dean (deleted)                                                                                                                  Services                               5,500.00     7,955.00
                                                            10/28/2021   Invoice         1107   Staci Backer                                                                                                                    Services                               3,375.00    11,330.00
                                                            10/28/2021   Invoice         1107   Staci Backer      Paint final payment                                                                                           Services                                 500.00    11,830.00
                                                            10/28/2021   Invoice         1107   Staci Backer      Cabinet install                                                                                               Services                               1,000.00    12,830.00
                                                            10/29/2021   Invoice         1108   Dean (deleted)                                                                                                                  Services                  0.00                     12,830.00
                                                            10/29/2021   Invoice         1109   Dean (deleted)    JL apartments                                                                                                 Services                  0.00                     12,830.00
                                                            11/01/2021   Invoice         1110   Dean (deleted)    Building E and F                                                                                              Services                               1,000.00    13,830.00




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                              11/01/2021   Invoice   1110   Dean (deleted)                    Building C and D                                               Services           1,000.00    14,830.00
                              11/01/2021   Invoice   1110   Dean (deleted)                    Building A and B                                               Services           3,500.00    18,330.00
                              11/04/2021   Invoice   1111   Dean (deleted)                    Quote for Candlewood Suites                                    Services           2,500.00    20,830.00
                              11/11/2021   Invoice   1112   Keith Meadows                                                                                    Services           2,500.00    23,330.00
                              11/18/2021   Invoice   1114   Dean (deleted)                                                                                   Services           8,500.00    31,830.00
                              11/18/2021   Invoice   1113   Keith Meadows                     QTY Take off service for project 01                            Services   0.00                31,830.00
                              12/01/2021   Invoice   1119   Dean (deleted)                    Lumber Take Off                                                Services           2,000.00    33,830.00
                              12/01/2021   Invoice   1118   Dean (deleted)                    Material Take off                                              Services           2,000.00    35,830.00
                              12/01/2021   Invoice   1123   Keith Meadows                     service 3                                                      Services           4,751.00    40,581.00
                              12/01/2021   Invoice   1121   Keith Meadows                     Service                                                        Services           5,000.00    45,581.00




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                              12/01/2021   Invoice   1117   Dean (deleted)                    Material Take offs                                             Services           2,000.00    47,581.00
                              12/01/2021   Invoice   1116   Dean (deleted)                    Lumber, roofing, drywall, windows and doors                    Services           2,000.00    49,581.00
                              12/01/2021   Invoice   1122   Keith Meadows                     services 2                                                     Services           5,000.00    54,581.00
                              12/01/2021   Invoice   1115   Dean (deleted)                    Lumber, Drywall, Roofing, window and doors                     Services           2,000.00    56,581.00
                              12/06/2021   Invoice   1124   Dean (deleted)                    Kedron Square Take Off                                         Services           4,500.00    61,081.00
                              12/15/2021   Invoice   1126   Keith Meadows                                                                                    Services           5,000.00    66,081.00
                              12/15/2021   Invoice   1125   Keith Meadows                                                                                    Services           5,000.00    71,081.00
                              03/22/2022   Invoice   4003   Henry Ramirez                     Cabinets                                                       Services          29,000.00   100,081.00
                              03/22/2022   Invoice   4003   Henry Ramirez                     windows                                                        Services          20,601.94   120,682.94
                              03/22/2022   Invoice   4003   Henry Ramirez                     Garage Doors                                                   Services           2,725.85   123,408.79
                              03/22/2022   Invoice   4003   Henry Ramirez                     Interior doors                                                 Services           5,488.87   128,897.66
                              03/22/2022   Invoice   4003   Henry Ramirez                     Floor system                                                   Services          17,055.51   145,953.17
                              03/24/2022   Invoice   4004   Henry Ramirez                     survey lot and pin foundation                                  Services           1,200.00   147,153.17
                              03/25/2022   Invoice   4007   LPS                               Composite Deck materials                                       Services           2,500.00   149,653.17




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                              03/25/2022   Invoice   4006   LPS                               new material take off                                          Services           7,550.00   157,203.17
                              03/25/2022   Invoice   4005   LPS                               Material Take off                                              Services           8,500.00   165,703.17
                              04/04/2022   Invoice   4009   Henry Ramirez                     Stove                                                          Services          10,219.35   175,922.52
                              04/04/2022   Invoice   4008   Henry Ramirez                     Residential Foundation Bulkhead                                Services            690.00    176,612.52
                              04/04/2022   Invoice   4008   Henry Ramirez                     Residential Foundation Pier                                    Services           1,500.00   178,112.52
                              04/04/2022   Invoice   4008   Henry Ramirez                     Pumps                                                          Services           1,950.00   180,062.52
                              04/04/2022   Invoice   4009   Henry Ramirez                                                                                    Services   0.00               180,062.52
                              04/04/2022   Invoice   4008   Henry Ramirez                     Residential Crawlspace Footing                                 Services          10,440.00   190,502.52
                              04/04/2022   Invoice   4008   Henry Ramirez                     Residential Foundation Block Labor                             Services          15,756.00   206,258.52
                              04/18/2022   Invoice   4012   Jan Hronek                        Painters draw                                                  Services           2,000.00   208,258.52
                              04/18/2022   Invoice   4012   Jan Hronek                        Supply Hidden Door                                             Services           1,278.23   209,536.75
                              04/18/2022   Invoice   4013   Jan Hronek                        basement trim and interior doors                               Services            844.07    210,380.82
                              04/18/2022   Invoice   4012   Jan Hronek                        Flooring installer                                             Services           2,365.00   212,745.82




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                              04/25/2022   Invoice   4015   Henry Ramirez                     Framing Material                                               Services          13,196.78   225,942.60
                              04/25/2022   Invoice   4015   Henry Ramirez                     Framing Material                                               Services          14,482.08   240,424.68
                              04/25/2022   Invoice   4016   Henry Ramirez                     Adjusted Joist                                                 Services           6,054.02   246,478.70
                              04/25/2022   Invoice   4016   Henry Ramirez                     Rim Board for garage                                           Services            767.48    247,246.18
                              04/25/2022   Invoice   4016   Henry Ramirez                     Add on subfloor                                                Services           3,168.95   250,415.13
                              04/25/2022   Invoice   4014   Henry Ramirez                     Adj LVL                                                        Services            652.75    251,067.88
                              04/25/2022   Invoice   4014   Henry Ramirez                     Appliances                                                     Services           5,526.00   256,593.88
                              04/25/2022   Invoice   4014   Henry Ramirez                     Lumber Add                                                     Services          16,261.09   272,854.97
                              04/26/2022   Deposit          QuickBooks Payments               Electronic Deposit Intuit 70824505                             Services           6,487.30   279,342.27
                              04/29/2022   Invoice   4017   Henry Ramirez                     36 frpl wht herr ref pnl 12" idx 15-3/8 od ihp air cooled      Services           3,399.00   282,741.27
                              04/29/2022   Invoice   4017   Henry Ramirez                     50 frpl wht herr ref pnl 12 "in idx 15-3/8 od ihp air cooled   Services           3,749.00   286,490.27
                              04/29/2022   Invoice   4017   Henry Ramirez                     tax                                                            Services            661.19    287,151.46
                              05/08/2022   Invoice   4020   Pro Sales Manage Joel Chevrette   Detached Garage                                                Services           1,000.00   288,151.46
                              05/08/2022   Invoice   4020   Pro Sales Manage Joel Chevrette   Main House Lumber take off                                     Services           3,500.00   291,651.46
                              05/08/2022   Invoice   4019   Pro Sales Manage Joel Chevrette   Drywall and Insulation only                                    Services           2,750.00   294,401.46
                              05/08/2022   Invoice   4018   Pro Sales Manage Joel Chevrette   Unit A1, B1, B2, C1, A1-A, B1-A, and C1-A = 38,900 square ft   Services           4,550.00   298,951.46
                              05/08/2022   Invoice   4018   Pro Sales Manage Joel Chevrette   Leasing/Amenity, Breezeways = 7,135 square ft.                 Services           1,250.00   300,201.46
                              05/13/2022   Invoice   4021   Henry Ramirez                     Plumbing rough in                                              Services           6,500.00   306,701.46




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                                                                            Installation of Duct Work, 3.5 Ton Trane Package Gas Heat, Electric AC and all
                                                                            other material required to insure new home has functioning Heating and Cooling
                              05/18/2022   Invoice   4025   Henry Ramirez   system                                                                                 Services   11,489.00   318,190.46
                                                                            Cut Hole and Installation of Flex for Bathroom Exhaust Fan. Fan Supplied and
                              05/18/2022   Invoice   4025   Henry Ramirez   Installed By Customer.--Discharge through Soffit                                       Services     354.00    318,544.46
                              05/18/2022   Invoice   4025   Henry Ramirez   Hood Vent for Cooktop/Range                                                            Services     304.00    318,848.46
                              05/18/2022   Invoice   4026   Henry Ramirez   Add 5 Windows and 1 Door materials                                                     Services    6,861.03   325,709.49
                              05/18/2022   Invoice   4026   Henry Ramirez   Add 126 sqft in bonus room @ $75.00                                                    Services    9,450.00   335,159.49
                              05/18/2022   Invoice   4026   Henry Ramirez   Add 5 windows and 1 door labor @ $225.00                                               Services    1,350.00   336,509.49
                              05/18/2022   Invoice   4026   Henry Ramirez   Cabinet and counter top overage                                                        Services    5,613.39   342,122.88
                              05/18/2022   Invoice   4026   Henry Ramirez   Fire Place overage $5000.00 Allowence                                                  Services    2,806.00   344,928.88




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                                                                            Installed 63.5 sq of laminate shingles total. Installed ice and water barrier in all
                              05/18/2022   Invoice   4028   Henry Ramirez   valleys and transitions. Installed cobra ridge vent. Labor                             Services    4,945.00   349,873.88
                              05/18/2022   Invoice   4027   Henry Ramirez   80% Rough In Labor                                                                     Services   11,228.80   361,102.68
                              05/18/2022   Invoice   4027   Henry Ramirez   Temp electric rental                                                                   Services     500.00    361,602.68
                                                                            Installation of 1.5 Ton Trane Split System Heat Pump, Duct Work and all other
                              05/18/2022   Invoice   4025   Henry Ramirez   material required to insure new home has functioning heating and cooling system        Services    5,222.00   366,824.68
                                                                            Adds a 2 zone system to new construction for all systems with 5 tons or less.
                                                                            Service includes Jackson System Zone board with 2 programmable Honeywell
                              05/18/2022   Invoice   4025   Henry Ramirez   thermostats, 2-3 BZD dampers and wire to connect them.                                 Services    1,321.00   368,145.68
                                                                            Installation of Dryer Venting to include cap through wall, no block/ concrete
                              05/18/2022   Invoice   4025   Henry Ramirez   drilling and less than 5 ft                                                            Services      39.00    368,184.68
                              05/19/2022   Invoice   4029   Henry Ramirez   2-8-16 TOP CHOICE #2 SYP                                                               Services     315.18    368,499.86
                              05/19/2022   Invoice   4029   Henry Ramirez   2-6-10 TOP CHOICE KD WHI                                                               Services     465.66    368,965.52
                              05/19/2022   Invoice   4029   Henry Ramirez   9FT X 150FT LOWES HOUSEW                                                               Services     219.40    369,184.92
                              05/19/2022   Invoice   4029   Henry Ramirez   2-4-16 TC TREATED #2 PRI                                                               Services    1,864.72   371,049.64
                              05/19/2022   Invoice   4029   Henry Ramirez   D H2.5AZ HURR CLIP ZMAX                                                                Services     102.00    371,151.64




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                              05/19/2022   Invoice   4029   Henry Ramirez   7/16 CAT OSB SHEATHING                                                                 Services    8,189.92   379,341.56
                              05/19/2022   Invoice   4029   Henry Ramirez   2-10-10 TC TREATED #2 PR                                                               Services      47.16    379,388.72
                              05/19/2022   Invoice   4029   Henry Ramirez   2-10-16 TC TREATED #2 PR                                                               Services     146.32    379,535.04
                              05/19/2022   Invoice   4029   Henry Ramirez   2-6-16 TOP CHOICE KD WHI                                                               Services    1,840.00   381,375.04
                              05/19/2022   Invoice   4029   Henry Ramirez   2-10-10 TC TREATED #2 PR                                                               Services      47.14    381,422.18
                              05/19/2022   Invoice   4029   Henry Ramirez   2-10-16 TC TREATED #2 PR                                                               Services      73.16    381,495.34
                              05/19/2022   Invoice   4029   Henry Ramirez   2-6-16 TOP CHOICE KD WHI                                                               Services    2,297.92   383,793.26
                              05/19/2022   Invoice   4029   Henry Ramirez   2-4-16 TOP CHOICE KD WHI                                                               Services    3,338.00   387,131.26
                              05/19/2022   Invoice   4029   Henry Ramirez   APOC SB-1 ICE+WTR UNDRLY                                                               Services     130.50    387,261.76
                              05/19/2022   Invoice   4029   Henry Ramirez   STORMGUARD 2 SQ LEAK BAR                                                               Services     216.60    387,478.36
                              05/19/2022   Invoice   4029   Henry Ramirez   BOSTITCH 3/8 HD STAPLES                                                                Services        7.08   387,485.44
                              05/19/2022   Invoice   4029   Henry Ramirez   BOSTITCH 3/8-IN HD STAPL                                                               Services      14.52    387,499.96
                              05/19/2022   Invoice   4029   Henry Ramirez   BOSTITCH 1/4-IN HD STAPL                                                               Services        9.70   387,509.66




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                              05/19/2022   Invoice   4029   Henry Ramirez   1-1/4-INX0.12-GA SMTH EG                                                               Services     139.32    387,648.98
                              05/19/2022   Invoice   4029   Henry Ramirez   PRO-START STARTER STRIP                                                                Services     255.12    387,904.10
                              05/19/2022   Invoice   4029   Henry Ramirez   AIRVENT PEAK PERFORMER I                                                               Services     440.80    388,344.90
                              05/19/2022   Invoice   4029   Henry Ramirez   ROYAL SOVEREIGN CHARCOAL                                                               Services     408.78    388,753.68
                              05/19/2022   Invoice   4029   Henry Ramirez   GR SHINGLELAYMENT GRAY P                                                               Services     427.41    389,181.09
                              05/19/2022   Invoice   4029   Henry Ramirez   TL HDZ CHARCOAL                                                                        Services    4,260.60   393,441.69
                              05/19/2022   Invoice   4029   Henry Ramirez   2-6-16 TOP CHOICE KD WHI                                                               Services     748.16    394,189.85
                              05/19/2022   Invoice   4029   Henry Ramirez   2-6-16 TOP CHOICE KD WHI                                                               Services     374.08    394,563.93
                              05/31/2022   Invoice   4030   Henry Ramirez   Wood Framing Labor                                                                     Services   23,395.00   417,958.93
                              06/01/2022   Invoice   4031   Henry Ramirez   Plumbing fixtures                                                                      Services   10,358.97   428,317.90
                              06/09/2022   Invoice   4032   Henry Ramirez   HVAC Rough In                                                                          Services    7,728.80   436,046.70
                              06/13/2022   Invoice   4033   Henry Ramirez   Porches                                                                                Services    5,598.00   441,644.70
                              06/13/2022   Invoice   4033   Henry Ramirez   Garage                                                                                 Services    5,316.00   446,960.70
                              07/14/2022   Invoice   4034   Henry Ramirez   Hardwood floor material                                                                Services   19,875.00   466,835.70
                              07/27/2022   Invoice   4035   Henry Ramirez   Lowes 11515739                                                                         Services    2,190.68   469,026.38
                              07/27/2022   Invoice   4035   Henry Ramirez   Lowes 11489894                                                                         Services     790.13    469,816.51
                              07/27/2022   Invoice   4035   Henry Ramirez   Lowes 11448341                                                                         Services     304.88    470,121.39
                              07/27/2022   Invoice   4035   Henry Ramirez   Change Order fee for additional electrical requested by Henry                          Services     500.00    470,621.39
                              07/27/2022   Invoice   4035   Henry Ramirez   Lowes 11447949                                                                         Services     124.87    470,746.26




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                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11446658                                                        Services                314.33    471,060.59
                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11432708                                                        Services               4,532.39   475,592.98
                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11369881                                                        Services                290.07    475,883.05
                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11521579                                                        Services                363.80    476,246.85
                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11521590                                                        Services                771.58    477,018.43
                              07/27/2022   Invoice   4035    Henry Ramirez   Lowes 11522935                                                        Services                 50.77    477,069.20
                              07/27/2022   Invoice   4037    Henry Ramirez   drywall install and finish                                            Services              10,719.00   487,788.20
                              07/27/2022   Invoice   4036    Henry Ramirez   Insulation install                                                    Services               3,500.00   491,288.20
                              07/27/2022   Invoice   4036    Henry Ramirez   Foundation coating install                                            Services               1,000.00   492,288.20
                              07/27/2022   Invoice   4036    Henry Ramirez   Add electric outlet in master bath                                    Services                250.00    492,538.20




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                              08/03/2022   Invoice   4038    Henry Ramirez   Delta on floor materials                                              Services               4,145.80   496,684.00
                              08/03/2022   Invoice   4038    Henry Ramirez   Change Fee                                                            Services                500.00    497,184.00
                              08/11/2022   Invoice   4039    Henry Ramirez   Brick Labor                                                           Services               3,665.00   500,849.00
                              08/11/2022   Invoice   4039    Henry Ramirez   Brick Materials                                                       Services               4,428.90   505,277.90
                              08/30/2022   Invoice   4040    Henry Ramirez   Kenny Pipe tile                                                       Services               2,582.50   507,860.40
                              08/30/2022   Invoice   4040    Henry Ramirez   Tile pattern CO                                                       Services                500.00    508,360.40
                              08/30/2022   Invoice   4040    Henry Ramirez   Home Depot                                                            Services                462.84    508,823.24
                              08/30/2022   Invoice   4040    Henry Ramirez   Floor and decor                                                       Services               1,105.98   509,929.22
                              08/30/2022   Invoice   4041    Henry Ramirez   foundation drain                                                      Services                495.00    510,424.22
                              08/30/2022   Invoice   4041    Henry Ramirez   Bobcat                                                                Services               1,100.00   511,524.22
                              08/30/2022   Invoice   4041    Henry Ramirez   electric ditch to house                                               Services               2,300.00   513,824.22
                              08/30/2022   Invoice   4041    Henry Ramirez   Dozer work around Barn (extra)Home owner to pay with separate check   Services       0.00               513,824.22
                              08/30/2022   Invoice   4041    Henry Ramirez   Septic system (extra)Home owner to pay with separate check            Services       0.00               513,824.22
                              08/30/2022   Invoice   4041    Henry Ramirez   Electric ditch to barn (extra)Home owner to pay with separate check   Services       0.00               513,824.22




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                              08/30/2022   Invoice   4041    Henry Ramirez   Bobcat work Barn (extra) Home owner to pay with separate check        Services       0.00               513,824.22
                              08/30/2022   Invoice   4041    Henry Ramirez   Rock for barn (extra)Home owner to pay with separate check            Services       0.00               513,824.22
                              08/30/2022   Invoice   4040    Henry Ramirez   Lowes tile                                                            Services                297.70    514,121.92
                              09/05/2022   Invoice   4042    Henry Ramirez   Master Bath Faucet                                                    Services                878.00    514,999.92
                              09/05/2022   Invoice   4042    Henry Ramirez   Trim                                                                  Services               1,579.22   516,579.14
                              09/05/2022   Invoice   4042    Henry Ramirez   MDF for closets and Office                                            Services               1,089.22   517,668.36
                              09/05/2022   Invoice   4042    Henry Ramirez   Refund of Overpayment on fireplaces                                   Services   2,806.00               514,862.36
                              09/22/2022   Invoice   4047    Henry Ramirez   Tile installation                                                     Services               4,700.00   519,562.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Adition of back porch light                                           Services                500.00    520,062.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Change order fee                                                      Services                500.00    520,562.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Addition of shiplap in master bath behind vanity                      Services               1,250.00   521,812.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Addition of shiplap in Bath 2                                         Services                750.00    522,562.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Masterbath change order fee                                           Services                500.00    523,062.36




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                              09/22/2022   Invoice   4048    Henry Ramirez   Bath 2 change order fee                                               Services                500.00    523,562.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Extra plumbing for wet bar and dog wash                               Services                900.00    524,462.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Change order fee                                                      Services                500.00    524,962.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Elevation of all walls in house 1'                                    Services              17,500.00   542,462.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Change fee for elevation of walls                                     Services                500.00    542,962.36
                              09/22/2022   Invoice   4045    Keith Meadows   Consulting fee for GL Single Family                                   Services              10,000.00   552,962.36
                              09/22/2022   Invoice   4043    Keith Meadows   Consulting fee for GL townhomes                                       Services              10,000.00   562,962.36
                              09/22/2022   Invoice   4044    Keith Meadows   Consulting fee for GL Apartments                                      Services              10,000.00   572,962.36
                              09/22/2022   Invoice   4046    Keith Meadows   Consulting fee Lebanon TH                                             Services              10,000.00   582,962.36
                              09/22/2022   Invoice   4048    Henry Ramirez   Credit for counter tops                                               Services   9,000.00               573,962.36
                              10/06/2022   Invoice   4049    Henry Ramirez   Paint draw                                                            Services               6,000.00   579,962.36
                              10/06/2022   Invoice   4049    Henry Ramirez   Electric main service equipment                                       Services               3,057.64   583,020.00
                              10/06/2022   Invoice   4049    Henry Ramirez   Electric main service build                                           Services               2,500.00   585,520.00
                              10/06/2022   Invoice   4049    Henry Ramirez   fireplace cabinets                                                    Services               1,109.89   586,629.89
                              10/06/2022   Invoice   4049    Henry Ramirez   Trim Install                                                          Services              20,800.00   607,429.89
                              10/06/2022   Invoice   4049    Henry Ramirez   Siding Install                                                        Services              10,000.00   617,429.89
                              10/11/2022   Invoice   11111   Keith Meadows                                                                         Services              10,000.00   627,429.89
                              10/19/2022   Invoice   11112   Keith Meadows   Consulting Quartz                                                     Services              10,000.00   637,429.89
                              10/19/2022   Invoice   11112   Keith Meadows   Consulting Cabinet Doors                                              Services              30,000.00   667,429.89




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                              10/20/2022   Invoice   11113   Keith Meadows   Consulting                                                                                                                                  Services          15,000.00    682,429.89
                              11/11/2022   Invoice   11114   Keith Meadows   Consulting fee                                                                                                                              Services          24,000.00    706,429.89
                              11/17/2022   Invoice   11115   Henry Ramirez   Fireplace foundation (Extra)                                                                                                                Services           3,000.00    709,429.89
                              11/17/2022   Invoice   11115   Henry Ramirez   Paint Draw                                                                                                                                  Services          12,200.00    721,629.89
                              11/17/2022   Invoice   11115   Henry Ramirez   Concrete Drive way                                                                                                                          Services          20,000.00    741,629.89
                              11/17/2022   Invoice   11115   Henry Ramirez   Floor Install (Extra)                                                                                                                       Services           9,450.00    751,079.89
                              11/21/2022   Invoice   11116   Keith Meadows   Consulting Fees                                                                                                                             Services          40,000.00    791,079.89
                              12/21/2022   Invoice   11119   Keith Meadows   consulting                                                                                                                                  Services          20,000.00    811,079.89
                              12/21/2022   Invoice   11120   Keith Meadows   consulting                                                                                                                                  Services          20,000.00    831,079.89
                              12/21/2022   Invoice   11117   Keith Meadows   Consulting                                                                                                                                  Services          45,000.00    876,079.89




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                              12/21/2022   Invoice   11118   Keith Meadows   Consulting                                                                                                                                  Services          45,000.00    921,079.89
                              01/02/2023   Invoice   11123   JC              New siding                                                                                                                                  Services   0.00                921,079.89
                              01/02/2023   Invoice   11123   JC              siding refund                                                                                                                               Services   0.00                921,079.89
                              01/02/2023   Invoice   11123   JC              Appliances                                                                                                                                  Services   0.00                921,079.89
                              01/02/2023   Invoice   11123   JC              insulation refund                                                                                                                           Services   0.00                921,079.89
                              01/02/2023   Invoice   11123   JC              Drywall refund                                                                                                                              Services   0.00                921,079.89
                              01/02/2023   Invoice   11122   Henry Ramirez   Metal Roof/paint/plumbing trim out                                                                                                          Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   Installation of client supplied cabinet hardware. Budget exhausted prior to supplying of cabinet pulls                                      Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   Gravel for drive plus new rip rap for each side of culvert. Including under 10’ overhang on side of barn                                    Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   New gutters to match barn color trim                                                                                                        Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   N/C pantry door to match doors in house                                                                                                     Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   N/C pipe gutters out from house 10’ with pop up. This for all downspouts not in flower beds                                                 Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   Install 1500.00 of landscape selected by client included in original proposal                                                               Services   0.00                921,079.89




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                              01/07/2023   Invoice   11124   Henry Ramirez   Cabinets and counter tops that exceeded client budget. fireplace cabinets, pantry cabinets, mudroom cabinets, plus installation             Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   Custom built ins in master closet                                                                                                           Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   swapping out kitchen vent from customer ordered unit to a new 46" vent.                                                                     Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   swapping pipe in driveway from 2ea. 24" pipes to one 48" pipe                                                                               Services   0.00                921,079.89
                              01/07/2023   Invoice   11124   Henry Ramirez   Moving Fireplace after built where you wanted swapping from a gas fireplace to wood burning                                                 Services   0.00                921,079.89
                                                                             Quartz for cabinets by refridge. Client requested we fix his error by ordering counter tops to early before ready which resulted in piece
                              01/07/2023   Invoice   11124   Henry Ramirez   being 1" to short.                                                                                                                          Services   0.00                921,079.89
                                                                             Additional electrical installation. Lighting installed after inspection. Customer was told in April to supply lights and did not until
                              01/07/2023   Invoice   11124   Henry Ramirez   October/November.                                                                                                                           Services   0.00                921,079.89
                              01/31/2023   Invoice   11125   Henry Ramirez   Replacement bath fixtures                                                                                                                   Services   0.00                921,079.89
                              01/31/2023   Invoice   11125   Henry Ramirez   Turnkey fireplace tile inlay at fireplace                                                                                                   Services   0.00                921,079.89
                              01/31/2023   Invoice   11125   Henry Ramirez   Builder OH&P 20%                                                                                                                            Services   0.00                921,079.89
                              01/31/2023   Invoice   11125   Henry Ramirez   seeding around barn                                                                                                                         Services   0.00                921,079.89
                              01/31/2023   Invoice   11125   Henry Ramirez   credit for faucet return                                                                                                                    Services   0.00                921,079.89
                              02/07/2023   Invoice   11126   Keith Meadows                                                                                                                                               Services          39,500.00    960,579.89




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                              02/07/2023   Invoice   11127   Keith Meadows                                                                                                                                               Services          17,500.00    978,079.89
                              03/11/2023   Invoice   11128   Keith Meadows                                                                                                                                               Services          20,000.00    998,079.89
                              03/15/2023   Invoice   11129   Keith Meadows   Consulting fees                                                                                                                             Services          10,000.00 ##########
                              03/15/2023   Invoice   11129   Keith Meadows   Consulting Fees                                                                                                                             Services          10,000.00 ##########
                              03/15/2023   Invoice   11129   Keith Meadows   Consulting Fees                                                                                                                             Services          33,000.00 ##########
                              03/31/2023   Invoice   11130   Henry Ramirez                                                                                                                                               Services   0.00               ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Building Permit                                                                                                                             Services           5,193.85 ##########
                              04/21/2023   Invoice   11131   Keith Meadows   Consulting                                                                                                                                  Services          23,125.00 ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Driveway Permit                                                                                                                             Services            450.00 ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Septic Permit                                                                                                                               Services            500.00 ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Survey                                                                                                                                      Services            575.00 ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Water Tap                                                                                                                                   Services           2,000.00 ##########
                              04/21/2023   Invoice   11132   Keith Meadows   Lot Clearing/Building Pad                                                                                                                   Services          15,000.00 ##########
                              05/18/2023   Invoice   11133   Keith Meadows   Consulting                                                                                                                                  Services          10,000.00 ##########
                              05/18/2023   Invoice   11133   Keith Meadows   Consulting                                                                                                                                  Services           4,600.00 ##########
                              05/18/2023   Invoice   11133   Keith Meadows   Consulting                                                                                                                                  Services           6,500.00 ##########
                              05/18/2023   Invoice   11133   Keith Meadows   Consulting                                                                                                                                  Services           5,000.00 ##########
                              05/18/2023   Invoice   11133   Keith Meadows   Consulting                                                                                                                                  Services           4,353.00 ##########
                              06/07/2023   Invoice   11134   Keith Meadows   Consulting                                                                                                                                  Services          30,000.00 ##########




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                                                              06/19/2023   Invoice   11135   Keith Meadows   Framing Materials                                                                                         Services                                                         28,500.00 ##########
                                                              06/19/2023   Invoice   11135   Keith Meadows   Block Labor                                                                                               Services                                                          4,500.00 ##########
                                                              06/19/2023   Invoice   11135   Keith Meadows   Framing Labor                                                                                             Services                                                         21,736.00 ##########
                                                              06/19/2023   Invoice   11135   Keith Meadows   Footing                                                                                                   Services                                                         12,000.00 ##########
                                                              06/19/2023   Invoice   11135   Keith Meadows   Block Material                                                                                            Services                                                          9,500.00 ##########
                                                              06/21/2023   Invoice   11136   Keith Meadows   Counter Top Consulting                                                                                    Services                                                         45,000.00 ##########
                                                              06/27/2023   Invoice   11137   Keith Meadows   SF                                                                                                        Services                                                         68,062.00 ##########
                                                              06/27/2023   Invoice   11137   Keith Meadows   Aptment                                                                                                   Services                                                        165,600.00 ##########
                                                              06/27/2023   Invoice   11137   Keith Meadows   TH                                                                                                        Services                                                         93,250.00 ##########
                                                              07/28/2023   Invoice   11138   Keith Meadows                                                                                                             Services                                                         50,000.00 ##########




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                                                              08/09/2023   Invoice   11139   Keith Meadows   House construction                                                                                        Services                                                         50,000.00 ##########
                                                              08/25/2023   Invoice   11140   Keith Meadows                                                                                                             Services                                                         50,000.00 ##########
                                                              09/12/2023   Invoice   11141   Keith Meadows   Materials and Labor for Spec Home                                                                         Services                                                         60,000.00 ##########
                              Total for Services                                                                                                                                                                                                                   $   11,806.00   $ 1,828,330.74
                              Cost of goods sold
                                                              02/22/2022   Expense                           Debit Purchase -visa Card 8483jose's Greenbrier Tn                                                        Cost of goods sold                                  44.79                         44.79
                                                              03/14/2022   Expense                           Debit Purchase -visa Card 8483jose's Greenbrier Tn                                                        Cost of goods sold                                  47.81                         92.60
                                                              03/21/2022   Expense                           Debit Purchase -visa Card 8491bf Myers Furnitu615-8591301 Tn                                              Cost of goods sold                               2,254.72                      2,347.32
                                                              04/29/2022   Expense                           ATM/POS PURCHASE Card Ending: 5155 MASTER MART GOODLETTSVILL TN                                           Cost of goods sold                                  11.23                      2,358.55
                                                                                                             ACH WITHDRAWAL SEC CODE: WEB Trace Number: 051402370001243 ID: VOLUNTEER BUSINESS CHE Cruzplumbing UNIT
                                                              05/13/2022   Expense           Cruz Plumbing   INV 182                                                                                                   Cost of goods sold                               6,500.00                      8,858.55
                               Total for Cost of goods sold                                                                                                                                                                                                        $    8,858.55
                               Subcontractor expenses
                                                              10/27/2021   Expense                           WITHDRAWAL / CASHED CHECK #                                                                               Cost of goods sold:Subcontractor expenses        1,928.00                      1,928.00




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                                                              10/27/2021   Expense                           WITHDRAWAL / CASHED CHECK #                                                                               Cost of goods sold:Subcontractor expenses         160.00                       2,088.00
                                                              10/28/2021   Expense   500                     WITHDRAWAL / CASHED CHECK #500                                                                            Cost of goods sold:Subcontractor expenses        2,400.00                      4,488.00
                                                              10/29/2021   Check     5                       CHECK #501                                                                                                Cost of goods sold:Subcontractor expenses        1,200.00                      5,688.00
                                                              11/02/2021   Check     4                       CHECK #502                                                                                                Cost of goods sold:Subcontractor expenses        9,000.00                     14,688.00
                                                              11/08/2021   Check     3                       CHECK #1001                                                                                               Cost of goods sold:Subcontractor expenses        1,000.00                     15,688.00
                                                              11/09/2021   Check     2                       CHECK #1003                                                                                               Cost of goods sold:Subcontractor expenses        1,900.00                     17,588.00
                                                              11/15/2021   Check                             CHECK #500                                                                                                Cost of goods sold:Subcontractor expenses        3,610.00                     21,198.00
                                                              11/15/2021   Check     1005                    CHECK #1005                                                                                               Cost of goods sold:Subcontractor expenses        2,500.00                     23,698.00
                                                              11/16/2021   Check     1006                    CHECK #1006                                                                                               Cost of goods sold:Subcontractor expenses        1,550.00                     25,248.00
                                                              01/10/2022   Check     1015                    CHECK #1015                                                                                               Cost of goods sold:Subcontractor expenses         163.28                      25,411.28
                                                              01/14/2022   Check     501                     CHECK #501                                                                                                Cost of goods sold:Subcontractor expenses         700.00                      26,111.28
                                                              01/20/2022   Check     1014                    CHECK #1014                                                                                               Cost of goods sold:Subcontractor expenses         500.00                      26,611.28
                                                              01/31/2022   Expense                           Signed POS One Time Purchase Card Ending: 5155 EDWIN WATT S GOLF #111 NASHVILLE TN                        Cost of goods sold:Subcontractor expenses         860.86                      27,472.14
                                                              01/31/2022   Check     1017                    CHECK #1017                                                                                               Cost of goods sold:Subcontractor expenses       14,091.00                     41,563.14




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                                                              02/02/2022   Check     1021                    CHECK #1021                                                                                               Cost of goods sold:Subcontractor expenses        4,515.00                     46,078.14
                                                              02/02/2022   Check     1020                    CHECK #1020                                                                                               Cost of goods sold:Subcontractor expenses        9,000.00                     55,078.14
                                                              02/03/2022   Expense                           WITHDRAWAL / CASHED CHECK #                                                                               Cost of goods sold:Subcontractor expenses        6,500.00                     61,578.14
                                                              02/07/2022   Check     1025                    CHECK #1025                                                                                               Cost of goods sold:Subcontractor expenses       11,000.00                     72,578.14
                                                              02/08/2022   Check     1022                    CHECK #1022                                                                                               Cost of goods sold:Subcontractor expenses        8,910.00                     81,488.14
                                                              02/08/2022   Check     1024                    CHECK #1024                                                                                               Cost of goods sold:Subcontractor expenses        1,250.00                     82,738.14
                                                              02/09/2022   Check     1018                    CHECK #1018                                                                                               Cost of goods sold:Subcontractor expenses       20,000.00                    102,738.14
                                                              02/09/2022   Check     1023                    CHECK #1023                                                                                               Cost of goods sold:Subcontractor expenses        3,500.00                    106,238.14
                                                              02/11/2022   Check     1027                    CHECK #1027                                                                                               Cost of goods sold:Subcontractor expenses        1,200.00                    107,438.14
                                                              02/28/2022   Check     1026                    CHECK #1026                                                                                               Cost of goods sold:Subcontractor expenses        1,100.00                    108,538.14
                                                              03/01/2022   Check     1028                    CHECK #1028                                                                                               Cost of goods sold:Subcontractor expenses        1,500.00                    110,038.14
                                                              03/01/2022   Check     502                     CHECK #502                                                                                                Cost of goods sold:Subcontractor expenses        4,291.66                    114,329.80
                                                              03/03/2022   Check     1001                    Check 1001                                                                                                Cost of goods sold:Subcontractor expenses        8,167.50                    122,497.30
                                                              03/04/2022   Check     1030                    CHECK #1030                                                                                               Cost of goods sold:Subcontractor expenses         350.00                     122,847.30
                                                              03/07/2022   Check     1029                    CHECK #1029                                                                                               Cost of goods sold:Subcontractor expenses       30,955.00                    153,802.30
                                                              03/08/2022   Check     1031                    CHECK #1031                                                                                               Cost of goods sold:Subcontractor expenses        4,831.37                    158,633.67
                                                              03/10/2022   Check     1002                    Check 1002                                                                                                Cost of goods sold:Subcontractor expenses        1,000.00                    159,633.67
                                                              03/15/2022   Check     1032                    CHECK #1032                                                                                               Cost of goods sold:Subcontractor expenses         500.00                     160,133.67
                                                              03/24/2022   Expense                           ATM/POS PURCHASE Card Ending: 5155 Edwin Wat Edwin Watt's Nashville TN                                    Cost of goods sold:Subcontractor expenses        1,495.00                    161,628.67




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                                                                               03/28/2022   Check     5001                          Check 5001                                                                                                   Cost of goods sold:Subcontractor expenses         2,500.00   164,128.67
                                                                               04/04/2022   Expense                                 WITHDRAWAL / CASHED CHECK #                                                                                  Cost of goods sold:Subcontractor expenses        10,000.00   174,128.67
                                                                               04/06/2022   Check     1004                          Check 1004                                                                                                   Cost of goods sold:Subcontractor expenses          500.00    174,628.67
                                                                               04/08/2022   Check     1005                          Check 1005                                                                                                   Cost of goods sold:Subcontractor expenses         2,000.00   176,628.67
                                                                               04/19/2022   Check     1006                          Check 1006                                                                                                   Cost of goods sold:Subcontractor expenses         2,365.00   178,993.67
                                                                               04/20/2022   Check     1037                          CHECK #1037                                                                                                  Cost of goods sold:Subcontractor expenses        20,000.00   198,993.67
                                                                               05/03/2022   Check     1040                          CHECK #1040                                                                                                  Cost of goods sold:Subcontractor expenses         1,952.19   200,945.86
                                                                               05/04/2022   Check     1007                          Check 1007                                                                                                   Cost of goods sold:Subcontractor expenses        59,000.00   259,945.86
                                                                               05/09/2022   Check     1003                          Check 1003                                                                                                   Cost of goods sold:Subcontractor expenses         3,000.00   262,945.86
                                                                               05/19/2022   Check     1008                          Check 1008                                                                                                   Cost of goods sold:Subcontractor expenses         2,000.00   264,945.86




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                                                                               05/20/2022   Check     1009                          Check 1009                                                                                                   Cost of goods sold:Subcontractor expenses        11,728.80   276,674.66
                                                                               05/20/2022   Check     1010                          Check 1010                                                                                                   Cost of goods sold:Subcontractor expenses         4,945.00   281,619.66
                               Total for Subcontractor expenses                                                                                                                                                                                                                              $   281,619.66
                               Supplies & materials
                                                                               03/11/2022   Expense          Lowe's                 Debit Purchase Card 8483lowe's #1747 Springfield Tn                                                          Cost of goods sold:Supplies & materials              34.48        34.48
                                                                               03/15/2022   Expense          Lowe's                 Debit Purchase Card 8483lowe's #1747 Springfield Tn                                                          Cost of goods sold:Supplies & materials            566.55       601.03
                                                                               03/17/2022   Expense          Lowe's                 Debit Purchase Card 8483lowe's #1747 Springfield Tn                                                          Cost of goods sold:Supplies & materials            260.27       861.30
                                                                               03/18/2022   Expense          Lowe's                 Debit Purchase Card 8483lowe's #2851 Nashville Tn                                                            Cost of goods sold:Supplies & materials            513.19      1,374.49
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000027396843 ID: 000000171858260 Will Shore MAINTENANCE SUPP
                                                                               04/01/2022   Expense                                 BT0331                                                                                                       Cost of goods sold:Supplies & materials          22,082.73    23,457.22
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000024627480 ID: 000000172952920 Will Shore MAINTENANCE SUPP
                                                                               04/11/2022   Expense                                 BT0408                                                                                                       Cost of goods sold:Supplies & materials          17,015.25    40,472.47
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026614969 ID: 000000173620376 Will Shore MAINTENANCE SUPP
                                                                               04/15/2022   Expense                                 BT0414                                                                                                       Cost of goods sold:Supplies & materials          17,348.78    57,821.25
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026395993 ID: 000000174475132 Will Shore MAINTENANCE SUPP
                                                                               04/25/2022   Expense                                 BT0422                                                                                                       Cost of goods sold:Supplies & materials              57.20    57,878.45




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                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000020761957 ID: 000000175729090 Will Shore MAINTENANCE SUPP
                                                                               05/05/2022   Expense                                 BT0504                                                                                                       Cost of goods sold:Supplies & materials           3,508.26    61,386.71
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000025542914 ID: 000000176110078 Will Shore MAINTENANCE SUPP
                                                                               05/06/2022   Expense          Lowe's                 BT0505                                                                                                       Cost of goods sold:Supplies & materials            505.24     61,891.95
                                                                               05/09/2022   Expense          Lowe's                 Debit Purchase Card 8483lowe's #1747 Springfield Tn                                                          Cost of goods sold:Supplies & materials            444.87     62,336.82
                                                                                                                                    ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021031472 ID: 000000175855196 Will Shore MAINTENANCE SUPP
                                                                               05/10/2022   Expense          Lowe's                 BT0509                                                                                                       Cost of goods sold:Supplies & materials          50,851.06   113,187.88
                                                                               05/12/2022   Expense                                 Debit Purchase -visa Card 8483kenny Pipe And S615-2444980 Tn                                                 Cost of goods sold:Supplies & materials            932.15    114,120.03
                                                                               05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 MAPCO 3066 GOODLETTSVILL TN                                               Cost of goods sold:Supplies & materials               8.92   114,128.95
                                                                               05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 GLF*THELEGACY SPRINGFIELD TN                                              Cost of goods sold:Supplies & materials             180.86   114,309.81
                                                                               05/16/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 MAPCO 1028 CROSS PLAINS TN                                                Cost of goods sold:Supplies & materials               2.66   114,312.47
                                                                               05/17/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 HUFFS THOMPSONS STN TN                                                    Cost of goods sold:Supplies & materials              73.14   114,385.61
                               Total for Supplies & materials                                                                                                                                                                                                                                $   114,385.61
                              Total for Cost of goods sold with sub-accounts                                                                                                                                                                                                                 $   404,863.82




Filed 03/03/25
                              Advertising & marketing
                                                                               03/21/2022   Expense                                 Check Printing Charge 220318check/acc.8410216800 Ppd                                                         Advertising & marketing                              18.00        18.00
                                                                               03/21/2022   Expense                                 Check Printing Charge 220318check/acc.8410216800 Ppd                                                         Advertising & marketing                              18.00        36.00
                              Total for Advertising & marketing                                                                                                                                                                                                                              $        36.00
                              Commissions & fees
                                                                               03/08/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usbo1lq9szm8                                                               Commissions & fees                                2,100.00     2,100.00
                                                                               03/14/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usbtdxi9u8kk                                                               Commissions & fees                                7,000.00     9,100.00
                                                                               03/14/2022   Expense                                 Zelle Standard Pmt To Dean Bingham Usb3r569uojb                                                              Commissions & fees                                3,000.00    12,100.00
                                                                               03/16/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usbieo29vec6                                                               Commissions & fees                                3,050.00    15,150.00
                                                                               03/22/2022   Expense                                 Zelle Instant Pmt To Frank Perez Usbfipu9wwkq                                                                Commissions & fees                                1,200.00    16,350.00
                                                                               03/23/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usbx46a9xdsh                                                               Commissions & fees                                5,000.00    21,350.00
                                                                               03/28/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usbc5mx9y5gr                                                               Commissions & fees                                4,700.00    26,050.00
                                                                               05/02/2022   Expense                                 Zelle Instant Pmt To Dean Bingham Usb3rlt9i1gu                                                               Commissions & fees                                6,800.00    32,850.00
                              Total for Commissions & fees                                                                                                                                                                                                                                   $    32,850.00
                              Contract labor
                                                                               04/27/2022   Check     2000   Legacy Concrete, LLC   Raimeriz Block                                                                                               Contract labor                                   30,336.00    30,336.00
                              Total for Contract labor                                                                                                                                                                                                                                       $    30,336.00
                              Entertainment with clients
                                                                               03/18/2022   Expense                                 Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn                                                  Entertainment with clients                           36.18        36.18




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                                                                       03/22/2022   Expense                   Debit Purchase -visa Card 8483golf Galaxy # 40brentwood Tn                                                   Entertainment with clients                                   307.25     343.43
                                                                       03/28/2022   Expense                   Debit Purchase -visa Card 8483glf*thelegacy Springfield Tn                                                   Entertainment with clients                                    17.25     360.68
                                                                       05/16/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 EL MOLCAJETE MEXICAN R SPRINGFIELD TN                         Entertainment with clients                                    97.35     458.03
                                                                       05/17/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 GOLF GALAXY # 40 BRENTWOOD TN                                 Entertainment with clients                                   724.18    1,182.21
                              Total for Entertainment with clients                                                                                                                                                                                                                 $   1,182.21
                              General business expenses
                               Bank fees & service charges
                                                                       10/21/2021   Expense                   ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000028271075 ID: JWSC LLC Square Inc SDV-VRFY                  General business expenses:Bank fees & service charges           0.01       0.01
                                                                       11/01/2021   Expense                   ATM FOREIGN FEE Card Ending: 5155 WDRL FEE 3519 TOM AUST 3519 SPRINGFIELD TN                                 General business expenses:Bank fees & service charges           1.00       1.01
                                                                       11/04/2021   Expense                   ATM FOREIGN FEE Card Ending: 5155 WDRL FEE 1736 CAROTHER 1736 BRENTWOOD TN                                   General business expenses:Bank fees & service charges           1.00       2.01




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                                                                       11/08/2021   Expense                   ATM FOREIGN FEE Card Ending: 5155 WDRL FEE SPRINGFIELD T SPRI Springfield TN                                 General business expenses:Bank fees & service charges           1.00       3.01
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021199783 ID: 000000156662404 Will Shore MAINTENANCE SUPP
                                                                       11/09/2021   Expense                   BT1108                                                                                                       General business expenses:Bank fees & service charges       2,601.42   2,604.43
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021343016 ID: 000000164060169 Will Shore MAINTENANCE SUPP
                                                                       01/20/2022   Expense                   BT0119                                                                                                       General business expenses:Bank fees & service charges       3,724.63   6,329.06
                                                                       01/31/2022   Expense                   NET SERVICE CHARGE                                                                                           General business expenses:Bank fees & service charges         12.00    6,341.06
                                                                       04/06/2022   Expense                   ATM FOREIGN FEE Card Ending: 5155 WDRL FEE Twice Daily 6 1732 BRENTWOOD TN                                   General business expenses:Bank fees & service charges           1.00   6,342.06
                                                                       04/14/2022   Expense                   Analysis Service Charge                                                                                      General business expenses:Bank fees & service charges         15.00    6,357.06
                                                                       05/23/2022   Expense                   International Processing Fee Card 8483                                                                       General business expenses:Bank fees & service charges           1.19   6,358.25
                               Total for Bank fees & service charges                                                                                                                                                                                                               $   6,358.25
                               Memberships & subscriptions
                                                                       02/22/2022   Expense                   Signed POS Recurring purchase Card Ending: 5155 GOOGLE *Domains g.co/helppay# CA                             General business expenses:Memberships & subscriptions         13.17      13.17
                               Total for Memberships & subscriptions                                                                                                                                                                                                               $     13.17
                              Total for General business expenses                                                                                                                                                                                                                  $   6,371.42
                              Legal & accounting services




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                               Accounting fees
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000024489607 ID: 524771992569493 JWSC LLC. INTUIT 82226085
                                                                       10/25/2021   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                     0.05       0.05
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000027819366 ID: 524771992569493 JWSC LLC. INTUIT 04367005
                                                                       10/29/2021   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                  159.75     159.80
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000021302252 ID: 524771992569493 JWSC LLC. INTUIT 37387615
                                                                       11/04/2021   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                  212.68     372.48
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000029572883 ID: 524771992569493 JWSC LLC. INTUIT 84093465
                                                                       04/01/2022   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                   10.00     382.48
                                                                       04/07/2022   Expense                   ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000028225641 ID: NATHAN HOLDEN 18004INTUIT CHECKS / F          Legal & accounting services:Accounting fees                   40.95     423.43
                                                                       04/08/2022   Expense                   ACH WITHDRAWAL SEC CODE: WEB Trace Number: 021000024130287 ID: NATHAN HOLDEN 18004INTUIT CHECKS / F          Legal & accounting services:Accounting fees                   88.52     511.95
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000026854533 ID: 524771992569493 JWSC LLC. INTUIT 51460615
                                                                       04/11/2022   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                   10.00     521.95
                                                                                                              ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000029444120 ID: 524771992569493 JWSC LLC. INTUIT 63428015
                                                                       04/13/2022   Expense                   TRAN FEE                                                                                                     Legal & accounting services:Accounting fees                   10.00     531.95
                                                                       05/04/2022   Expense   Nathan Holden   Zelle Instant Pmt To Nathan Holden Usbdm06bp5qq                                                              Legal & accounting services:Accounting fees                  500.00    1,031.95




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                               Total for Accounting fees                                                                                                                                                                                                                           $   1,031.95
                              Total for Legal & accounting services                                                                                                                                                                                                                $   1,031.95
                              Meals
                                                                       11/03/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                         17.44      17.44
                                                                       11/10/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                         11.63      29.07
                                                                       11/12/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F26248 SPRINGFIELD TN                              Meals                                                           9.30     38.37
                                                                       11/12/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 RED LOBSTER 0045 MADISON TN                                   Meals                                                         67.48     105.85
                                                                       11/15/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 BOJANGLES 1304 SPRINGFIELD TN                                 Meals                                                           4.81    110.66
                                                                       11/15/2021   Expense                   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F20810 FRANKLIN TN                                 Meals                                                           7.65    118.31
                                                                       11/16/2021   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                         38.45     156.76
                                                                       01/11/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             Meals                                                           8.77    165.53
                                                                       01/11/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 ARBY'S 8141 SPRING HILL TN                                    Meals                                                         21.05     186.58
                                                                       01/13/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 CHILIS SPRING HILL SPRING HILL TN                             Meals                                                          53.00    239.58
                                                                       01/14/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                          29.94    269.52
                                                                       01/18/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN                             Meals                                                           7.78    277.30
                                                                       01/31/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 THE LEGACY GOLF COURSE SPRINGFIELD TN                         Meals                                                        265.14     542.44
                                                                       01/31/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                          35.09    577.53
                                                                       02/07/2022   Expense                   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                                            Meals                                                          15.92    593.45
                                                                       02/07/2022   Expense                   Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN                                Meals                                                           8.53    601.98




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                              02/08/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #272303 GREENBRIER TN     Meals    15.34    617.32
                              02/10/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 CHICK-FIL-A #01220 FRANKLIN TN            Meals    11.14    628.46
                              02/17/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    43.92    672.38
                              02/17/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                          Meals    25.01    697.39
                              02/17/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    11.29    708.68
                              02/18/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals     9.98    718.66
                              02/18/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        Meals    37.73    756.39
                              02/22/2022   Expense   Debit Purchase -visa Card 8483olive Garden 002madison Tn                                 Meals    10.59    766.98
                              02/22/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        Meals    24.21    791.19
                              02/22/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MAPCO 3066 GOODLETTSVILL TN               Meals     7.09    798.28




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                              02/23/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        Meals    34.78    833.06
                              02/24/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals     9.98    843.04
                              02/28/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                              Meals     3.50    846.54
                              02/28/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                              Meals     5.70    852.24
                              02/28/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        Meals    36.41    888.65
                              02/28/2022   Expense   Debit Purchase -visa Card 8483hardees 1501845 Springfield Tn                             Meals    17.20    905.85
                              03/01/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 POPEYES 13017 COLUMBIA TN                 Meals     8.11    913.96
                              03/01/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 PHILLIPS 66 - SWIFT ST GOODLETTSVILL TN   Meals     9.24    923.20
                              03/02/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 OCHARLEYS388SPRGFLD SPRINGFIELD TN        Meals    47.40    970.60
                              03/03/2022   Expense   Debit Purchase -visa Card 8483chick-fil-a #012franklin Tn                                Meals    10.74    981.34
                              03/03/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN         Meals     9.98    991.32
                              03/03/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                              Meals     6.79    998.11
                              03/04/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    39.40   1,037.51
                              03/07/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #687309 SPRINGFIELD TN    Meals    19.94   1,057.45




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                              03/07/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    20.79   1,078.24
                              03/07/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                        Meals    39.40   1,117.64
                              03/09/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN         Meals    12.16   1,129.80
                              03/10/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    38.19   1,167.99
                              03/11/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                             Meals    11.61   1,179.60
                              03/14/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals    11.94   1,191.54
                              03/14/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    12.58   1,204.12
                              03/16/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    12.27   1,216.39
                              03/17/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #springfield Tn                             Meals     9.10   1,225.49
                              03/18/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals    11.61   1,237.10
                              03/18/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    46.89   1,283.99
                              03/21/2022   Expense   Debit Purchase -visa Card 8483mcdonald's F2081franklin Tn                                Meals    11.72   1,295.71
                              03/21/2022   Expense   Debit Purchase -visa Card 8483isenhour Door Nashville Tn                                 Meals   306.06   1,601.77




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                              03/21/2022   Expense   Debit Purchase -visa Card 8483the Chop House Hhendersonviltn                             Meals   343.63   1,945.40
                              03/21/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F26248 SPRINGFIELD TN          Meals    10.40   1,955.80
                              03/21/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                              Meals     5.70   1,961.50
                              03/22/2022   Expense   Debit Purchase -visa Card 8483grannys Brier Pagreenbrier Tn                              Meals    40.56   2,002.06
                              03/22/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals    11.94   2,014.00
                              03/22/2022   Expense   Debit Purchase -visa Card 8483chili's Cool Sprfranklin Tn                                Meals    31.38   2,045.38
                              03/23/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    26.17   2,071.55
                              03/23/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                          Meals    23.57   2,095.12
                              03/23/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    66.47   2,161.59
                              03/24/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F11612 NASHVILLE TN            Meals    11.45   2,173.04
                              03/24/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 3471-LOGAN S ROADHOUSE SPRING HILL TN     Meals    51.29   2,224.33
                              03/24/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN         Meals    11.61   2,235.94
                              03/25/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    26.34   2,262.28
                              03/28/2022   Expense   Debit Purchase -visa Card 8483reg Indian Lake Hendersonviltn                             Meals    25.31   2,287.59
                              03/28/2022   Expense   Debit Purchase -visa Card 8483hardees 1501805 Goodlettsvlltn                             Meals    12.00   2,299.59
                              03/28/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    21.97   2,321.56
                              03/29/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                               Meals     8.88   2,330.44
                              03/30/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                               Meals    12.58   2,343.02
                              03/31/2022   Expense   Debit Purchase -visa Card 8483bojangles 1304 Springfield Tn                              Meals     5.25   2,348.27




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                              03/31/2022   Expense   Debit Purchase -visa Card 8483tst* Ejs White House Tn                                   Meals     32.11    2,380.38
                              04/04/2022   Expense   Debit Purchase -visa Card 8483burger King #277greenbrier Tn                             Meals     13.27    2,393.65
                              04/04/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                         Meals       2.29   2,395.94
                              04/04/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     21.97    2,417.91
                              04/05/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #brentwood Tn                              Meals       9.98   2,427.89
                              04/07/2022   Expense   Debit Purchase -visa Card 8483mcdonald's F7426goodlettsviltn                            Meals     11.12    2,439.01
                              04/07/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     10.25    2,449.26
                              04/11/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     36.78    2,486.04
                              04/11/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     28.66    2,514.70
                              04/11/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     72.31    2,587.01




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                              04/13/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 WENDYS 644 FRANKLIN TN                   Meals     15.23    2,602.24
                              04/14/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 CROSSROADS IGA GREENBRIER TN                         Meals     15.62    2,617.86
                              04/18/2022   Expense   Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                               Meals     42.71    2,660.57
                              04/18/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 CROSSROADS IGA #759 GREENBRIER TN        Meals       6.32   2,666.89
                              04/20/2022   Expense   Debit Purchase -visa Card 8483the Butcher Blocfranklin Tn                               Meals     55.45    2,722.34
                              04/20/2022   Expense   Debit Purchase -visa Card 8483tin Roof 2 Franklin Tn                                    Meals     52.91    2,775.25
                              04/20/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                             Meals     23.52    2,798.77
                              04/20/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F13418 FRANKLIN TN            Meals     11.38    2,810.15
                              04/21/2022   Expense   Debit Purchase -visa Card 8483crossroads Iga #greenbrier Tn                             Meals     10.03    2,820.18
                              04/21/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     16.84    2,837.02
                              04/25/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     25.55    2,862.57
                              04/27/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     18.24    2,880.81
                              04/27/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     40.71    2,921.52
                              04/29/2022   Expense   Debit Purchase -visa Card 8483mcdonald's F2624springfield Tn                            Meals     17.30    2,938.82




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                              04/29/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #684315 SPRINGFIELD TN   Meals       2.40   2,941.22
                              05/02/2022   Expense   Debit Purchase -visa Card 8483the Hearth & Grinashville Tn                              Meals   5,857.00   8,798.22
                              05/02/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #springfield Tn                            Meals       8.55   8,806.77
                              05/02/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 BOJANGLES 1304 SPRINGFIELD TN            Meals     19.23    8,826.00
                              05/03/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     22.79    8,848.79
                              05/03/2022   Expense   Debit Purchase -visa Card 8483mcdonald's F3656spring Hill Tn                            Meals     14.22    8,863.01
                              05/04/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #nashville Tn                              Meals       8.07   8,871.08
                              05/05/2022   Expense   Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                               Meals     29.44    8,900.52
                              05/05/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     14.50    8,915.02
                              05/06/2022   Expense   Debit Purchase -visa Card 8483arigato. Nashville Tn                                     Meals     25.73    8,940.75
                              05/06/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     53.79    8,994.54
                              05/06/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     24.19    9,018.73
                              05/06/2022   Expense   Debit Purchase -visa Card 8483burger King #277greenbrier Tn                             Meals     13.15    9,031.88




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                              05/09/2022   Expense   Debit Purchase -visa Card 8483wendys 623 Nashville Tn                                   Meals     11.67    9,043.55
                              05/09/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                            Meals     11.61    9,055.16
                              05/09/2022   Expense   Debit Purchase -visa Card 8483terrys Market Cross Plainstn                              Meals       8.83   9,063.99
                              05/10/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     17.34    9,081.33
                              05/11/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     40.50    9,121.83
                              05/11/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                            Meals       9.98   9,131.81
                              05/12/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                              Meals     14.50    9,146.31
                              05/12/2022   Expense   Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn                             Meals     28.00    9,174.31
                              05/12/2022   Expense   Debit Purchase -visa Card 8483sad Sams Cross Plainstn                                   Meals       6.99   9,181.30
                              05/12/2022   Expense   Debit Purchase -visa Card 8483arby's 8141 Spring Hill Tn                                Meals     10.74    9,192.04
                              05/12/2022   Expense   Debit Purchase -visa Card 8483glf*towheeclub Spring Hill Tn                             Meals    133.16    9,325.20
                              05/12/2022   Expense   Debit Purchase -visa Card 8483sonic #3576 Greenbrier Tn                                 Meals     11.94    9,337.14
                              05/13/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     22.01    9,359.15
                              05/13/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 NNT BURGER KING #682314 SPRINGFIELD TN   Meals       8.42   9,367.57
                              05/13/2022   Expense   Debit Purchase -visa Card 8483sonic Drive In #spring Hill Tn                            Meals       9.98   9,377.55
                              05/16/2022   Expense   Debit Purchase -visa Card 8483burger King #277greenbrier Tn                             Meals       8.88   9,386.43
                              05/16/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                        Meals       6.55   9,392.98
                              05/16/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN           Meals     19.83    9,412.81
                              05/16/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                       Meals     47.35    9,460.16




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                              05/16/2022   Expense   Debit Purchase -visa Card 8483tonys Eat And Drfranklin Tn                            Meals    57.79    9,517.95
                              05/17/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 HARDEES 1501845 SPRINGFIELD TN        Meals    20.70    9,538.65
                              05/17/2022   Expense   Debit Purchase Card 8483huffs Thompsons Sttn                                         Meals     7.11    9,545.76
                              05/17/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 CHILIS SPRING HILL SPRING HILL TN     Meals    60.71    9,606.47
                              05/17/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                    Meals    18.63    9,625.10
                              05/18/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                     Meals     8.64    9,633.74
                              05/19/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                    Meals    19.69    9,653.43
                              05/19/2022   Expense   Debit Purchase -visa Card 8483chick-fil-a #042franklin Tn                            Meals    11.07    9,664.50
                              05/20/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 DICK BUNDY REGEN MADISON TN                       Meals    54.63    9,719.13
                              05/23/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 NNT TAQUERIA HUATUL0027 SPRINGFIELD TN            Meals    45.88    9,765.01




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                              05/23/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 TERRYS MARKET CROSS PLAINS TN                     Meals     7.63    9,772.64
                              05/23/2022   Expense   Debit Purchase -visa Card 8483mcdonald's F7426goodlettsviltn                         Meals     6.97    9,779.61
                              05/23/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                    Meals    14.09    9,793.70
                              05/23/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #4193 BRENTWOOD TN     Meals     9.65    9,803.35
                              05/23/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SONIC DRIVE IN #2969 SPRINGFIELD TN   Meals    14.03    9,817.38
                              05/26/2022   Expense   Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                             Meals   303.63   10,121.01
                              05/26/2022   Expense   Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                             Meals    52.94   10,173.95
                              05/26/2022   Expense   Debit Purchase -visa Card 8483wylie Hotel 877-6845023 Ga                             Meals   276.05   10,450.00
                              05/31/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 BAKERS MARKET GOODLETTSVILL TN                    Meals    49.73   10,499.73
                              06/03/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MCDONALD'S F36566 SPRING HILL TN      Meals    13.70   10,513.43
                              06/28/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    15.41   10,528.84
                              06/29/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    69.56   10,598.40
                              06/30/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals     9.91   10,608.31
                              07/01/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    50.88   10,659.19




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                              07/07/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    60.19   10,719.38
                              07/08/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    14.25   10,733.63
                              07/08/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    75.00   10,808.63
                              07/13/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    11.74   10,820.37
                              07/14/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    13.61   10,833.98
                              07/14/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    67.87   10,901.85
                              07/26/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    60.22   10,962.07
                              07/27/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    10.41   10,972.48
                              07/29/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    61.89   11,034.37
                              08/01/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    22.39   11,056.76
                              08/03/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    14.68   11,071.44
                              08/04/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    20.77   11,092.21
                              08/08/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    61.89   11,154.10




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                              08/08/2022   Expense   Debit Purchase -visa Card 8483arby's 8141 Spring Hill Tn                             Meals    11.18   11,165.28
                              08/09/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    59.93   11,225.21
                              08/10/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    10.41   11,235.62
                              08/11/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    15.67   11,251.29
                              08/12/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    16.89   11,268.18
                              08/15/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    49.00   11,317.18
                              08/15/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    52.97   11,370.15
                              08/18/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    30.06   11,400.21
                              08/19/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    18.12   11,418.33
                              08/22/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    27.32   11,445.65
                              08/23/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    65.75   11,511.40
                              08/24/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    14.18   11,525.58
                              08/25/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    19.87   11,545.45
                              08/26/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    10.41   11,555.86
                              08/29/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    14.58   11,570.44
                              08/30/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    22.39   11,592.83
                              08/31/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    40.58   11,633.41
                              09/01/2022   Expense   Debit Purchase Card 8483bakers Market Goodlettsviltn                                 Meals    25.67   11,659.08
                              09/01/2022   Expense   Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                           Meals    69.06   11,728.14




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                                                           09/06/2022   Expense                                           Debit Purchase -visa Card 8483bojangles 1304 Springfield Tn                                Meals                                           13.46                11,741.60
                                                           09/06/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           14.85                11,756.45
                                                           09/07/2022   Expense                                           Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Meals                                           57.93                11,814.38
                                                           09/07/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           46.86                11,861.24
                                                           09/09/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           18.13                11,879.37
                                                           09/12/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           23.32                11,902.69
                                                           09/13/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           10.58                11,913.27
                                                           09/14/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           22.75                11,936.02
                                                           09/16/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           22.55                11,958.57
                                                           09/19/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           66.32                12,024.89




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                                                           09/20/2022   Expense                                           Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Meals                                           51.78                12,076.67
                                                           09/20/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           14.87                12,091.54
                                                           09/21/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           11.34                12,102.88
                                                           09/22/2022   Expense                                           Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Meals                                           46.99                12,149.87
                                                           09/26/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           11.34                12,161.21
                                                           09/27/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           20.83                12,182.04
                                                           09/29/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           11.34                12,193.38
                                                           09/30/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           34.89                12,228.27
                                                           10/03/2022   Expense                                           Debit Purchase -visa Card 8483bakers Market Goodlettsviltn                                 Meals                                           60.31                12,288.58
                                                           10/03/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           13.67                12,302.25
                                                           10/04/2022   Expense                                           Debit Purchase Card 8483bakers Market Goodlettsviltn                                       Meals                                           13.86                12,316.11
                              Total for Meals                                                                                                                                                                                                                $   12,316.11
                              Office expenses




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                                                           10/20/2021   Expense   4TC28131CH178030B PayPal                Paid to Office Depot Inc.                                                                  Office expenses                                 32.91                   32.91

                                                           10/20/2021   Expense   1RN23985GT3509353 PayPal                Paid to Office Depot Inc.                                                                  Office expenses                                 27.30                   60.21
                                                           11/05/2021   Expense                                           ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0006 MADISON TN                       Office expenses                               579.92                   640.13
                                                           02/11/2022   Expense                                           ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0000 MADISON TN                       Office expenses                              1,967.49                 2,607.62
                                                           02/11/2022   Expense                                           Electronic Withdrawal Deluxe Bus Sys.                                                      Office expenses                               198.73                  2,806.35
                                                           03/07/2022   Expense                                           Signed POS One Time Purchase Card Ending: 5155 BESTBUYCOM806620559736 888BESTBUY MN        Office expenses                               360.51                  3,166.86
                                                           03/07/2022   Expense                                           Debit Purchase Card 8483best Buy #172 Madison Tn                                           Office expenses                               146.88                  3,313.74
                                                           03/07/2022   Expense                                           Debit Purchase -visa Card 8483staples 00hendersonviltn                                     Office expenses                                 73.18                 3,386.92
                                                           03/07/2022   Deposit                                           Debit Purchase Ret - Visa Card 8483best Buy 00madison Tn                                   Office expenses                                             142.01    3,244.91
                                                           03/21/2022   Expense                                           Debit Purchase -visa Card 8483bestbuycom806626888bestbuy Mn                                Office expenses                                 82.28                 3,327.19
                                                           03/21/2022   Expense                                           Debit Purchase -visa Card 8483bestbuycom806626888bestbuy Mn                                Office expenses                               252.41                  3,579.60
                                                           04/05/2022   Expense                                           Debit Purchase -visa Card 8483bluebeam Inc 626-7884100 Ca                                  Office expenses                               383.03                  3,962.63
                                                           04/07/2022   Expense                                           ATM/POS PURCHASE Card Ending: 5155 NST BEST BUY #172 0019 MADISON TN                       Office expenses                               294.96                  4,257.59




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                                                           05/06/2022   Expense                                           Debit Purchase Card 8483apple Store #r13nashville Tn                                       Office expenses                               152.90                  4,410.49
                                                           05/18/2022   Expense                                           Debit Purchase -visa Card 8483rocketcert.com Rocketcert.ctn                                Office expenses                              1,778.31                 6,188.80
                               Total for Office expenses                                                                                                                                                                                                     $    6,330.81   $   142.01
                               Merchant account fees
                                                           05/26/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           40.00                   40.00
                                                           06/06/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           20.00                   60.00
                                                           06/08/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                   70.00
                                                           06/16/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                   80.00
                                                           06/22/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                   90.00
                                                           07/20/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  100.00
                                                           08/05/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           20.00                  120.00
                                                           08/08/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  130.00
                                                           08/09/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  140.00
                                                           08/10/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  150.00
                                                           08/22/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  160.00
                                                           09/08/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  170.00
                                                           09/09/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                  180.00
                                                           09/12/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees            7.40                  187.40
                                                           09/26/2022   Expense                     QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,161.00                 1,348.40




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                                                                            09/29/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                 1,358.40
                                                                            10/05/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           15.00                 1,373.40
                                                                            10/11/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         290.25                  1,663.65
                                                                            10/24/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,595.50                 3,259.15
                                                                            11/11/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         696.25                  3,955.40
                                                                            11/24/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,160.25                 5,115.65
                                                                            12/25/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         580.25                  5,695.90
                                                                            01/08/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,305.25                 7,001.15
                                                                            01/10/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,305.25                 8,306.40
                                                                            01/11/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         580.25                  8,886.65




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                                                                            02/10/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,653.50                10,540.15
                                                                            02/12/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees           10.00                10,550.15
                                                                            03/12/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         580.25                 11,130.40
                                                                            03/15/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,537.25                12,667.65
                                                                            04/23/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,358.98                14,026.63
                                                                            05/18/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         883.39                 14,910.02
                                                                            06/07/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees         870.25                 15,780.27
                                                                            06/19/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        2,211.09                17,991.36
                                                                            06/29/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,305.25                19,296.61
                                                                            07/14/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,160.25                20,456.86
                                                                            07/28/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,450.25                21,907.11
                                                                            08/09/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,450.25                23,357.36
                                                                            08/27/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,450.25                24,807.61
                                                                            09/14/2023   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.   Office expenses:Merchant account fees        1,794.00                26,601.61




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                               Total for Merchant account fees                                                                                                                                                                                                                  $   26,601.61
                               Software & apps
                                                                            11/12/2021   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 96.27                   96.27
                                                                            11/12/2021   Expense                                             Signed POS One Time Purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                  Office expenses:Software & apps                  5.95                  102.22
                                                                            11/12/2021   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 96.27                  198.49
                                                                            01/07/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                  213.44
                                                                            01/18/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                  215.39
                                                                            01/20/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400H7F04 MSBILL.INFO WA           Office expenses:Software & apps                 13.66                  229.05
                                                                            02/04/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                  244.00
                                                                            02/14/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                  245.95
                                                                            02/22/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 NNT MSFT *<E0400HK10818 MSBILL.INFO WA     Office expenses:Software & apps                 13.66                  259.61
                                                                            03/04/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                  274.56
                                                                            03/14/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                  276.51




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                                                                            03/21/2022   Expense                                             Recurring Debit Purchase Card 8483constructconnect877-4228665 Oh                           Office expenses:Software & apps              1,987.38                 2,263.89
                                                                            03/21/2022   Expense                                             Signed POS One Time Purchase Card Ending: 5155 WWW.MICROSOFT.COM REDMOND WA                Office expenses:Software & apps                 13.66                 2,277.55
                                                                            04/01/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                 2,292.50
                                                                            04/11/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                 2,294.45
                                                                            04/20/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400IAIUO MSBILL.INFO WA           Office expenses:Software & apps                 13.66                 2,308.11
                                                                            04/29/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                 2,323.06
                                                                            05/09/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                 2,325.01
                                                                            05/20/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 MSFT * E0400INO1J MSBILL.INFO WA           Office expenses:Software & apps                 13.66                 2,338.67
                                                                            05/27/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                 2,353.62
                                                                            06/06/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                 2,355.57
                                                                            06/24/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                 14.95                 2,370.52
                                                                            07/05/2022   Expense                                             Signed POS Recurring purchase Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                 Office expenses:Software & apps                  1.95                 2,372.47
                               Total for Software & apps                                                                                                                                                                                                                        $    2,372.47
                              Total for Office expenses with sub-accounts                                                                                                                                                                                                       $   35,304.89   $   142.01
                              PayPal Fees

                                                                            02/11/2021   Expense   3GV91349VS742222T PayPal                  Paid to PayPal Inc.                                                                        PayPal Fees                                     78.20                    78.20

                                                                            02/21/2021   Expense   8A72530407761502S   PayPal                Paid to PayPal Inc.                                                                        PayPal Fees                                     64.47                  142.67

                                                                            02/25/2021   Expense   06M68725XR538162X PayPal                  Paid to PayPal Inc.                                                                        PayPal Fees                                     78.19                  220.86




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                              03/07/2021   Expense   6YX868403R629611E PayPal     Paid to PayPal Inc.                                         PayPal Fees     64.47     285.33

                              03/12/2021   Expense   77U12517FL139423H PayPal     Paid to PayPal Inc.                                         PayPal Fees     78.19     363.52

                              03/20/2021   Expense   0NN592957A148511J PayPal     Paid to PayPal Inc.                                         PayPal Fees     63.09     426.61

                              03/22/2021   Expense   0A055405R70544837 PayPal     Paid to PayPal Inc.                                         PayPal Fees       8.24    434.85

                              03/27/2021   Expense   1UL314982W254842A PayPal     Paid to PayPal Inc.                                         PayPal Fees     78.20     513.05

                              04/03/2021   Expense   9E183915TX647122L PayPal     Paid to PayPal Inc.                                         PayPal Fees     63.09     576.14




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                              04/18/2021   Expense   98M019560T011033R PayPal     Paid to PayPal Inc.                                         PayPal Fees     63.09     639.23
                                                     0KJ58964GW312450
                              05/04/2021   Expense   F                   PayPal   Paid to PayPal Inc.                                         PayPal Fees     63.10     702.33

                              05/12/2021   Expense   26023329LG243290F PayPal     Paid to PayPal Inc.                                         PayPal Fees     57.62     759.95

                              05/17/2021   Expense   3AN27548FK598694X PayPal     PayPal fees                                                 PayPal Fees       2.42    762.37

                              05/26/2021   Expense   13T50944EJ148742C PayPal     Paid to PayPal Inc.                                         PayPal Fees     57.62     819.99
                                                     7C983504WV490950
                              06/10/2021   Expense   N                   PayPal   Paid to PayPal Inc.                                         PayPal Fees     57.62     877.61

                              06/12/2021   Expense   63N678151X4509817 PayPal     Paid to PayPal Inc.                                         PayPal Fees     47.14     924.75

                              06/25/2021   Expense   0U915049HU4369132 PayPal     Paid to PayPal Inc.                                         PayPal Fees     57.62     982.37

                              06/27/2021   Expense   5KV49060FR790760M PayPal     Paid to PayPal Inc.                                         PayPal Fees     47.13    1,029.50




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                              07/04/2021   Expense   4M640729XS378883C PayPal     Paid to PayPal Inc.                                         PayPal Fees     46.43    1,075.93
                                                     7EP62416BW587902
                              07/11/2021   Expense   9                   PayPal   Paid to PayPal Inc.                                         PayPal Fees     47.13    1,123.06
                                                     7S985268MV252231
                              07/18/2021   Expense   W                   PayPal   Paid to PayPal Inc.                                         PayPal Fees     46.43    1,169.49

                              07/26/2021   Expense   8XP5528023271832W PayPal     Paid to PayPal Inc.                                         PayPal Fees     47.14    1,216.63

                              08/02/2021   Expense   5364816724691090H   PayPal   Paid to PayPal Inc.                                         PayPal Fees     46.43    1,263.06

                              08/04/2021   Expense   63679892242780041   PayPal   Paid to PayPal Inc.                                         PayPal Fees     35.67    1,298.73
                                                     5DC86728RV392533
                              08/08/2021   Expense   G                   PayPal   Paid to PayPal Inc.                                         PayPal Fees     43.90    1,342.63

                              08/15/2021   Expense   2HA61417C03433022 PayPal     Paid to PayPal Inc.                                         PayPal Fees     35.67    1,378.30

                              08/16/2021   Expense   55F43948TR9604826 PayPal     Paid to PayPal Inc.                                         PayPal Fees     46.42    1,424.72




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                              08/19/2021   Expense   4MF18035K63117242 PayPal     Paid to PayPal Inc.                                         PayPal Fees     35.66    1,460.38

                              08/23/2021   Expense   57U68543LX141251A PayPal     Paid to PayPal Inc.                                         PayPal Fees     43.89    1,504.27

                              08/28/2021   Expense   17115844SE780834W PayPal     Paid to PayPal Inc.                                         PayPal Fees     35.66    1,539.93

                              09/02/2021   Expense   3C389212J49758503   PayPal   Paid to PayPal Inc.                                         PayPal Fees     35.66    1,575.59

                              09/06/2021   Expense   58A20342JX509025M PayPal     Paid to PayPal Inc.                                         PayPal Fees     43.89    1,619.48

                              09/12/2021   Expense   1CB82367HT573520K PayPal     Paid to PayPal Inc.                                         PayPal Fees     35.66    1,655.14
                                                     6UH76368VU275563
                              09/13/2021   Expense   N                   PayPal   PayPal fees                                                 PayPal Fees    131.37    1,786.51

                              09/13/2021   Expense   9F5454774X736802L   PayPal   PayPal fees                                                 PayPal Fees     15.00    1,801.51

                              09/13/2021   Expense   65C96125U1335842R PayPal     PayPal fees                                                 PayPal Fees    318.95    2,120.46

                              09/23/2021   Expense   924701879D723350P PayPal     PayPal fees                                                 PayPal Fees    188.63    2,309.09

                              10/09/2021   Expense   97476352LB4387800   PayPal   Paid to PayPal Inc.                                         PayPal Fees    136.91    2,446.00
                              02/28/2022   Expense                                Debit Purchase -visa Card 8483optishotgolf Optishotgolfmi   PayPal Fees   1,332.88   3,778.88
                              03/14/2022   Expense                                Debit Purchase -visa Card 8483shapertools Httpsshapertca    PayPal Fees   3,526.28   7,305.16




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                                                           04/25/2022   Expense                                             Debit Purchase -visa Card 8483robertson Countyspringfield Tn                                                 PayPal Fees                         8.00                7,313.16

                                                           05/24/2022   Expense   6DL31742BC3032318 PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      231.22                 7,544.38

                                                           05/28/2022   Expense   6A362414Y90118228   PayPal                Paid to PayPal Inc.                                                                                          PayPal Fees                        54.25                7,598.63

                                                           06/07/2022   Expense   7B44737182589774U PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      231.21                 7,829.84

                                                           06/12/2022   Expense   94V23213SR0950639 PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                        54.25                7,884.09

                                                           06/21/2022   Expense   07L35890FT963663Y   PayPal                Paid to PayPal Inc.                                                                                          PayPal Fees                      231.21                 8,115.30

                                                           07/07/2022   Expense   4R2309956U5298517 PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      231.22                 8,346.52




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                                                           11/29/2022   Expense   159792138H5684705   PayPal                PayPal fees                                                                                                  PayPal Fees                        25.00                8,371.52

                                                           03/22/2023   Expense   9R084168P54904939 PayPal                  PayPal fees                                                                                                  PayPal Fees                        16.19                8,387.71
                                                                                  3VM22992HH954871
                                                           07/06/2023   Expense   N                   PayPal                Paid to PayPal Inc.                                                                                          PayPal Fees                      180.89                 8,568.60

                                                           07/21/2023   Expense   2E665776R2133391X PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      180.89                 8,749.49

                                                           08/04/2023   Expense   60N72060N9071193A PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                        50.40                8,799.89

                                                           08/05/2023   Expense   586659013B600311X   PayPal                Paid to PayPal Inc.                                                                                          PayPal Fees                      180.89                 8,980.78

                                                           08/16/2023   Expense   9EV13122GN4629213 PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      239.21                 9,219.99

                                                           08/20/2023   Expense   75N896527R037140X PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      180.88                 9,400.87

                                                           09/02/2023   Expense   7HU43421GD7601519 PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                      257.26                 9,658.13




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                                                           09/04/2023   Expense   86595952Y3431584G PayPal                  Paid to PayPal Inc.                                                                                          PayPal Fees                        50.40                9,708.53
                              Total for PayPal Fees                                                                                                                                                                                                                 $    9,708.53
                              Payroll expenses
                               Wages
                                                                                                                            ACH WITHDRAWAL SEC CODE: CCD Trace Number: 021000025136390 ID: 000000164530003 Will Shore MAINTENANCE SUPP
                                                           01/25/2022   Expense                                             BT0124                                                                                                       Payroll expenses:Wages         12,324.78               12,324.78
                               Total for Wages                                                                                                                                                                                                                      $   12,324.78
                              Total for Payroll expenses                                                                                                                                                                                                            $   12,324.78
                              Purchases
                                                           11/15/2021   Deposit                                             ATM/POS RETURN Card Ending: 5155 WEB*WEB.COM 800-5459076 FL                                                  Purchases                                      96.27      -96.27
                                                           04/11/2022   Expense                                             Debit Purchase -visa Card 8491paramount Gems 212-2211520 Ny                                                  Purchases                      10,000.00                9,903.73
                              Total for Purchases                                                                                                                                                                                                                   $   10,000.00   $   96.27
                              QuickBooks Payments Fees




Filed 03/03/25
                                                           10/24/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees            0.05                    0.05
                                                           10/28/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         159.75                  159.80
                                                           11/03/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         212.68                  372.48
                                                           11/05/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         232.50                  604.98
                                                           11/18/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           72.75                 677.73
                                                           11/19/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         246.75                  924.48
                                                           12/01/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         428.53                 1,353.01
                                                           12/06/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         233.00                 1,586.01
                                                           12/07/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         130.75                 1,716.76
                                                           12/09/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           58.25                1,775.01
                                                           12/16/2021   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees         290.50                 2,065.51
                                                           03/31/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           10.00                2,075.51
                                                           04/08/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           10.00                2,085.51
                                                           04/12/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           10.00                2,095.51
                                                           04/25/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           18.44                2,113.95
                                                           04/26/2022   Expense                       QuickBooks Payments   Electronic Withdrawal Intuit 34309905                                                                        QuickBooks Payments Fees           18.44                2,132.39
                                                           05/03/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           30.00                2,162.39
                                                           05/09/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           10.00                2,172.39
                                                           05/19/2022   Expense                       QuickBooks Payments   System-recorded fee for QuickBooks Payments. Fee-name: DiscountRateFee, fee-type: Daily.                     QuickBooks Payments Fees           10.00                2,182.39




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                              Total for QuickBooks Payments Fees                                                                                                                                                                                       $    2,182.39
                              Repairs & maintenance
                                                                     03/21/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                           Repairs & maintenance                         15.00                    15.00
                                                                     04/01/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                           Repairs & maintenance                         15.00                    30.00
                                                                     04/25/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                           Repairs & maintenance                         15.00                    45.00
                                                                     04/25/2022   Expense                                 Debit Purchase -visa Card 8483buzz In Auto Wasspringfield Tn                           Repairs & maintenance                          7.94                    52.94
                                                                     04/29/2022   Expense                                 ATM/POS PURCHASE Card Ending: 5155 ADVANCE AUTO PARTS #367 SPRINGFIELD TN              Repairs & maintenance                         39.26                    92.20
                                                                     05/02/2022   Expense                                 Debit Purchase -visa Card 8483the Mower Shop Springfield Tn                            Repairs & maintenance                         11.00                  103.20
                                                                     05/16/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 Buzz In Auto Wash SPRINGFIELD TN        Repairs & maintenance                         15.00                  118.20
                              Total for Repairs & maintenance                                                                                                                                                                                          $     118.20




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                              Supplies
                                                                     02/22/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 BED BATH & BEYOND #533 MADISON TN       Supplies                                      60.49                    60.49
                                                                     02/28/2022   Expense                                 Debit Purchase -visa Card 8483walgreens #7316 Nashville Tn                             Supplies                                      31.00                    91.49
                                                                     03/21/2022   Expense                                 Debit Purchase Card 8483walgreens Store Goodlettsviltn                                 Supplies                                      78.05                  169.54
                                                                     03/25/2022   Expense                                 Debit Purchase -visa Card 8483wm Supercenter #spring Hill Tn                           Supplies                                      72.83                  242.37
                                                                     04/19/2022   Expense                                 Debit Purchase Card 8483wal-mart Super Cspringfield Tn                                 Supplies                                      23.82                  266.19
                                                                     06/29/2022   Expense                                 Debit Purchase -visa Card 8483wal-mart #3017 Spring Hill Tn                            Supplies                                      91.54                  357.73
                                                                     08/08/2022   Expense                                 Debit Purchase Card 8483wal-mart Super Cnashville Tn                                   Supplies                                      15.03                  372.76
                                                                     09/15/2022   Expense                                 Debit Purchase Card 8483wal-mart #0304 Springfield Tn                                  Supplies                                      33.68                  406.44
                                Total for Supplies                                                                                                                                                                                                     $     406.44
                                Supplies & materials
                                                                     10/26/2021   Check     1001   Phantom Services LLC                                                                                          Supplies:Supplies & materials              1,800.00                 1,800.00
                                                                     10/26/2021   Check            Phantom Services LLC                                                                                          Supplies:Supplies & materials              1,800.00                 3,600.00
                                                                     11/01/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                         Supplies:Supplies & materials                 90.20                 3,690.20




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                                                                     11/01/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 ACE HARDWARE SPRINGFIE SPRINGFIELD TN   Supplies:Supplies & materials                  2.60                 3,692.80
                                                                     11/08/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 NST THE HOME DEPOT 0026 HENDERSONVILL TN            Supplies:Supplies & materials               522.22                  4,215.02
                                                                     01/07/2022   Expense          Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                         Supplies:Supplies & materials                 47.24                 4,262.26
                                                                     01/07/2022   Expense          Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #2851 NASHVILLE TN                           Supplies:Supplies & materials               174.56                  4,436.82
                                                                     01/18/2022   Expense          Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                         Supplies:Supplies & materials               107.02                  4,543.84
                                                                     02/22/2022   Expense          Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                         Supplies:Supplies & materials                 20.06                 4,563.90
                                                                     03/09/2022   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SHERWIN WILLIAMS 70263 SPRINGFIELD TN   Supplies:Supplies & materials               159.35                  4,723.25
                                                                     03/11/2022   Expense                                 Debit Purchase -visa Card 8483harbor Freight Tspringfield Tn                           Supplies:Supplies & materials                 13.89                 4,737.14
                                                                     04/04/2022   Deposit                                 Debit Purchase Ret - Visa Card 8483lowes #01747* Springfield Tn                        Supplies:Supplies & materials                             245.80    4,491.34
                                                                     04/05/2022   Expense                                 Debit Purchase -visa Card 8483ferguson Ent, In844-872-3857tn                           Supplies:Supplies & materials              7,719.35                12,210.69
                                                                     04/25/2022   Expense          Lowe's                 ATM/POS PURCHASE Card Ending: 5155 LOWE'S #1747 SPRINGFIELD TN                         Supplies:Supplies & materials               177.67                 12,388.36
                                                                     05/02/2022   Expense                                 Debit Purchase -visa Card 8483walker Hardware Springfield Tn                           Supplies:Supplies & materials                 34.65                12,423.01
                                Total for Supplies & materials                                                                                                                                                                                         $   12,668.81   $   245.80




Filed 03/03/25
                              Total for Supplies with sub-accounts                                                                                                                                                                                     $   13,075.25   $   245.80
                              Travel
                                                                     03/14/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                            Travel                                     1,343.47                 1,343.47
                                                                     03/14/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                            Travel                                     1,343.47                 2,686.94
                                                                     05/03/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                            Travel                                     2,117.22                 4,804.16
                                                                     05/03/2022   Expense                                 Debit Purchase -visa Card 8491american Air0012fort Worth Tx                            Travel                                     2,117.22                 6,921.38
                              Total for Travel                                                                                                                                                                                                         $    6,921.38
                              Utilities
                                                                     04/29/2022   Expense                                 Debit Purchase -visa Card 8483middle Tennessee615-446-3461tn                           Utilities                                  1,154.92                 1,154.92
                              Total for Utilities                                                                                                                                                                                                      $    1,154.92
                              Vehicle expenses
                                                                     03/29/2022   Expense                                 Debit Purchase -visa Card 8483pinnacle Ford Nicholasvillky                             Vehicle expenses                           5,000.00                 5,000.00
                                                                     03/29/2022   Expense                                 Debit Purchase -visa Card 8483pinnacle Ford Nicholasvillky                             Vehicle expenses                            400.00                  5,400.00
                                Total for Vehicle expenses                                                                                                                                                                                             $    5,400.00
                                Vehicle gas & fuel
                                                                     10/28/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 SPEEDWAY 07180 SPRINGF SPRINGFIELD TN   Vehicle expenses:Vehicle gas & fuel           70.62                    70.62
                                                                     11/01/2021   Expense                                 Signed POS One Time Purchase Card Ending: 5155 RACETRAC2557 00025577 SPRING HILL TN    Vehicle expenses:Vehicle gas & fuel           50.68                  121.30
                                                                     11/03/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PLEASANT VIEW TN                    Vehicle expenses:Vehicle gas & fuel           30.48                  151.78
                                                                     11/10/2021   Expense                                 ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                      Vehicle expenses:Vehicle gas & fuel            9.42                  161.20




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                              11/12/2021   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PORTLAND TN                         Vehicle expenses:Vehicle gas & fuel   23.11    184.31
                              11/12/2021   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 910021961QPS SPRING HILL TN   Vehicle expenses:Vehicle gas & fuel   50.93    235.24
                              01/10/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 57542931902 SPRINGFIELD TN    Vehicle expenses:Vehicle gas & fuel   45.45    280.69
                              01/14/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                      Vehicle expenses:Vehicle gas & fuel   19.76    300.45
                              01/18/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 57542931902 SPRINGFIELD TN    Vehicle expenses:Vehicle gas & fuel   58.81    359.26
                              01/18/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 910021961QPS SPRING HILL TN   Vehicle expenses:Vehicle gas & fuel   33.92    393.18
                              01/28/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 EXXONMOBIL 48242077 NASHVILLE TN        Vehicle expenses:Vehicle gas & fuel   68.34    461.52
                              01/31/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                        Vehicle expenses:Vehicle gas & fuel    7.40    468.92
                              01/31/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 MARATHON PETRO95265 WHITE HOUSE TN      Vehicle expenses:Vehicle gas & fuel   17.04    485.96
                              02/03/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 KROGER FUEL #957 SPRINGFIELD TN         Vehicle expenses:Vehicle gas & fuel   59.90    545.86




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                              02/07/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10089696008 PORTLAND TN       Vehicle expenses:Vehicle gas & fuel   43.73    589.59
                              02/07/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S PORTLAND TN                         Vehicle expenses:Vehicle gas & fuel   31.12    620.71
                              02/18/2022   Expense   Debit Purchase -visa Card 8483qt 774 Duluth Ga                                         Vehicle expenses:Vehicle gas & fuel   26.61    647.32
                              02/18/2022   Expense   Debit Purchase -visa Card 8483buc-ee's #52 Calhoun Ga                                  Vehicle expenses:Vehicle gas & fuel   39.51    686.83
                              02/22/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   18.30    705.13
                              02/22/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   52.91    758.04
                              02/23/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN     Vehicle expenses:Vehicle gas & fuel   35.25    793.29
                              02/28/2022   Expense   Debit Purchase -visa Card 8483shell Oil 127515greenbrier Tn                            Vehicle expenses:Vehicle gas & fuel   56.67    849.96
                              03/08/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S RIDGETOP TN                         Vehicle expenses:Vehicle gas & fuel   16.05    866.01
                              03/10/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10012683008 RIDGETOP TN       Vehicle expenses:Vehicle gas & fuel   54.87    920.88
                              03/11/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575458spring Hill Tn                           Vehicle expenses:Vehicle gas & fuel   15.16    936.04
                              03/14/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                           Vehicle expenses:Vehicle gas & fuel   32.36    968.40
                              03/14/2022   Expense   Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                              Vehicle expenses:Vehicle gas & fuel   82.43   1,050.83
                              03/14/2022   Expense   Debit Purchase -visa Card 8483h G Hill #54 Springfield Tn                              Vehicle expenses:Vehicle gas & fuel   16.62   1,067.45




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                              03/14/2022   Expense   Debit Purchase -visa Card 8483twice Daily 6606brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   19.86   1,087.31
                              03/14/2022   Expense   Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                              Vehicle expenses:Vehicle gas & fuel   11.00   1,098.31
                              03/15/2022   Expense   Debit Purchase Card 8483racetrac2557 Spring Hill Tn                                    Vehicle expenses:Vehicle gas & fuel    6.89   1,105.20
                              03/16/2022   Expense   Debit Purchase -visa Card 8483exxonmobil 48nashville Tn                                Vehicle expenses:Vehicle gas & fuel    5.15   1,110.35
                              03/16/2022   Expense   Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                              Vehicle expenses:Vehicle gas & fuel   20.97   1,131.32
                              03/18/2022   Expense   Debit Purchase -visa Card 8483kroger Fuel #957springfield Tn                           Vehicle expenses:Vehicle gas & fuel   85.77   1,217.09
                              03/21/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   20.84   1,237.93
                              03/21/2022   Expense   Debit Purchase -visa Card 8483great White Exprspring Hill Tn                           Vehicle expenses:Vehicle gas & fuel   23.00   1,260.93
                              03/22/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                      Vehicle expenses:Vehicle gas & fuel   11.33   1,272.26
                              03/24/2022   Expense   Debit Purchase -visa Card 8483great White Exprspring Hill Tn                           Vehicle expenses:Vehicle gas & fuel   23.00   1,295.26
                              03/30/2022   Expense   Debit Purchase Card 8483greenbrier Citgogreenbrier Tn                                  Vehicle expenses:Vehicle gas & fuel   15.34   1,310.60
                              04/01/2022   Expense   Debit Purchase -visa Card 8483greenbrier Citgogreenbrier Tn                            Vehicle expenses:Vehicle gas & fuel   55.16   1,365.76
                              04/04/2022   Expense   Debit Purchase -visa Card 8483shell Oil 910025goodlettsviltn                           Vehicle expenses:Vehicle gas & fuel   19.01   1,384.77




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                              04/04/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                           Vehicle expenses:Vehicle gas & fuel   14.63   1,399.40
                              04/04/2022   Expense   Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                              Vehicle expenses:Vehicle gas & fuel   18.51   1,417.91
                              04/04/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 12751598009 GREENBRIER TN     Vehicle expenses:Vehicle gas & fuel   53.87   1,471.78
                              04/04/2022   Expense   Debit Purchase -visa Card 8483shell Oil 910025goodlettsviltn                           Vehicle expenses:Vehicle gas & fuel   88.80   1,560.58
                              04/07/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   19.75   1,580.33
                              04/08/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   15.77   1,596.10
                              04/08/2022   Expense   Debit Purchase Card 8483am/pm Citgo Nashville Tn                                       Vehicle expenses:Vehicle gas & fuel    7.51   1,603.61
                              04/15/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN     Vehicle expenses:Vehicle gas & fuel   85.35   1,688.96
                              04/15/2022   Expense   ATM/POS PURCHASE Card Ending: 5155 FLYING J #632 RESACA GA                             Vehicle expenses:Vehicle gas & fuel   12.08   1,701.04
                              04/18/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10090279000 CROSS PLAINS TN   Vehicle expenses:Vehicle gas & fuel   41.63   1,742.67
                              04/18/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 PILOT 00006320 RESACA GA                Vehicle expenses:Vehicle gas & fuel   59.40   1,802.07
                              04/18/2022   Expense   Debit Purchase -visa Card 8483greenbrier Citgogreenbrier Tn                            Vehicle expenses:Vehicle gas & fuel   74.75   1,876.82
                              04/20/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 12751598009 GREENBRIER TN     Vehicle expenses:Vehicle gas & fuel   40.06   1,916.88
                              04/22/2022   Expense   Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN     Vehicle expenses:Vehicle gas & fuel   11.72   1,928.60
                              04/25/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   56.49   1,985.09
                              04/25/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                             Vehicle expenses:Vehicle gas & fuel   17.15   2,002.24
                              04/25/2022   Expense   Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                           Vehicle expenses:Vehicle gas & fuel    3.82   2,006.06
                              04/29/2022   Expense   Debit Purchase -visa Card 8483j.i. Baldwin & Sspringfield Tn                           Vehicle expenses:Vehicle gas & fuel   17.70   2,023.76
                              04/29/2022   Expense   Debit Purchase Card 8483sudden Service Cspringfield Tn                                 Vehicle expenses:Vehicle gas & fuel   14.08   2,037.84




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                                                                             04/29/2022   Expense                                     Debit Purchase -visa Card 8483phillips 66 - Swgoodlettsviltn                                  Vehicle expenses:Vehicle gas & fuel           27.99                2,065.83
                                                                             04/29/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 Speedway 1200 Memoria Springfield TN                       Vehicle expenses:Vehicle gas & fuel            6.27                2,072.10
                                                                             05/02/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                                     Vehicle expenses:Vehicle gas & fuel           47.58                2,119.68
                                                                             05/02/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 100126ridgetop Tn                                     Vehicle expenses:Vehicle gas & fuel            4.37                2,124.05
                                                                             05/02/2022   Expense                                     Debit Purchase -visa Card 8483sudden Service Cspringfield Tn                                  Vehicle expenses:Vehicle gas & fuel           78.18                2,202.23
                                                                             05/04/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575274nashville Tn                                    Vehicle expenses:Vehicle gas & fuel            7.22                2,209.45
                                                                             05/05/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                    Vehicle expenses:Vehicle gas & fuel           14.99                2,224.44
                                                                             05/06/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                    Vehicle expenses:Vehicle gas & fuel           14.03                2,238.47
                                                                             05/09/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575429springfield Tn                                  Vehicle expenses:Vehicle gas & fuel           17.37                2,255.84
                                                                             05/09/2022   Expense                                     Debit Purchase Card 8483sudden Service Cspringfield Tn                                        Vehicle expenses:Vehicle gas & fuel           21.47                2,277.31




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                                                                             05/09/2022   Expense                                     Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                       Vehicle expenses:Vehicle gas & fuel            9.62                2,286.93
                                                                             05/09/2022   Expense                                     Debit Purchase -visa Card 8483sudden Service Cspringfield Tn                                  Vehicle expenses:Vehicle gas & fuel           50.01                2,336.94
                                                                             05/10/2022   Expense                                     Debit Purchase -visa Card 8483thorntons #0604 Madison Tn                                      Vehicle expenses:Vehicle gas & fuel           57.86                2,394.80
                                                                             05/11/2022   Expense                                     Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                       Vehicle expenses:Vehicle gas & fuel           74.41                2,469.21
                                                                             05/11/2022   Expense                                     Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                       Vehicle expenses:Vehicle gas & fuel            7.03                2,476.24
                                                                             05/12/2022   Expense                                     Debit Purchase -visa Card 8483great White Exprspring Hill Tn                                  Vehicle expenses:Vehicle gas & fuel           23.00                2,499.24
                                                                             05/12/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 100902cross Plainstn                                  Vehicle expenses:Vehicle gas & fuel           31.15                2,530.39
                                                                             05/13/2022   Expense                                     Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                   Vehicle expenses:Vehicle gas & fuel           27.07                2,557.46
                                                                             05/16/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 RACETRAC2557 SPRING HILL TN                                Vehicle expenses:Vehicle gas & fuel            4.15                2,561.61
                                                                             05/16/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575411brentwood Tn                                    Vehicle expenses:Vehicle gas & fuel           17.71                2,579.32
                                                                             05/16/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 575411653QPS BRENTWOOD TN            Vehicle expenses:Vehicle gas & fuel           53.16                2,632.48
                                                                             05/18/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 RACETRAC2557 00025577 SPRING HILL TN           Vehicle expenses:Vehicle gas & fuel           64.22                2,696.70
                                                                             05/20/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                               Vehicle expenses:Vehicle gas & fuel           13.36                2,710.06




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                                                                             05/21/2022   Expense   83M814307U716634A PayPal          Tax amount                                                                                    Vehicle expenses:Vehicle gas & fuel            9.55                2,719.61

                                                                             05/21/2022   Expense   83M814307U716634A PayPal          MEATER Plus With Bluetooth® Repeater - Honey - MEATER Plus With Bluetooth® Repeater - Honey   Vehicle expenses:Vehicle gas & fuel           99.95                2,819.56
                                                                             05/23/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 GOOGLE*DOMAINS INTERNET CA                     Vehicle expenses:Vehicle gas & fuel           13.17                2,832.73
                                                                             05/23/2022   Expense                                     Debit Purchase -visa Card 8483shell Oil 575274nashville Tn                                    Vehicle expenses:Vehicle gas & fuel           32.88                2,865.61
                                                                             05/23/2022   Expense                                     Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                   Vehicle expenses:Vehicle gas & fuel            2.51                2,868.12
                                                                             05/24/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 PILOT # 4558 CALHOUN GA                        Vehicle expenses:Vehicle gas & fuel           67.75                2,935.87
                                                                             05/24/2022   Deposit                                     Debit Purchase Ret - Visa Card 8483mattress Firm 00madison Tn                                 Vehicle expenses:Vehicle gas & fuel                       321.00   2,614.87
                                                                             05/25/2022   Expense                                     Debit Purchase -visa Card 8483pilot 00calhoun Ga                                              Vehicle expenses:Vehicle gas & fuel           11.84                2,626.71
                                                                             05/31/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRINGFIELD TN                             Vehicle expenses:Vehicle gas & fuel           17.24                2,643.95
                                                                             05/31/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRING HILL TN                             Vehicle expenses:Vehicle gas & fuel           13.44                2,657.39
                                                                             06/01/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 SHELL OIL 10012695002 SPRINGFIELD TN           Vehicle expenses:Vehicle gas & fuel           21.85                2,679.24
                                                                             06/02/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                               Vehicle expenses:Vehicle gas & fuel           12.14                2,691.38
                                                                             06/02/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                               Vehicle expenses:Vehicle gas & fuel           15.48                2,706.86




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                                                                             06/03/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S BRENTWOOD TN                               Vehicle expenses:Vehicle gas & fuel            9.61                2,716.47
                                                                             06/06/2022   Expense                                     ATM/POS PURCHASE Card Ending: 5155 SHELL SERVICE S SPRINGFIELD TN                             Vehicle expenses:Vehicle gas & fuel           15.92                2,732.39
                                                                             06/10/2022   Expense                                     Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                   Vehicle expenses:Vehicle gas & fuel           11.47                2,743.86
                                                                             06/17/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 SHELL SERVICE S BOWLING GREEN KY               Vehicle expenses:Vehicle gas & fuel           64.02                2,807.88
                                                                             08/04/2022   Expense                                     Debit Purchase Card 8483racetrac2557 Spring Hill Tn                                           Vehicle expenses:Vehicle gas & fuel            5.33                2,813.21
                                                                             08/04/2022   Expense                                     Debit Purchase -visa Card 8483mapco 1028 Cross Plainstn                                       Vehicle expenses:Vehicle gas & fuel            9.06                2,822.27
                                                                             08/08/2022   Expense                                     Debit Purchase -visa Card 8483racetrac2557 00spring Hill Tn                                   Vehicle expenses:Vehicle gas & fuel           71.58                2,893.85
                                                                             08/22/2022   Expense                                     Debit Purchase -visa Card 8483racetrac 2546 00madison Tn                                      Vehicle expenses:Vehicle gas & fuel           64.03                2,957.88
                                                                             09/19/2022   Expense                                     Debit Purchase Card 8483greenbrier Citgogreenbrier Tn                                         Vehicle expenses:Vehicle gas & fuel            5.79                2,963.67
                               Total for Vehicle gas & fuel                                                                                                                                                                                                               $    3,284.67   $   321.00
                               Vehicle repairs
                                                                             03/16/2022   Expense                                     Debit Purchase -visa Card 8483payne Chevrolet 615--38-4-55tn                                  Vehicle expenses:Vehicle repairs           1,262.46                1,262.46
                                                                             05/02/2022   Expense                                     Signed POS One Time Purchase Card Ending: 5155 PAYNE CHEVROLET SPRINGFIELD TN                 Vehicle expenses:Vehicle repairs              55.96                1,318.42
                               Total for Vehicle repairs                                                                                                                                                                                                                  $    1,318.42
                              Total for Vehicle expenses with sub-accounts                                                                                                                                                                                                $   10,003.09   $   321.00
                              Not Specified
                                                                             10/24/2021   Payment   1                 Staci Backer                                                                                                                                                 0.00                    0.00
                                                                             07/18/2022   Payment                     Henry Ramirez                                                                                                                                                0.00                    0.00
                              Total for Not Specified                                                                                                                                                                                                                     $        0.00




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